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       14                          UNITED STATES DISTRICT JUDGE

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                                           BY: GREG D. ANDRES
       18                                       ANTONIO J. PEREZ                                15
                                           450 LEXINGTON AVENUE
       19                                  NEW YORK, NEW YORK 10017

       20                                  BY: MICAH G. BLOCK
                                                                                                16
                                           900 MIDDLEFIELD ROAD, SUITE 200                      17
       21                                  REDWOOD CITY, CALIFORNIA 94063
                                                                                                18
       22         OFFICIAL COURT REPORTERS:       LEE-ANNE SHORTRIDGE, CSR, CRR
                                                  CERTIFICATE NUMBER 9595
                                                                                                19
       23                                         IRENE RODRIGUEZ, CSR, RMR, CRR                20
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 10   ALSO PRESENT:                  CURT EVANS                                                 12
                               BRIAN BAKALE
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 1   ABILITY TO MODIFY?                                                               1                  MR. AKROTIRIANAKIS: OBJECTION. FOUNDATION,

 2   A.   NO, NEVER. THAT FIELD WAS SUPPOSED TO BE FILLED IN ONLY                     2   YOUR HONOR.

 3   BY THE SIGNALLING SERVER. IT WAS NEVER SUPPOSED TO BE SENT BY                    3                  THE COURT: YEAH, YOU NEED TO ESTABLISH A FOUNDATION.

 4   THE CLIENT.                                                                      4   BY MR. PEREZ:

 5   Q.   AND WHEN YOU SAY "THE CLIENT," WHAT DO YOU MEAN?                            5   Q.      DO YOU HAVE AN UNDERSTANDING --

 6   A.   I MEAN THE WHATSAPP APPLICATION THAT INITIATES THE CALL.                    6                  THE COURT: HIS UNDERSTANDING.

 7   Q.   IS THIS A FIELD THAT A REGULAR WHATSAPP USER WOULD HAVE                     7   BY MR. PEREZ:

 8   THE ABILITY TO SEE?                                                              8   Q.      DO YOU HAVE AN UNDERSTANDING OF WHAT THIS REFLECTS?

 9   A.   NO. THIS IS PART OF THE METADATA THAT IS BEING EXCHANGED                    9   A.      YES.

10   WHEN THE RINGING PROCESS STARTS IN THE CALL. SO NONE OF THIS                    10   Q.      WHAT DOES IT REFLECT?

11   WOULD BE VISIBLE.                                                               11                  MR. AKROTIRIANAKIS: OBJECTION, YOUR HONOR.

12   Q.   AND WHAT -- THERE'S A SERIES -- AFTER THE FIRST THREE                      12   FOUNDATION.

13   LINES, THERE'S SORT OF A SERIES OF LINES, MANY OF WHICH START                   13                  THE COURT: WHAT IS HIS UNDERSTANDING BASED ON?

14   WITH THE LETTER X AND THEN SOME NUMBERS.                                        14   BY MR. PEREZ:

15        WHAT DOES THAT PORTION REFLECT?                                            15   Q.      WHAT IS YOUR UNDERSTANDING BASED ON?

16   A.   THAT PORTION IS ESSENTIALLY BINARY CODE. SO BINARY CODE                    16   A.      MY UNDERSTANDING IS BASED ON HAVING MANY DETAILS, LIKE, I

17   IS ESSENTIALLY, THEY'RE A SET OF INSTRUCTIONS THAT ARE MEANT TO                 17   HAD A LOT OF INSIGHTS INTO WHAT JESUS'S WORK WAS RELATED IN

18   BE READ ONLY BY COMPUTERS. SO IT'S -- IT'S A PROGRAM MEANT TO                   18   THIS TASK.

19   BE EXECUTED BY A COMPUTER, BUT IT'S UNREADABLE BY HUMANS.                       19   Q.      WHAT WAS YOUR ROLE WITH RESPECT TO THIS INVESTIGATION WORK

20   Q.   WHAT WAS DONE WITH THAT ENCODED INFORMATION?                               20   THAT WAS GOING ON AT THIS TIME?

21   A.   SO WE DID SOME RESEARCH AND WE TOOK THIS BINARY CODE AND                   21   A.      MY ROLE WAS TO COORDINATE ALL THE ENGINEERING WORK FROM

22   WE REVERSE ENGINEERED IT INTO A FORMAT THAT WAS READABLE TO                     22   THE WHATSAPP SIDE IN ORDER TO UNBLOCK THE -- UNDERSTANDING OF

23   HUMANS, AND BASED ON MY RECOLLECTION, I REMEMBER THIS CODE WAS                  23   THE ATTACK, AND TO DEPLOY A REMEDIATION AS SOON AS POSSIBLE.

24   ESSENTIALLY CONNECTING TO AN EXTERNAL SERVER OUTSIDE OF THE                     24   Q.      AND WHAT WAS YOUR REPORTING RELATIONSHIP WITH MR. PALAU?

25   CONTROL THAT WE HAD. IT WAS DOWNLOADING SOME DATA AND THEN IT                   25   A.      JESUS WAS A MEMBER OF MY TEAM. HE WAS A MEMBER OF THE

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 1   WAS EXECUTING THAT DATA.                                                         1   VOICE AND VIDEO CALLING INFRASTRUCTURE TEAM.

 2   Q.   DO YOU RECALL WHO DID THAT WORK OF REVERSE ENGINEERING                      2   Q.      SO YOU WERE OVERSEEING HIS WORK ON THIS INVESTIGATION?

 3   THIS CODE?                                                                       3   A.      YES.

 4   A.   YES. THAT WORK WAS PERFORMED BY THE MALWARE ANALYSIS                        4   Q.      AND IN THAT CONTEXT, DID YOU DEVELOP AN UNDERSTANDING OF

 5   TEAM, WHICH WAS A TEAM IN THE FACEBOOK SECURITY TEAM, AND THE                    5   WHAT HE WAS COUNTING HERE WITH THE 1568 MALICIOUS OFFER

 6   ENGINEER WHO WORKED ON IT WAS DREW ROBINSON.                                     6   STANZAS?

 7   Q.   OKAY. IF WE GO TO PAGE 0011, IN THE MIDDLE OF THE PAGE                      7   A.      YES. SO THESE ARE THE TOTAL NUMBER --

 8   THERE IS AN ENTRY FROM MR. PALAU, AND HE WRITES, "THESE ARE ALL                  8                  MR. AKROTIRIANAKIS: OBJECTION, YOUR HONOR. HEARSAY.

 9   THE FAILED STANZAS (USING THE NEW VALIDATION METHOD) FOR THE                     9                  THE COURT: OVERRULED.

10   PAST HOUR."                                                                     10   BY MR. PEREZ:

11        WHAT DOES THAT REFLECT?                                                    11   Q.      WHAT ARE THEY?

12   A.   SO JESUS POSTED AN UPDATE ON THE NUMBER OF FAILED                          12   A.      THESE ARE TOTAL NUMBER OF FAILED VALIDATIONS THAT WE WERE

13   VALIDATIONS WE WERE SEEING. AND THIS COMMENT WAS POINTING TO                    13   SEEING IN PRODUCTION FROM THE MOMENT WE STARTED LOGGING UNTIL

14   ANOTHER DOCUMENT THAT HAD MORE DETAILS ABOUT WHERE THE FAILURE                  14   THE MOMENT HE POSTED THIS UPDATE, WHICH WAS MAY 6TH.

15   HAPPENED AND HOW MANY OF THEM WERE THEY.                                        15   Q.      AND COULD THOSE BE FAILED VALIDATIONS FOR ANY REASON?

16   Q.   AND WHEN DID WHATSAPP START LOGGING THESE STANZAS?                         16   A.      NO. THIS SPECIFIC LOGGING -- THIS LOGGING WAS VERY

17   A.   I BELIEVE THAT WE STARTED LOGGING IT EXACTLY THE SAME DAY.                 17   SPECIFIC TO THE SUSPICIOUS MESSAGES THAT JESUS FOUND. SO WE

18   SO I THINK WITH HIS CHANGE THAT HE MENTIONED HERE, THIS IS WHEN                 18   ADDED DEDICATED LOGGING FOR DETECTING THESE, AND ALL OF THESE

19   WE ACTUALLY STARTED LOGGING FAILURES RELATED TO THIS ATTACK.                    19   WERE RELATED TO THOSE.

20   Q.   IF WE GO TO THE PAGE ENDING IN 0014, MR. PALAU WRITES AT                   20   Q.      AND SO 1568 INSTANCES OF THAT MESSAGE IN THE PERIOD THAT

21   THE TOP OF WHAT YOU HOPEFULLY SEE ON YOUR SCREEN, "ADDING ALL                   21   YOU WERE LOGGING?

22   THE MALICIOUS OFFER STANZAS SINCE WE STARTED LOGGING THEM.                      22   A.      YES, STARTING FROM THE MOMENT WE STARTED -- INITIATED THE

23   TOTAL NUMBER: 1568."                                                            23   LOGGING UNTIL THE MOMENT HE GAVE THE UPDATE ON MAY 6TH.

24        WHAT DOES THAT MEAN?                                                       24   Q.      SO FOUR DAYS?

25   A.   JESUS WAS PROVIDING AN UPDATE ON --                                        25   A.      YES.

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 1    Q.   DO YOU HAVE ANY UNDERSTANDING OF HOW MANY TIMES THIS SHELL                    1    IT'S MANDATED BY PROCESS, BY STANDARD PRACTICE IN REGARDS TO

 2    CODE TRANSITED WHATSAPP'S SERVERS, IF ANY, BEFORE THE LOGGING                      2    INCIDENT RESPONSE FOR SECURITY ISSUES.

 3    STARTED?                                                                           3           SO IF YOU -- IF YOU GO AND REMEDIATE TOO QUICKLY, YOU MAY

 4    A.   NO, WE HAVE NO INSIGHT INTO THAT BECAUSE WE WERE NOT AWARE                    4   LOSE YOUR ABILITY TO UNDERSTAND HOW THE ATTACK WORKS IN ITS

 5    OF THIS HAPPENING, SO WE HAD NO LOGGING FOR IT.                                    5   FULL SHAPE.

 6    Q.   WHAT WAS YOUR REACTION TO SEEING THE NUMBER OF INSTANCES                      6           SO WE -- AT THE SAME TIME, YOU CANNOT JUST, YOU KNOW,

 7    IN WHICH THIS MALICIOUS STANZA HAD GONE THROUGH WHATSAPP                           7   SPEND FOREVER TIME TRYING TO INVESTIGATE IT. LIKE, YOU HAVE TO

 8    SERVERS?                                                                           8   SPEND ALL THE TIME REQUIRED TO INVESTIGATE AND UNDERSTAND AND

 9    A.   SO IT WAS VERY WORRISOME. OUR INITIAL EXPECTATION WAS                         9   THEN REMEDIATE SO THAT YOU CAN REMEDIATE AS SOON AS POSSIBLE.

10    THAT WE WILL SEE A VERY LOW NUMBER. WE THOUGHT THAT THERE WAS                     10    Q.     IF YOU COULD TURN IN YOUR BINDER TO PLAINTIFFS'

11    JUST SOMEONE ON THE INTERNET, LIKE, MESSING AROUND WITH OUR                       11    EXHIBIT 10, OR PTX-10, AND LET ME KNOW WHEN YOU HAVE IT.

12    SIGNALLING SERVER AND TRYING SOME THINGS, YOU KNOW, OUT.                          12    A.     YEP, I HAVE IT.

13         BUT WHEN WE SAW THIS NUMBER, WE REALIZED THAT THIS IS                        13    Q.     MR. GHEORGHE, DO YOU RECOGNIZE PTX-10?

14    NOT -- THIS IS NOT, YOU KNOW, SOMEONE TESTING SOMETHING OR                        14    A.     YES. THIS IS WHAT WE CALLED INTERNALLY AT FACEBOOK AT

15    PLAYING WITH IT. LIKE, IT'S SOMETHING THAT THERE IS A CONSTANT                    15    THAT TIME A SEV. SO SEV IS A DOCUMENT THAT WE USE TO KEEP

16    STREAM OF EVENTS GOING, AND IT -- AT THE SAME TIME, IT WASN'T                     16    TRACK OF ALL THE PROGRESS ON INCIDENTS INSIDE THE COMPANY FROM

17    PROPORTIONAL WITH THE LEVEL OF TRAFFIC. LIKE, WE WERE                             17    AN ENGINEERING POINT OF VIEW.

18    PROCESSING PROBABLY EVEN BILLIONS OF MESSAGES EVERY DAY. SO                       18    Q.     IS THAT A FORM OF DOCUMENT THAT'S COMMONLY USED BY

19    IT'S MUCH LOWER THAN THAT.                                                        19    WHATSAPP?

20         SO IT REALLY POINTS TO THE WORST CASE SCENARIO, WHICH WAS                    20    A.     YES, IT WAS COMMONLY USED BY WHATSAPP AND BY ANY TEAM IN

21    A HIGHLY TARGETED ATTACK THAT WAS DEPLOYED IN PRODUCTION.                         21    FACEBOOK.

22    Q.   AND WHAT DO YOU MEAN BY "DEPLOYED IN PRODUCTION"?                            22    Q.     AND THAT'S TO KEEP A, AN ONGOING RECORD OF THE WORK BEING

23    A.   LIKE, IT WAS NOT TESTING. LIKE, IT WAS NOT JUST ONE                          23    DONE WITH RESPECT TO THE INCIDENT?

24    PERSON JUST, YOU KNOW, LIKE A SECURITY RESEARCHER TRYING TO                       24    A.     YES.

25    FIND SOME THINGS IN WHATSAPP AND TESTING THINGS OUT.                              25                  MR. PEREZ: YOUR HONOR, WE'D LIKE TO OFFER PTX-10

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 1         LIKE, IT WAS SOMETHING THAT WAS FUNCTIONAL AND IT WAS                         1    INTO EVIDENCE AND ASK THAT IT BE PUBLISHED TO THE JURY.

 2    DEPLOYED.                                                                          2                  THE COURT: ANY OBJECTION?

 3    Q.   AND SO WHAT WAS YOUR UNDERSTANDING OF WHAT YOUR TEAM HAD                      3                  MR. AKROTIRIANAKIS: NO, YOUR HONOR. THANK YOU.

 4    DISCOVERED AT THIS POINT?                                                          4                  THE COURT: ALL RIGHT. IT'S ADMITTED.

 5    A.   SO ON MAY 6TH, I BELIEVE WE HAD A GOOD LEVEL OF                               5           (PLAINTIFFS' EXHIBIT PTX-10 WAS ADMITTED IN EVIDENCE.)

 6    UNDERSTANDING. BUT WE DID NOT HAVE FULL UNDERSTANDING OF HOW                       6    BY MR. PEREZ:

 7    THE ATTACK WORKED. WE KNEW THAT WE WERE DEALING WITH A SERIOUS                     7    Q.     MR. GHEORGHE, WHO IS THE OWNER OF THE SEV THAT IS MARKED

 8    ATTACK, THAT IT WAS AFFECTING USERS IN REAL TIME, LIKE, AT THE                     8    THERE OR ENTERED INTO EVIDENCE AS PTX-10?

 9    SAME TIME.                                                                         9    A.     THE OWNER OF THE SEV IS JOAQUIN MORENO GARIJO. HE WAS A

10         BUT WE DIDN'T HAVE FULL UNDERSTANDING YET OF HOW THE                         10    MEMBER OF THE INCIDENT RESPONSE TEAM, AND HE WAS THE PERSON WHO

11    ATTACK WORKS, AND WE WERE NOT READY TO REMEDIATE IT YET.                          11    WAS ON CALL IN THAT TEAM AT THE MOMENT THAT WE FOUND THE

12    Q.   MR. EVANS, WE CAN TAKE DOWN THAT EXHIBIT.                                    12    SUSPICIOUS MESSAGES. HE'S THE ONE THAT FILED THIS INCIDENT

13         MR. GHEORGHE, WERE YOU INVOLVED IN ANY WORK THAT FOLLOWED                    13    REPORT.

14    THE IDENTIFICATION OF THIS EXPLOIT?                                               14    Q.     AND A FEW LINES DOWN FROM THAT, THERE'S A LINE THAT SAYS

15    A.   YES, I WAS INVOLVED DEEPLY WITH ALL THE WORK REQUIRED FOR                    15    STARTED.

16    US TO, TO UNDERSTAND HOW THE ATTACK WORKS, AND ALSO TO                            16           WHAT DOES THAT LINE REFLECT?

17    REMEDIATE IT.                                                                     17    A.     IT'S THE MOMENT THAT WE DECLARED THAT WE HAVE AN

18    Q.   WHAT WERE THE GOALS OF THE WORK THAT YOU WERE OVERSEEING?                    18    INVESTIGATION, A SECURITY INVESTIGATION HAPPENING, AND IT'S THE

19    A.   THE GOAL WAS ESSENTIALLY TO PROTECT WHATSAPP USERS, SO WE,                   19    MOMENT THAT JOAQUIN FILED THIS SEV.

20    WE HAD TO FIRSTLY FULLY UNDERSTAND THE ATTACK, AND THEN BASED                     20    Q.     AND WHAT'S THE TIME AND DATE THAT'S IDENTIFIED THERE?

21    ON THAT UNDERSTANDING, COME UP AS SOON AS POSSIBLE WITH A                         21    A.     IT'S MAY 2ND, 6:25 P.M.

22    REMEDIATION TO PREVENT FURTHER ABUSE.                                             22    Q.     AND WHAT IS -- HOW DOES THAT TIMING CORRESPOND WITH WHEN

23    Q.   WHY WAS IT PART OF YOUR GOAL TO FULLY UNDERSTAND THE                         23    YOUR TEAM IDENTIFIED THE SHELL CODE THAT WE WERE LOOKING AT

24    ATTACK?                                                                           24    EARLIER?

25    A.   FULLY UNDERSTANDING THE ATTACK IS AN ESSENTIAL STEP, THAT                    25    A.     WE FIRSTLY IDENTIFIED THE SHELL CODE, AND THEN WE FILED

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 1   COMPANY WHAT WAS HAPPENING BECAUSE IT WAS SOMETHING WE WERE                     1    INVESTIGATION, MORE IN THE LATTER PART OF THE INVESTIGATION,

 2   DOING IN A PRIVATE SETTING.                                                     2    NOT INITIALLY. HE WASN'T INVOLVED WITH THE UNDERSTANDING.

 3          SO WE HAD SOME PEOPLE THAT WERE, AGAIN, ALL THE TIME IN                  3    Q.     IF WE COULD GO BACK TO PTX-10, WHICH YOU SHOULD STILL HAVE

 4   THE WAR ROOM, THEY WERE PRESENT, PEOPLE LIKE OTTO AND ME AND                    4    ON YOUR SCREEN, AND GO TO PAGE 0006, AND THERE'S A MESSAGE FROM

 5   JESUS AND SAISH.                                                                5    YOU ON FRIDAY, MAY 10TH, AT 5:04 P.M. PACIFIC, AND YOU SAY, "WE

 6          BUT THERE WERE SOME OTHER FOLKS THAT WERE INVOLVED IN THE                6    CONFIRMED THAT THE EXISTING EXPLOIT IS FIXED."

 7   INVESTIGATION THAT WE DIDN'T NEED THEM ALL THE TIME. SO WE                      7           WHAT WAS THE STATE OF THE INVESTIGATION AT THIS TIME?

 8   ONLY HAD A NEED FOR THEM FOR GETTING A SPECIFIC TASK DONE, AND                  8    A.     SO ON FRIDAY, MAY 10TH IS THE MOMENT WHEN WE STOPPED

 9   AFTER THAT TASK WAS DONE, WE WOULD TELL THEM TO GO BACK TO                      9    THE -- WE MADE THE EXPLOIT NOT WORK ANYMORE.

10   THEIR REGULAR PROJECTS AND NOT BE PART OF THE INVESTIGATION.                   10           SO AFTER THIS MOMENT, USERS WERE NOT AFFECTED ANYMORE, AND

11    Q.    YOU MENTIONED OTTO. WHO IS OTTO?                                        11   WE DID IT BY ROLLING OUT A FIX ON OUR RELAY SERVER THAT MADE

12    A.    OTTO EBELING IS A SECURITY ENGINEER WHO HELPED US                       12   THE EXPLOIT LOOK LIKE IT WAS BROKEN, BUT IT WASN'T OBVIOUS THAT

13    THROUGHOUT THE INVESTIGATION.                                                 13   IT WAS -- THAT WE DETECTED IT.

14          AND HE WAS ALSO ONE OF THE SECURITY ENGINEERS THAT                      14    Q.     WAS THERE FURTHER REMEDIATION AFTER THAT POINT?

15   SUGGESTED THE VALIDATION WORK THAT WE DID THAT LED TO THE                      15    A.     YES. THE LEFT -- THE COMPLETE REMEDIATION HAPPENED ON

16   DISCOVERY OF THE ATTACK.                                                       16    MONDAY, THE FOLLOWING MONDAY, ON MAY 13TH WHEN WE ROLLED OUT

17    Q.    GOING BACK TO THE SAME SERIES OF QUESTIONS, IGOR MILYAKOV,              17    NEW VERSIONS OF THE WHATSAPP APPLICATION FOR ANDROID AND IOS,

18    WHAT WAS HIS ROLE, IF ANY, IN THE INVESTIGATION?                              18    AND WE INSTRUCTED ALL THE USERS TO UPDATE THEIR APPS

19    A.    IGOR WAS A MEMBER OF THE WHATSAPP CHAT TEAM. HE -- WE                   19    IMMEDIATELY.

20    NEEDED HIM TO DO SOME -- TO MAKE SOME CHANGES IN THE CHAT                     20           AND WE ALSO MADE ANOTHER FIX IN THE SIGNALLING SERVER THAT

21    LOGIC.                                                                        21   WOULD PREVENT THESE MALICIOUS CALLS EVEN TO HAPPEN. SO THE

22          I CAN'T REMEMBER THE ACTUAL CHANGES HE MADE, BUT THERE                  22   USERS WOULD NOT EVEN SEE ANYTHING AT THAT POINT.

23   WERE SOME CHANGES THAT JESUS COULD NOT DO, AND WE -- I HAD TO                  23    Q.     OKAY. SO CAN YOU EXPLAIN TO THE JURY, AT A HIGH LEVEL,

24   GO AND TALK TO HIS MANAGER, MIKHAIL VORONTSOV, AND WE HAD TO                   24    THE FULL SCOPE OF THE REMEDIATION WORK THAT WHATSAPP UNDERTOOK

25   HAVE HIM WORK WITH US FOR A DAY OR TWO, I CAN'T REMEMBER                       25    WITH RESPECT TO THIS ATTACK? THE MOMENTS OF IT I MEAN.

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 1   EXACTLY, BUT HE -- YEAH, HE WORKED ON A PROJECT, HE GOT IT                      1    A.     YES. SO THERE WERE THREE PARTS OF THE REMEDIATION.

 2   DONE, AND HE WASN'T INVOLVED IN IT ANYMORE.                                     2           ONE WAS ON THE WHATSAPP APPLICATION. SO WE PATCHED THE

 3    Q.    WHAT ABOUT ARAVIND THANGAVEL?                                            3   WHATSAPP APPLICATION TO AVOID THE ATTACK FROM BEING EFFECTIVE.

 4    A.    ARAVIND WAS A MEMBER OF THE INTERNAL TOOLS TEAM, AND WE                  4   SO THAT WAS ONE PART.

 5    NEEDED HIM IN ORDER TO UNDERSTAND AND IN ORDER TO COLLECT AND                  5           THE SECOND PART WAS IN THE SIGNALLING SERVER, WHENEVER WE

 6    ANALYZE SOME OF THE CRASH LOGS THAT WE DETECTED THAT ARE                       6   WERE DETECTING THOSE SUSPICIOUS MESSAGES THAT LED TO THE

 7    RELATED TO THE INVESTIGATION. SO WE NEEDED MORE INFORMATION                    7   DISCOVERY OF THE ATTACK, WE WOULD NOT ALLOW THEM TO GO THROUGH.

 8    ABOUT THE CRASH LOGS AND HOW MANY OF THEM WERE HAPPENING, AND                  8   SO WE WOULD JUST STOP THEM.

 9    ALSO WE NEEDED THE DETAILS OF THE CRASHES IN ORDER TO MAKE                     9           AND THE THIRD ONE WAS IN THE RELAY SERVER. WE WOULD

10    PROGRESS WITH THE INVESTIGATION.                                              10   PREVENT THAT SPECIFIC -- WE WOULD PREVENT THE USE OF THE CLIENT

11          AND ARAVIND HELPED US TO COLLECT ALL THAT INFORMATION. HE               11   VULNERABILITY. SO THE CLIENT VULNERABILITY WAS BEING MISUSED

12   WAS VERY INVOLVED, BUT I DON'T THINK HE WAS A FULL-TIME                        12   THROUGH THE RELAY, AND WE FOUND SOME WAYS TO DETECT THE WAY

13   INVOLVEMENT.                                                                   13   THEY WERE MISUSING IT, AND WE HAD A SPECIFIC LOGIC THAT WE PUT

14    Q.    WHEN YOU SAY "CRASH LOGS," WHAT DO YOU MEAN?                            14   IN PLACE IN THE RELAY THAT WOULD NOT ALLOW THE ATTACKER TO

15    A.    THESE ARE ESSENTIALLY RECORDS OF INSTANCES OF THE WHATSAPP              15   MISUSE THE CLIENT VULNERABILITY.

16    APPLICATION CRASHING THAT WERE RECORDED ON THE WHATSAPP SERVER.               16           SO ESSENTIALLY EVEN PEOPLE WHO WOULD NOT BE UPDATING THEIR

17         SO JUST TO BE CLEAR, THIS EXPLOIT WAS NOT RELIABLE 100                   17   APP WOULD STILL BE PROTECTED IN THIS CASE.

18    PERCENT OF THE TIME. SO IT WOULD CAUSE CRASHES IN SOME OF THE                 18    Q.     AND CAN YOU EXPLAIN TO THE JURY WHY THIS REMEDIATION WORK

19    CASES BECAUSE IT'S VERY SOPHISTICATED.                                        19    WAS UNDERTAKEN?

20          AND THOSE CRASHES ACTUALLY HELPED US TO FURTHER UNDERSTAND              20    A.     WE TOOK THIS REMEDIATION WORK AS PART OF THE INCIDENT

21   HOW IT WORKS.                                                                  21    RESPONSE PROCESS WE WERE FOLLOWING. SO WE DETECTED AN ATTACK,

22    Q.    LAST NAME, ABY JOHN, DID THAT PERSON HAVE A ROLE? AND IF                22    AND WE TOOK ALL THE STEPS TO REMEDIATE AS SOON AS POSSIBLE.

23    SO, WHAT WAS IT?                                                              23    Q.     DID THERE COME A TIME WHEN WHATSAPP ATTRIBUTED THE ATTACK

24    A.    ABY JOHN WAS A PRODUCT MANAGER, IF I REMEMBER CORRECTLY.                24    TO NSO?

25    SO HE HELPED US WITH THE COORDINATION WORK THROUGHOUT THE                     25    A.     I REMEMBER VAGUELY THROUGHOUT THE INVESTIGATION, THE WEEK

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 1    OF THE INVESTIGATION, THAT WE WERE BRIEFED ON THE FACT THAT NSO               1   THE CALL. SO THE LAST STEP OF THE ATTACK WAS THE CALL WILL BE

 2    WAS BEHIND THE ATTACK.                                                        2   TERMINATED SUDDENLY.

 3         BUT I DON'T -- I DON'T REMEMBER EXACTLY WHEN.                            3           THE WHOLE ATTACK PROBABLY TOOK, LIKE, MAYBE FIVE -- THREE

 4    Q.   THROUGH YOUR WORK ON THE INVESTIGATION, DID YOU DEVELOP AN               4   TO FIVE SECONDS. I THINK ALL OF THIS WAS HAPPENING IN A FEW

 5    UNDERSTANDING OF HOW NSO'S EXPLOIT WORKED?                                    5   SECONDS.

 6    A.   YES, I DEVELOPED A GOOD UNDERSTANDING OF HOW THE EXPLOIT                 6           AND THE LAST STEP WAS, AGAIN, TERMINATING THE CALL. SO

 7    WORKED.                                                                       7   THE ATTACKER WOULD TERMINATE THE CALL, AND AFTER ALL THE MEMORY

 8    Q.   AND WHAT WAS THAT UNDERSTANDING?                                         8   HAS BEEN MODIFIED SO THAT WHEN THE, WHEN THE CALL FINISHED,

 9    A.   SHOULD I EXPLAIN HOW THE --                                              9   THEY HAD THE CLEAN-UP ROUTINE.

10    Q.   IF YOU COULD.                                                           10           SO WHENEVER WE FINISH A CALL, WE DO SOME CLEAN UP AFTER

11    A.   SURE.                                                                   11   EVERYTHING FINISHES. AND INSTEAD OF THAT CLEAN UP, THEY

12         SO JUST AS A DISCLAIMER, THIS IS A VERY SOPHISTICATED,                  12   ACTUALLY MANAGED TO RUN THEIR OWN CODE.

13    SOPHISTICATED ATTACK AND EXPLOIT.                                            13           SO AT THAT POINT, WE KIND OF LOST THE EXECUTION OF THE

14         IT ALL STARTED WITH THE VIDEO CALL. SO THEY WERE USING A                14   APP, AND THEY KIND OF TOOK OVER AT THAT POINT.

15    FAKE CLIENT, AND THE FAKE CLIENT WOULD START THE VIDEO CALL                  15    Q.     WHAT ROLE DID WHATSAPP'S SIGNALLING SERVERS PLAY IN THE

16    WITH THE DEVICE OF THE VICTIM.                                               16    ATTACK?

17         AND IN THE FIRST STEP OF THE ATTACK, IT WOULD INJECT SOME               17    A.     SO THE SIGNALLING SERVER WAS BASICALLY TRICKED TO PASS

18    MALICIOUS CODE IN THE MEMORY OF THE VICTIM'S APPLICATION, THE                18    THIS MALICIOUS CODE TO THE WHATSAPP APPLICATION. SO IT WAS, IT

19    WHATSAPP APPLICATION.                                                        19    WAS USED TO INJECT THE MALICIOUS CODE IN THE APP'S MEMORY.

20         AND THERE ARE SEVERAL STEPS THAT FOLLOWED THAT THAT                     20           LIKE, THE -- THE WHATSAPP APPLICATION OF THE VICTIM

21    ESSENTIALLY THEY USED TO EXECUTE THAT MALICIOUS CODE THAT THEY               21   TRUSTED THE SERVER, LIKE, WE DESIGNED WHATSAPP WITH THE FACT

22    INJECTED IN THE FIRST STEP.                                                  22   THAT WE TRUST THE SERVER.

23         AND THEY USED MANY MECHANISMS, MECHANISMS TO ACHIEVE THAT.              23           SO IT WAS TAKING THIS MESSAGE THAT WOULD NORMALLY BE

24    IT'S A VERY HARD THING TO DO.                                                24   PROVIDED ONLY BY THE SERVER AND WOULD KEEP IT INSIDE THE

25         FOR INSTANCE, THE FIRST THING THAT THEY WERE DOING, THAT                25   MEMORY.

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 1    THE ATTACKER WAS DOING WAS TO LEARN THE LAYOUT OF THE MEMORY OF               1    Q.     AND WHAT ROLE, IF ANY, DID THE WHATSAPP RELAY SERVERS PLAY

 2    THE WHATSAPP APPLICATION, WHICH MAY SOUND SIMPLE, BUT IT'S                    2    IN THE ATTACK?

 3    ACTUALLY EXTREMELY COMPLICATED. THEY BYPASSED SYSTEM LEVEL                    3    A.     SO THE WHATSAPP RELAY SERVER WAS USED IN ALL THE STEPS

 4    PROTECTIONS THAT THE APPLICATION HAD FROM THE ANDROID OPERATING               4    REQUIRED TO TAKE OVER THE EXECUTION. SO THEY WERE USING THE

 5    SYSTEM, AND JUST THAT ON ITS OWN IS A VERY HARD THING TO DO.                  5    WHATSAPP RELAY SERVER TO LEARN ABOUT THE MEMORY AND TO DO ALL

 6    IT'S NOT SOMETHING YOU WOULD NORMALLY SEE. IT'S A VERY, VERY                  6    THAT MEMORY MANIPULATION INSIDE THE WHATSAPP APPLICATION.

 7    HARD TASK.                                                                    7    Q.     LAST QUESTION, MR. GHEORGHE. HOW WOULD YOU ASSESS THE

 8         AND AFTER THEY LEARNED, LIKE, THE LAYOUT OF THE MEMORY OF                8    SOPHISTICATION OF NSO'S ATTACK?

 9    THE APPLICATION, THEY STARTED MODIFYING THE INSTRUCTIONS IN THE               9    A.     I THINK IT'S HIGHLY SOPHISTICATED. IT'S SOMETHING THAT

10    PROGRAM OF THE APPLICATION, SO THEY STARTED DOING MODIFICATIONS              10    I'VE NEVER -- IT'S THE MOST SOPHISTICATED ATTACK THAT I'D KNOWN

11    TO THE APPLICATION ITSELF, THE LOGIC IN THE APPLICATION.                     11    OF AT THAT TIME. WE CONSIDERED IT STATE OF THE ART. IT WAS

12         AND THE WAY THEY DID THAT IS VERY CREATIVE. SO THE VIDEO                12    HIGHLY SOPHISTICATED. IT TOOK US A REALLY LONG TIME TO, TO

13    CALL WAS ELEVATED TO A GROUP CALL ACTUALLY THROUGHOUT THIS                   13    DECIPHER AND LEARN HOW IT WORKED.

14    PROCESS, SO IT WAS A SECOND ATTACKER THAT WAS BEING ADDED TO                 14           WE THOUGHT INITIALLY THAT IT WAS GOING TO TAKE 45, 48

15    THE GROUP CALL. AND THEY USED THAT AS A WAY TO ESSENTIALLY                   15   HOURS. THAT WAS OUR GOAL, FIND HOW IT WORKS IN 24 HOURS, HAVE

16    CHANGE THE MEMORY INSIDE OF THE APPLICATION.                                 16   ANOTHER 24 HOURS TO REMEDIATE, AND BE DONE WITH IT.

17         AND THEN THEY FOUND A WAY TO EXECUTE, TO EXECUTE THE                    17           BUT WE JUST COULDN'T DO IT. LIKE, WE HAD FOUR CLASS

18    MALICIOUS CODE BY RELYING ON A SYSTEM CALL FROM A DATABASE                   18   SECURITY EXPERTS WORKING ESSENTIALLY NON-STOP TO FIND THIS, AND

19    SOFTWARE THAT WE WERE USING INSIDE THE WHATSAPP APPLICATION                  19   THAT'S WHY WE INVOLVED PEOPLE IN LONDON AND MENLO PARK, BECAUSE

20    CALLED SQLITE.                                                               20   WE WEREN'T MAKING ENOUGH PROGRESS. SO IT WAS VERY

21         SO THEY USED A SYSTEM THAT WAS AVAILABLE INSIDE SQLITE, IT              21   SOPHISTICATED.

22    WAS COMPLETELY UNRELATED, AND WE WERE USING SQLITE FOR STORAGE               22               MR. PEREZ: OKAY. NO MORE QUESTIONS AT THIS TIME,

23    MESSAGES INTERNALLY IN THE APP, SO THEY USED THAT AS A WAY TO                23    YOUR HONOR.

24    EXCLUDE THE CODE.                                                            24               THE COURT: ALL RIGHT. THANK YOU.

25         AND THE WAY THEY HIJACKED THE EXECUTION WAS BY TERMINATING              25           ARE YOU READY TO START YOUR CROSS?

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 1            MR. AKROTIRIANAKIS: I CAN BE, YOUR HONOR.                          1           I NEED TO SEE IT, THOUGH.

 2            THE COURT: OKAY. WOULD YOU RATHER WE TAKE OUR 15                   2               MR. AKROTIRIANAKIS: I URGE YOU TO SEE IT,

 3    MINUTE BREAK BEFORE YOU START?                                             3    YOUR HONOR.

 4            MR. AKROTIRIANAKIS: THAT'S FINE.                                   4               THE COURT: WELL, JUST TELL ME WHERE IT IS.

 5            THE COURT: OKAY. ALL RIGHT.                                        5               MR. AKROTIRIANAKIS: WELL, I CAN PROVIDE THE COURT

 6        LADIES AND GENTLEMEN, WE'LL TAKE OUR SECOND 15 MINUTE                  6    THE EXHIBIT NUMBERS.

 7   BREAK OF THE MORNING.                                                       7           DO YOU HAVE THEM? PLEASE WRITE THEM DOWN.

 8        WE'LL BE BACK AT 12:05.                                                8           WE PROVIDED THEM IN -- WE PROVIDED, AT THE COURT'S

 9            THE CLERK: ALL RISE FOR THE JURY.                                  9   DIRECTION, WE HAD ALREADY AGREED TO IT ANYWAY, THE EXHIBIT

10        (JURY OUT AT 11:49 A.M.)                                              10   NUMBERS THAT WE INTENDED TO SHOW IN OPENING. THEY ARE IN THOSE

11            THE COURT: ALL RIGHT. MR. GHEORGHE, YOU CAN STEP                  11   EXHIBITS.

12    DOWN.                                                                     12               THE COURT: OKAY. I DON'T HAVE THEM.

13        YES, COUNSEL?                                                         13               MR. ANDRES: YOUR HONOR --

14            MR. ANDRES: JUST THAT THE WITNESS -- BEFORE THEIR                 14               THE COURT: I REFER -- TELL ME WHERE THEY ARE IN THE

15    CROSS-EXAMINATION STARTS, AMONG THE OTHER THINGS THAT                     15    RECORD, OR GIVE ME A COPY OF THEM SO THAT I CAN --

16    MR. AKROTIRIANAKIS MENTIONED IN HIS OPENING WAS SOME NOTION               16               MR. AKROTIRIANAKIS: I WILL, YOUR HONOR. I WILL.

17    THAT META WAS STEALING THE INTELLECTUAL PROPERTY OF NSO.                  17               THE COURT: OKAY. YOU MAY NOT ASK ANY QUESTIONS

18        THAT'S COMPLETELY INAPPROPRIATE IN THIS TRIAL. THIS IS                18    ABOUT THAT UNTIL I LOOK AT THE DOCUMENT WHICH YOU SAY GIVE RISE

19   NOT -- THERE'S BEEN NO EVIDENCE ABOUT THAT. THEY'RE MERE                   19    TO YOUR ABILITY --

20   ALLEGATIONS THAT HE WANTS TO PUT IN FRONT OF THE JURY, AND IT'S            20               MR. AKROTIRIANAKIS: YES, YOUR HONOR.

21   NOT APPROPRIATE.                                                           21               THE COURT: -- TO PURSUE THAT.

22            THE COURT: MR. AKROTIRIANAKIS, IS THERE -- IS THERE               22               MR. AKROTIRIANAKIS: YES, YOUR HONOR.

23    EVIDENCE IN THE RECORD?                                                   23               MR. ANDRES: AND JUST BECAUSE HE HAS SOME THEORY

24            MR. AKROTIRIANAKIS: YES, YOUR HONOR. I SHOWED SOME                24    DOESN'T MAKE IT RELEVANT. IT COULD BE PREJUDICIAL.

25    OF IT TO THE JURY. THIS IS WHAT WE WERE DOING BETWEEN MAY 6TH             25               THE COURT: IT COULD BE, BUT I NEED TO SEE IT FIRST.

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 1    AND MAY 13TH, THE TIME THAT THEY ARE CLAIMING DAMAGES FOR.                 1               MR. ANDRES: FAIR ENOUGH.

 2        AND I WOULD ADD, I THINK I UNDERSTAND THE COURT'S RULINGS              2               THE COURT: EVERYTHING IS SO THEORETICAL IN THIS

 3   IN TERMS OF SUSTAINING HIS OBJECTIONS AND THE POWERPOINT THAT I             3    CASE. I DON'T HAVE --

 4   SHOWED IN OPENING, YOUR HONOR.                                              4               MR. ANDRES: IT'S NOT THEORETICAL FROM OUR SIDE,

 5        THEY -- THIS IS THEIR EXHIBIT BOOK UNREDACTED. THEY GAVE               5    YOUR HONOR.

 6   US -- THEY SAID THESE ARE GOING TO BE THE EXHIBITS.                         6               THE COURT: I UNDERSTAND YOUR OBJECTION. BUT I --

 7        AND NOW THEY'RE UPSET WITH ME AND TRYING TO GET ME IN                  7    BEFORE I THINK RULE ON IT, I NEED TO SEE IT.

 8   TROUBLE WITH YOU --                                                         8               MR. ANDRES: THANK YOU.

 9            THE COURT: HOLD ON. WE HAVE TWO SEPARATE ISSUES.                   9               MR. AKROTIRIANAKIS: YOUR HONOR, THE TWO DOCUMENTS

10    FIRST ISSUE, THE THEFT, IS THERE EVIDENCE IN THE RECORD?                  10    THAT THEY JUST MOVED INTO EVIDENCE CONTAIN EXACTLY THE SAME

11            MR. AKROTIRIANAKIS: YES, YOUR HONOR.                              11    THING THAT YOU WERE SUSTAINING MY OBJECTIONS TO IN MR. WOOG'S

12            THE COURT: IF SO, WHERE IS IT?                                    12    TESTIMONY.

13            MR. AKROTIRIANAKIS: IT'S IN SOME OF THE EXHIBITS                  13               THE COURT: I KNOW, I NOTICED IT, TOO. THE VERY

14    THAT I SHOWED DURING THE OPENING. THERE ARE OTHERS.                       14    FIRST EXHIBIT THAT YOU PUT ON, MR. PEREZ --

15        THIS GENTLEMAN -- THIS GENTLEMAN WAS SPEAKING WITH                    15               MR. AKROTIRIANAKIS: AND THE SECOND.

16   MR. ROBINSON ABOUT SOME OF THOSE EFFORTS. MR. ROBINSON WAS                 16               THE COURT: -- USED THE WORD "VULNERABILITIES."

17   SPEAKING WITH OTHERS ABOUT WHAT THEY WERE DOING DURING THE TIME            17    HIS -- MR. GHEORGHE'S TESTIMONY, OVER AND OVER AGAIN, USED THE

18   THAT THEY'RE SAYING, FULL TIME, THESE PEOPLE WERE WORKING ON               18    WORD, THE EXPLOITING OF THE VULNERABILITY WHICH, INDEED, WAS

19   THIS REMEDIATION PROJECT.                                                  19    THE SUBJECT OF A MOTION IN LIMINE.

20            MR. ANDRES: THAT'S MR. AKROTIRIANAKIS TESTIFYING                  20               MR. PEREZ: YOUR HONOR, THE TERM "VULNERABILITY" IS A

21    ABOUT HOW HE -- THERE ISN'T ANY EVIDENCE, NO ONE HAS EVER BEEN            21    TERM OF ART, WHICH IF MR. AKROTIRIANAKIS WANTS TO EXPLORE ON

22    ASKED ANY OF THOSE QUESTIONS, EVER.                                       22    CROSS-EXAMINATION, MR. GHEORGHE CAN EASILY EXPLAIN.

23            THE COURT: IF THERE'S SOMETHING -- IF THERE'S                     23           THE PROBLEM WITH THE EXHIBIT THAT THEY USED ON OPENING IS

24    SOMETHING IN THE RECORD FROM WHICH HE CAN MAKE THAT ARGUMENT,             24   THAT THEY HAVE SUGGESTED THAT THIS IS CRITICAL OF THE

25    THEN IT'S APPROPRIATE.                                                    25   SUFFICIENCY OF WHATSAPP'S SECURITY EFFORTS, AND IN PARTICULAR

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 1    A.   SO THIS IS THE PRESENTATION THAT I PUT TOGETHER TALKING                  1    A.     SO THESE WERE HIGHLY COMPLEX ATTACKS. THEY NEEDED TWO

 2    ABOUT THE ATTACKS AS WE SAW THEM.                                             2    DIFFERENT VULNERABILITIES THAT WORKED IN TANDEM IN ORDER TO GET

 3              MR. BLOCK: YOUR HONOR, PLAINTIFFS OFFER TRIAL                       3    ACTUAL EXPLOITATION ON THE USERS' PHONES.

 4    EXHIBIT 930 INTO EVIDENCE AND REQUEST PERMISSION TO PUBLISH IT.               4           SO THE FIRST VULNERABILITY RELIED -- OR NEEDED TO TALK TO

 5              THE COURT: ANY OBJECTION?                                           5   THE ACTUAL VULNERABILITY THAT EXISTED ON USERS' PHONES. AND SO

 6              MR. AKROTIRIANAKIS: MAY I HAVE JUST A MOMENT,                       6   ANY TIME YOU HAVE TO FIND TWO SEPARATE VULNERABILITIES AND MAKE

 7    YOUR HONOR?                                                                   7   THEM WORK TOGETHER, THAT IS NOT AN EASY TASK.

 8         (PAUSE IN PROCEEDINGS.)                                                  8           IT REQUIRES A GREAT DEAL OF RESEARCH AND EFFORT.

 9              MR. AKROTIRIANAKIS: NO, YOUR HONOR. THANK YOU.                      9           AND ADDITIONALLY, IT WAS MADE MORE COMPLEX BY THE FACT

10              THE COURT: ALL RIGHT. ADMITTED.                                    10   THAT THEY DID NOT HAVE ACCESS, OR SHOULD NOT HAVE HAD ACCESS TO

11         (PLAINTIFFS' EXHIBIT 930 WAS ADMITTED IN EVIDENCE.)                     11   THE SERVER SIDE COMPONENTS THAT HAD A VULNERABILITY ON THEM.

12              MR. BLOCK: MR. EVANS, CAN WE PLEASE HAVE TRIAL                     12   SO THEY WOULD HAVE HAD TO HAVE WORKED REALLY HARD TO FIND THAT.

13    EXHIBIT 930 ON SCREEN, AND LET'S GO TO 930.6.                                13    Q.     WE'VE HEARD THIS TERM "VULNERABILITY" A NUMBER OF TIMES.

14    Q.   MR. ROBINSON, WOULD YOU PLEASE EXPLAIN TO THE JURY WHAT                 14           WHAT DOES THAT MEAN IN THE SECURITY CONTEXT?

15    YOU DEPICTED ON THIS SLIDE?                                                  15    A.     SO A VULNERABILITY IS A WAY TO CONVINCE A COMPUTER PROGRAM

16    A.   SO THIS IS AN EXAMPLE OF WHAT WAS AT THE OTHER END OF THE               16    TO DO SOMETHING THAT IT IS NOT INTENDED TO DO.

17    LINK THAT BRENDAN TISZKA PROVIDED TO ME.                                     17    Q.     DO YOU USE THE WORD "EXPLOIT" IN YOUR WORK?

18    Q.   AND WHAT DO YOU SEE?                                                    18    A.     I DO.

19    A.   SO THIS IS -- THESE ARE ALL OF THE -- THESE ARE A BUNCH OF              19    Q.     DOES THAT WORD RELATE TO VULNERABILITY IN ANY WAY?

20    LINUX COMMANDS DESIGNED TO RUN ON ANDROID OPERATING SYSTEMS,                 20    A.     SURE. SO YOU WOULD EXPLOIT A VULNERABILITY. SO THE

21    WHICH IS A MOBILE PHONE OPERATING SYSTEM, AS WELL AS THE ELF                 21    EXPLOIT IS THE ACT OF DOING SOMETHING WITH THAT VULNERABILITY.

22    FILE ENCODED WITHIN THIS.                                                    22    Q.     OKAY. IN YOUR WORK AT META, HOW OFTEN DO YOU SEE AN

23    Q.   OKAY. YOU SAID EXAMPLE. WHY DID YOU SAY THAT?                           23    ATTACK AS SOPHISTICATED AS THIS ONE FROM NSO GROUP?

24    A.   THIS WAS ONE OF MANY THAT WE FOUND, WE FOUND A LARGE                    24    A.     RARELY. ON THE ORDER OF ABOUT ONCE EVERY FIVE YEARS.

25    NUMBER OF THESE, AND THIS IS JUST AN EXAMPLE OF IT.                          25    Q.     OKAY. LET'S TALK A LITTLE BIT MORE ABOUT HOW YOU FIGURED

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 1    Q.   DO YOU KNOW WHERE IN WHATSAPP'S INFRASTRUCTURE THIS CODE                 1    OUT WHAT WAS GOING ON.

 2    WAS DISCOVERED?                                                               2           WHAT IS A DISASSEMBLER?

 3    A.   SO THIS WAS FOUND BY LOGGING WHAT WE HAD ADDED TO OUR                    3    A.     SO A DISASSEMBLER IS SOMETHING, A PROGRAM THAT YOU CAN

 4    CHATD SERVERS.                                                                4    TAKE AND YOU CAN LOAD, COMPILE COMPUTER CODE INTO IT, LIKE WHAT

 5    Q.   DID YOU HAVE A REACTION TO SEEING CODE LIKE THIS ON THE                  5    IS SHOWN ON THE ELF FILE HERE, AND IT TURNS THOSE UNREADABLE

 6    CHATD SERVER LOGS?                                                            6    NUMBERS INTO SOMETHING THAT'S MORE READABLE TO A HUMAN SO YOU

 7    A.   WELL, THIS SORT OF -- THIS SORT OF CODE DOES NOT BELONG                  7    CAN FIGURE OUT WHAT THAT PROGRAM IS DOING.

 8    THERE. IT SHOULD NOT BE POSSIBLE FOR THIS TO HAVE BEEN                        8    Q.     WHICH PART IS THE ELF FILE?

 9    TRANSMITTED AS A PART OF NORMAL WHATSAPP MESSAGING.                           9    A.     SO IT'S THE PART THAT STARTS, I THINK IT'S ABOUT SIX LINES

10    Q.   OKAY. LET'S TAKE AN EXAMPLE.                                            10    DOWN, WITH THE LETTERS 7FELF.

11         MR. EVANS, CAN YOU FIND THE LINE THAT SAYS STOP SERVICE?                11    Q.     AND WHAT IS AN ELF FILE?

12   I THINK IT'S TOWARDS THE RIGHT. YOU GOT IT.                                   12    A.     SO I THINK IT'S SHORT FOR EXECUTABLE LINKABLE FORMAT. BUT

13         MR. ROBINSON, WHAT DOES THIS PART OF THE CODE DO?                       13    IT'S AN EXECUTABLE PROGRAM THAT IS DESIGNED TO RUN ON THE LINUX

14    A.   SO THIS PART OF THE CODE IS INTENDED TO TRY AND PREVENT                 14    OPERATING SYSTEM.

15    THE NOTIFICATION THAT YOU RECEIVE WHENEVER YOU GET A WHATSAPP                15    Q.     OKAY. SO WHEN YOU USED THE DISASSEMBLER WITH THE ELF

16    CALL FROM ANOTHER WHATSAPP USER. THIS IS AN ATTEMPT TO STOP                  16    FILE, WHAT, IF ANYTHING, DID YOU LEARN?

17    THE ABILITY FOR THE PHONE TO SHOW THAT YOU ARE RECEIVING A                   17    A.     SO I LEARNED THAT THIS WAS A -- THIS ELF FILE ITSELF IS

18    CALL.                                                                        18    RELATIVELY, RELATIVELY SIMPLE. IT WAS DESIGNED TO JUST REACH

19    Q.   WHAT PURPOSE DOES A COMMAND LIKE THAT SERVE IN A CYBER                  19    OUT TO ANOTHER SERVER AND RETRIEVE ANOTHER EXECUTABLE PAYLOAD

20    ATTACK?                                                                      20    AND RUN IT ON THE DEVICES THAT HAD BEEN INFECTED.

21    A.   SO IT'S A WAY FOR SOMEBODY, LIKE NSO GROUP WHO WAS                      21    Q.     OKAY. AFTER YOU UNDERSTAND -- UNDERSTOOD WHAT THAT

22    CONDUCTING THE ATTACK, TO HIDE THE FACT THAT THEY ARE USING THE              22    EXECUTABLE FILE WAS INTENDED TO DO, WHAT DID YOU DO NEXT?

23    CALLING MECHANISM TO EXPLOIT YOU.                                            23    A.     SO AFTER I FIGURED OUT WHAT THIS ONE WAS, WE -- SINCE WE

24    Q.   HOW WOULD YOU CHARACTERIZE THE COMPLEXITY OF THESE NSO                  24    HAD MANY OTHER EXAMPLES OF IT AND THEY WERE ALL VERY SLIGHTLY

25    ATTACKS THAT WHATSAPP DISCOVERED IN MAY OF 2019?                             25    DIFFERENT, I WROTE A SCRIPT THAT WOULD GO THROUGH AND PROCESS

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                             BEFORE THE HONORABLE PHYLLIS J. HAMILTON                                    RECROSS-EXAM BY MR. AKROTIRIANAKIS       P. 751
       14                          UNITED STATES DISTRICT JUDGE
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                                           BY: GREG D. ANDRES
       18                                       ANTONIO J. PEREZ
                                           450 LEXINGTON AVENUE                                  14   YARON SHOHAT
       19                                  NEW YORK, NEW YORK 10017
                                                                                                         DIRECT EXAM BY MR. AKROTIRIANAKIS                P. 752
       20                                  BY: MICAH G. BLOCK                                    15      CROSS-EXAM BY MR. ANDRES                     P. 809
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       21                                  REDWOOD CITY, CALIFORNIA 94063
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                                                   CERTIFICATE NUMBER 9595
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       23                                          IRENE RODRIGUEZ, CSR, RMR, CRR                19
                                                   CERTIFICATE NUMBER 8074                       20
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 1    Q.   OKAY. AND IT'S SET UP IN THE SAME WAY AND ALL OF THAT;                  1    Q.     OKAY. AND THE FIRST, THE FIRST LINE, OR THE FIRST ROW, I

 2    RIGHT?                                                                       2    SHOULD SAY, WITHIN CURRENT ASSETS IS CASH?

 3    A.   YEAH.                                                                   3    A.     CORRECT. THAT'S BASICALLY HOW MUCH CASH WE HAD IN THE

 4    Q.   SO LET'S JUST GO DOWN, I GUESS, TO NET INCOME, PLEASE.                  4    BANK ACCOUNT IN THE RESPECTIVE DATE, MEANING END OF '23 AND END

 5    THANK YOU.                                                                   5    OF '24.

 6         AND IF YOU COULD HIGHLIGHT THAT LINE.                                   6    Q.     AND HOW MUCH CASH DID NSO HAVE ON HAND AT THE END OF '23

 7         THIS IS THE -- THIS SHOWS THE NET INCOME RESPECTIVELY IN                7    AND '24?

 8   THE YEAR-ENDING 12/2023 AND THE YEAR PENDING 12/2024; IS THAT                 8    A.     SO END OF '23, WE HAD $8.8 MILLION IN THE BANK, AND AT THE

 9   RIGHT, MR. SHOHAT?                                                            9    END OF '24, WE HAD $5.119 MILLION.

10    A.   THIS IS CORRECT.                                                       10    Q.     AND WHAT DOES THAT CASH GO TO PAY FOR?

11    Q.   OKAY. AND IT LOOKS TO SHOW A LOSS IN 2024 OF $359,000?                 11    A.     THIS CASH PAYS OUR ONGOING EXPENSES. ACTUALLY, THE -- ON

12    A.   CORRECT.                                                               12    THE MONTHLY BASIS, WE SPEND OVER -- IF WE TAKE NSO AND Q CYBER

13    Q.   AND IN 2023?                                                           13    TOGETHER, WE SPEND OVER $10 MILLION.

14    A.   WE HAD A MODEST PROFIT OF $313,000.                                    14           SO THAT WOULD BE LESS THAN WHAT WE SPEND IN ONE MONTH FOR

15    Q.   ALL RIGHT. NOW, WOULD YOU TURN, PLEASE, TO EXHIBIT 1779                15   SALARIES AND OTHER EXPENSES.

16    AND 1780 ALSO IN EVIDENCE.                                                  16    Q.     THE -- ON THE TOPIC OF SALARIES, HOW MANY PEOPLE WORK FOR

17         NOW, AT THE TOP OF THESE DOCUMENTS IT SAYS BALANCE --                  17    NSO AND Q CYBER COLLECTIVELY?

18   THESE DOCUMENTS.                                                             18    A.     SO COLLECTIVELY, IT'S SOMEWHERE BETWEEN 350 AND 380

19         ON THE SCREEN IS EXHIBIT 1779. BEFORE YOU, MR. SHOHAT, IS              19    PEOPLE, WHERE Q HAS ABOUT 50, AND THE REST IS NSO.

20   EXHIBIT 1779 AND 1780.                                                       20    Q.     THE NEXT LINE IS TRADE ACCOUNTS RECEIVABLE.

21         DO YOU HAVE THOSE?                                                     21           WHAT DOES THAT MEAN?

22    A.   YES, I DO.                                                             22    A.     OKAY. THAT'S AN INTERESTING ONE.

23    Q.   OKAY. AND THE ONE ON THE SCREEN ON THE TOP SAYS BALANCE                23           THERE'S SOMETHING INTERESTING ABOUT BALANCE SHEET, BECAUSE

24    12/2023 VERSUS 12/2024, WHAT'S CALLED A YEAR-OVER-YEAR BALANCE              24   IT REFLECTS ACCOUNTING WORLD, WHICH IS VERY DIFFERENT FROM THE

25    SHEET; IS THAT RIGHT?                                                       25   REAL WORLD.

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 1    A.   YES, CORRECT.                                                           1           WHAT WE SEE IS BASICALLY THIS NUMBER REPRESENTS MONEY OWED

 2    Q.   OKAY. NOW, COULD YOU PLEASE TELL THE JURY WHAT, WHAT IS                 2   TO THE COMPANY, IN THIS CASE NSO, AND IN THIS CASE THIS MONEY,

 3    SHOWN ON THE BALANCE SHEET GENERALLY?                                        3   THIS LARGE AMOUNT OF 158 MILLION DOLLARS AND 24 IS MONEY OWED

 4    A.   YEAH. SO BALANCE SHEET IS BASICALLY A SNAPSHOT IN TIME OF               4   TO IT FROM OTHER AFFILIATE COMPANIES IN THE LARGER ORGANIZATION

 5    THE ASSETS AND LIABILITIES OF A GIVEN COMPANY.                               5   STRUCTURE OF THE GROUP.

 6         THE WAY IT WORKS IS THAT ASSETS ALWAYS EQUAL THE                        6           SO THERE ARE OTHER COMPANIES IN THIS ORGANIZATIONAL

 7   LIABILITIES, THAT'S WHY IT'S CALLED A BALANCE SHEET.                          7   STRUCTURE WHO HAVE DEBT TO NSO IN THAT AMOUNT, OR CLOSE TO THAT

 8         AND WHAT WE CAN SEE HERE, THE TOP PART, IS THAT ASSETS OF               8   AMOUNT.

 9   THE COMPANY, AND BELOW THAT WOULD BE THE LIABILITIES, AGAIN,                  9    Q.     AND WHAT, IF ANY, EXPECTATIONS DOES NSO HAVE WITH RESPECT

10   THE TOTAL OF THE ASSETS ALWAYS EQUAL TO THE TOTAL OF THE                     10    TO WHETHER OR WHEN NSO WOULD EVER RECEIVE SOME OR ALL OF THAT

11   LIABILITIES.                                                                 11    MONEY?

12    Q.   OKAY. AND WHERE IN THE BALANCE SHEET IS THE INFORMATION                12    A.     WE -- I DON'T -- WE DON'T EXPECT TO RECEIVE ANY OF THAT

13    ABOUT NSO'S ASSETS FOUND?                                                   13    MONEY, AND THAT'S WHY I MADE THE COMMENT ABOUT THE ACCOUNTING

14    A.   SO AS I MENTIONED, THE TOP PART.                                       14    WORLD AND THE REAL WORLD.

15    Q.   SO ENDING WITH THE LINE THAT SAYS TOTAL ASSETS?                        15           THE FACT IS THAT THE COMPANY, THE COMPANIES THAT OWE US

16    A.   EXACTLY.                                                               16   THAT MONEY DON'T HAVE ANY MEANS TO PAY, AND, IN FACT, HAVE

17    Q.   OKAY. SO -- OKAY.                                                      17   OTHER COMMITMENTS WHICH TAKE PRIORITY EVEN ON WHAT THEY OWE US.

18         AND WHAT IS INCLUDED IN THE CATEGORY OF ASSETS?                        18           SO WE WILL NOT SEE THAT MONEY AND DON'T EXPECT TO SEE IT

19    A.   SO ASSETS ARE DIVIDED INTO TWO CATEGORIES. THE FIRST ONE               19   ANY TIME.

20    IS CALLED CURRENT ASSETS AND NON-CURRENT ASSETS.                            20           ACTUALLY, I EXPECT THAT AT SOME POINT IN TIME, OUR

21         EXCUSE MY ACCENT.                                                      21   ACCOUNTING TEAM, ACCOUNTING CONSULTANT WILL TELL US TO WIPE IT

22    Q.   THAT'S OKAY.                                                           22   OFF FROM THE BALANCE SHEET.

23    A.   CURRENT ASSETS ARE ASSETS THAT CAN BE EASILY CONVERTED                 23    Q.     WHEN YOU REFER TO COMMITMENTS, YOU'RE TALKING ABOUT LENDER

24    INTO CASH IN THE NEXT YEAR. NON-CURRENT ASSETS CANNOT BE                    24    COMMITMENTS?

25    CONVERTED TO CASH IN THE NEXT YEAR.                                         25    A.     YES.

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 1    Q.   AND THOSE ARE MADE BY OTHER COMPANIES IN THE CHAIN?                      1    DOCUMENT YOU JUST WALKED US THROUGH?

 2    A.   OTHER COMPANIES IN THE CHAIN THAT OWE VERY LARGE DEBT TO                 2    A.     YES.

 3    BANKS, BASICALLY, TO LENDERS, MUCH LARGER THAN THE AMOUNT WE                  3                  MR. ANDRES: APOLOGIES, YOUR HONOR. I'M SORRY. WHAT

 4    SEE HERE.                                                                     4    EXHIBIT NUMBER IS THIS?

 5         AND THAT DEBT IS SECURED, MEANING THEY FIRST NEED TO PAY                 5                  MR. AKROTIRIANAKIS: I'M SORRY IF I DIDN'T SAY THIS.

 6    THE SECURED DEBT BEFORE THEY'LL BE ABLE TO PAY, TO PAY US. AND                6    IT'S 1780.

 7    THEY DON'T HAVE ANY MEANS TO PAY, NOT TO THE FINANCIAL                        7                  MR. ANDRES: THANK YOU.

 8    INSTITUTION, AND DEFINITELY NOT TO US.                                        8                  MR. AKROTIRIANAKIS: IT'S THE Q CYBER BALANCE SHEET.

 9    Q.   SO WOULD THAT $158 MILLION IN TRADE ACCOUNTS RECEIVABLE,                 9    Q.     OKAY. WHAT WERE Q CYBER'S CASH AT THE END OF -- EXCUSE

10    WOULD THAT BE AN ASSET THAT NSO COULD USE FOR ANY PURPOSE?                   10    ME. WHAT WAS Q CYBER'S CASH AT THE END OF 2023 AND 2024?

11    A.   NO. IT'S LIKE PAPER MONEY.                                              11    A.     END OF 2023, WE HAD $3.2 MILLION IN THE BANK ACCOUNT.

12    Q.   THE NEXT ASSET IS INVENTORIES. WHAT IS INVENTORIES?                     12           END OF '24, A LITTLE BIT LESS.

13    A.   SO INVENTORIES IS TYPICALLY HARDWARE THAT WE BOUGHT BUT                 13    Q.     OKAY. AND WOULD THIS MONEY, THIS CASH AVAILABLE, BE

14    DID NOT SELL YET. SO THEY SIT IN OUR INVENTORY IN OUR                        14    COMBINED WITH THE CASH SHOWN ON THE NSO BALANCE SHEET IN TERMS

15    WAREHOUSE.                                                                   15    OF YOUR ABILITY TO MEET THAT $10 MILLION OF SALARIES AND SO ON

16    Q.   THE NEXT ASSET IS ACCOUNTS RECEIVABLE.                                  16    THAT YOU MENTIONED?

17         WHAT IS ACCOUNT RECEIVABLE AS USED HERE IN THE OTHER                    17    A.     YES, EXACTLY.

18    ACCOUNTS RECEIVABLE LINE?                                                    18    Q.     IN ISRAEL, BY THE WAY, WHEN ARE -- WELL, WHEN WOULD BE THE

19    A.   SO THAT, THAT WOULD BE OTHER COMMITMENTS TO THE COMPANY.                19    SPECIFIC DATE OF THESE -- OR THE AS OF DATE OF THESE FINANCIAL

20    IT MIGHT BE OTHER DEBT WE HAVE FROM OTHER COMPANIES IN THE                   20    DOCUMENTS WE'RE LOOKING AT?

21    STRUCTURE, OR FROM CUSTOMERS THAT ARE SUPPOSED TO PAY US.                    21    A.     SO THIS IS THE LAST DAY OF THE YEAR, DECEMBER 31ST.

22    Q.   OKAY. SO IS THAT OTHER ACCOUNTS RECEIVABLE MONEY THAT                   22    Q.     AND IN ISRAEL, IS -- WHAT'S THE NORMAL COURSE OF PAYROLL?

23    YOU, NSO AND Q CYBER, EXPECT TO RECEIVE?                                     23    A.     YEAH. SO IN ISRAEL, WE PAY ALL SALARIES ONCE A MONTH. I

24    A.   I THINK PART OF IT WE DO. AS I MENTIONED, WE SPEND OVER                 24    KNOW HERE IT'S TWICE A MONTH. WE PAY ONCE A MONTH, AND WE PAY,

25    10 MILLION A MONTH, SO WE DO EXPECT TO GET SOME MONEY FROM                   25    AT LEAST IN OUR COMPANIES, ON THE 9TH OF THE MONTH.

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 1    CUSTOMERS TO BE ABLE TO PAY THAT.                                             1           SO WE -- IN THIS CASE YOU SEE THE CASH ON THE FIRST DAY OF

 2    Q.   THE NEXT SORT OF BLOCK HERE IS TOTAL NON-CURRENT ASSETS?                 2    THE YEAR, AND NINE DAYS LATER, ON THE 9TH OF AUGUST -- OF

 3    A.   YES.                                                                     3    JANUARY, SORRY, JANUARY 9TH, WE WOULD PAY SALARIES.

 4    Q.   WHAT ARE NON-CURRENT ASSETS?                                             4    Q.     THE -- AFTER CASH, WE SEE AGAIN TRADE ACCOUNTS RECEIVABLE?

 5    A.   SO AS I MENTIONED, NON-CURRENT ASSETS ARE ASSETS THAT WILL               5    A.     CORRECT.

 6    NOT BE ABLE TO CONVERT TO CASH.                                               6    Q.     IS THAT THE SAME TYPE OF ASSET THAT YOU DESCRIBED WITH

 7    Q.   AND JUST IN SUMMARY, ARE THOSE ASSETS THAT ARE AVAILABLE                 7    RESPECT TO NSO'S OWN TRADE ACCOUNTS RECEIVABLE?

 8    TO NSO TO USE FOR ANY PURPOSE?                                                8    A.     YES, CORRECT. I THINK I EVEN CHECKED IT LAST NIGHT AND

 9    A.   NO.                                                                      9    THE $8 MILLION THERE IS A DEBT OF Q CYBER TO NSO, OR THE OTHER

10    Q.   AND DIRECTING YOU TO THE BOTTOM PART OF THE PAGE,                       10    WAY. SO, YEAH.

11    THERE'S -- THE LAST LINE SAYS TOTAL LIABILITIES.                             11    Q.     OKAY.

12         DO YOU SEE THAT?                                                        12    A.     IT'S BETWEEN THE TWO COMPANIES.

13    A.   YES.                                                                    13    Q.     AND WOULD THE AMOUNTS THAT WE SEE HERE IN THE TRADE

14    Q.   AND DOES EXHIBIT 1779, THE BOTTOM LINE, REFLECT THE TOTAL               14    ACCOUNTS RECEIVABLE LINE BE AVAILABLE TO Q CYBER FOR USE FOR

15    LIABILITIES THAT THE COMPANY HAD AS OF THE END OF 2023 AND                   15    ANY PURPOSE?

16    2024?                                                                        16    A.     NO.

17    A.   THAT'S CORRECT.                                                         17    Q.     DIRECTING YOU TO THE VERY LAST LINE OF THE BALANCE SHEET,

18         AND AS I MENTIONED, THIS IS EQUAL TO THE ASSETS ON THE                  18    AND IT READS TOTAL LIABILITIES?

19    BALANCE SHEET.                                                               19    A.     YES.

20    Q.   OKAY. PLEASE TURN TO EXHIBIT 1780.                                      20    Q.     DOES EXHIBIT 1780 REFLECT THE -- Q CYBER'S TOTAL

21    A.   YES.                                                                    21    LIABILITIES AS OF 12/31/2023 AND 12/31/2024?

22    Q.   IS THIS THE BALANCE SHEET FOR Q CYBER ISRAEL?                           22    A.     CORRECT.

23    A.   CORRECT.                                                                23    Q.     ALL RIGHT. YOU UNDERSTAND THAT THE PLAINTIFFS IN THIS

24    Q.   OKAY. AND WOULD WE READ IT -- I GET THAT THE NUMBERS ARE                24    CASE ARE SEEKING PUNITIVE DAMAGES; RIGHT?

25    DIFFERENT, BUT WOULD WE READ THE DOCUMENT THE SAME WAY AS THE                25    A.     I DO.

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 1    Q.   OKAY. WOULD THE TWO COMPANIES TOGETHER, THE TWO DEFENDANT              1    APPROVAL, THE AUDITOR'S APPROVAL OF THE REPORTS. IT'S THE SAME

 2    COMPANIES, BE ABLE TO PAY A PUNITIVE DAMAGES AWARD?                         2    NUMBER.

 3    A.   TO BE HONEST, I DON'T THINK WE'RE ABLE TO PAY ANYTHING.                3    Q.     SO --

 4    WE ARE STRUGGLING TO KEEP OUR HEAD ABOVE WATER. I'VE -- WE'RE               4    A.     SO THIS DOCUMENT IS NOT FROM AN AUDITED REPORT, IF THAT'S

 5    COMMITTING TO MY CFO JUST TO PRIORITIZE EXPENSES AND TO MAKE                5    YOUR QUESTION.

 6    SURE THAT WE HAVE ENOUGH MONEY TO MEET OUR COMMITMENTS, AND                 6    Q.     SO YOU HAVE THOSE DOCUMENTS AVAILABLE TO YOU NOW IN AN

 7    OBVIOUSLY ON A WEEKLY BASIS.                                                7    AUDITED 2023 FINANCIAL REPORT?

 8         WE DON'T HAVE ANY MONEY TO SPARE, TO BE HONEST.                        8    A.     MY CFO SHOULD HAVE IT, TOLD ME YESTERDAY THAT SHE RECEIVED

 9    Q.   YOU UNDERSTAND THAT THE PUNITIVE DAMAGES ALLEGATION IN                 9    THE AUDITOR'S SIGNATURE ON THE AUDITED REPORTS.

10    THIS CASE IS MADE PURSUANT TO A CALIFORNIA LAW CALLED THE                  10    Q.     SO YOU NOW WERE NOT SURE ABOUT THOSE DOCUMENTS UNTIL

11    CDAFA, OR THE CALIFORNIA COMPREHENSIVE COMPUTER DATA ACCESS AND            11    YESTERDAY?

12    FRAUD ACT?                                                                 12    A.     I AM SURE ABOUT THEM.

13    A.   I UNDERSTAND THAT.                                                    13           THE WAY IT WORKS, WE CREATE OR FOLLOW THESE REPORTS. ON A

14    Q.   OKAY. PRIOR TO THIS LAWSUIT HAVING BEEN FILED, HAD YOU                14   QUARTERLY BASIS I REVIEW THE REPORTS.

15    EVER HEARD OF THAT CALIFORNIA LAW BEFORE?                                  15           ONCE A YEAR, THEY NEED TO BE AUDITED. WE HAVE A YEAR,

16    A.   UM --                                                                 16   EVEN MORE SOMETIMES, TO GET THE AUDITOR'S APPROVAL ON THE

17              MR. ANDRES: OBJECTION, YOUR HONOR.                               17   REPORTS.

18              THE COURT: OVERRULED.                                            18           SO I REVIEW THESE REPORTS QUARTERLY AT LEAST, IF NOT MORE.

19              THE WITNESS: I DID NOT KNOW ABOUT THIS LAW BEFORE                19           IF YOU ASK ME ABOUT AUDITING OF THE REPORTS, THE 2023 WAS

20    THE LAWSUIT WAS MADE.                                                      20   AUDITED, AND WE GOT THE AUDITOR'S APPROVAL THIS WEEK.

21    BY MR. AKROTIRIANAKIS:                                                     21           THE 2024 REPORT WILL BE AUDITED IN A FEW MONTHS.

22    Q.   DID NSO INTEND TO VIOLATE ANY LAWS WITH RESPECT TO ITS                22    Q.     OKAY. LET'S START OVER.

23    DEVELOPMENT OR LICENSING OF PEGASUS?                                       23           THE DOCUMENTS THAT MR. AKROTIRIANAKIS SHOWED YOU WERE NOT

24    A.   WE DON'T INTEND TO BREAK ANY LAWS AT ALL.                             24   PROVIDED BY ANY INDEPENDENT THIRD PARTY; IS THAT CORRECT?

25    Q.   BUT YOU DO NOT CONTEST THE FACT THAT THE COURT IN THIS                25    A.     THIS IS CORRECT.

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 1    CASE HAS FOUND YOU LIABLE UNDER THE STATUTES THAT HER HONOR HAS             1    Q.     AND THOSE WERE NOT AUDITED OR PROVIDED BY AN AUDITOR?

 2    INSTRUCTED THE JURY; CORRECT?                                               2    A.     THEY WERE NOT PROVIDED BY AN AUDITOR. WHAT I SAID IS THE

 3    A.   I UNDERSTAND WE WERE FOUND TO BE LIABLE, AND I RESPECT                 3    2023 REPORT IS IDENTICAL TO THE AUDITED REPORT.

 4    THAT AND ACCEPT THAT.                                                       4    Q.     I UNDERSTAND WHAT YOU SAID, BUT I'D LIKE YOU TO JUST

 5              MR. AKROTIRIANAKIS: THANK YOU, YOUR HONOR.                        5    ANSWER MY QUESTIONS. YOU'LL HAVE A CHANCE TO SPEAK WITH YOUR

 6              THE COURT: ALL RIGHT.                                             6    LAWYERS.

 7         CROSS-EXAMINATION?                                                     7           THOSE DOCUMENTS COME FROM NSO AND Q CYBER; RIGHT?

 8              MR. ANDRES: THANK YOU, YOUR HONOR.                                8    A.     THAT'S CORRECT.

 9                          CROSS-EXAMINATION                                     9    Q.     THEY DO NOT COME FROM AN AUDITOR?

10    BY MR. ANDRES:                                                             10    A.     THEY DO NOT COME FROM AN AUDITOR.

11    Q.   GOOD AFTERNOON, MR. SHOHAT.                                           11    Q.     AND THEY DO NOT COME FROM A THIRD PARTY?

12    A.   GOOD AFTERNOON.                                                       12    A.     THE VERSION YOU SEE HERE, NO.

13    Q.   I JUST WANT TO ASK YOU A COUPLE OF QUESTIONS.                         13    Q.     AND DURING MR. AKROTIRIANAKIS'S TIME TO ASK YOU ABOUT THE

14         YOU JUST WENT THROUGH A WHOLE SERIES OF FINANCIAL                     14    EXPENSES AND ISSUES, HE NEVER ASKED YOU ABOUT THE EXPENSES FOR

15   DOCUMENTS WITH MR. AKROTIRIANAKIS; ISN'T THAT RIGHT?                        15    R&D, DID HE?

16    A.   CORRECT.                                                              16    A.     HE DID NOT.

17    Q.   AND THOSE DOCUMENTS ARE YOUR INTERNAL DOCUMENTS; IS THAT              17    Q.     AND THOSE ARE AMONG NSO'S LARGEST EXPENSES; ISN'T THAT

18    CORRECT?                                                                   18    RIGHT?

19    A.   YES, THIS IS OUR INTERNAL DOCUMENTS FOR THE FINANCIAL                 19    A.     YES, OF COURSE.

20    THINGS.                                                                    20    Q.     AND THAT R&D IS WHAT'S USED FOR PEGASUS AND TO INSTALL

21    Q.   YEAH. THEY'RE NOT AUDITED BY ANY THIRD PARTY?                         21    PEGASUS ON PEOPLE'S PHONES?

22    A.   ACTUALLY, THE 2023 REPORT IS AUDITED.                                 22    A.     THAT IS USED TO DEVELOP PEGASUS, YES, AMONG OTHER THINGS.

23    Q.   THAT DOCUMENT THAT YOU PROVIDED US DIDN'T COME FROM                   23    Q.     AND TO IMPROVE IT --

24    OUTSIDE, ANY OUTSIDE AUDITOR? THAT'S AN INTERNAL DOCUMENT?                 24               MR. AKROTIRIANAKIS: OBJECTION, YOUR HONOR. I THINK

25    A.   THIS IS CORRECT. WE JUST RECENTLY, LIKE, GOT THE AUDITOR              25    WE ALREADY HAD A RULING ABOUT CURRENT THINGS.

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 1               THE COURT: YES.                                                       1    Q.     YOU CAN SAY GOVERNMENT AGENCIES AS MUCH AS YOU WANT, BUT

 2               MR. ANDRES: I --                                                      2    THOSE GOVERNMENT AGENCIES EXIST ALL OVER THE WORLD; RIGHT?

 3               THE COURT: YES, CURRENT ACTIVITY IS OUT.                              3    A.     YEAH. BUT YOU SAID I. I CANNOT DO.

 4         CURRENT STATUS, FINANCIAL STATUS IS IN.                                     4           THE GOVERNMENT AGENCIES CAN DO IT. YOU ASKED ME ABOUT ME,

 5    BY MR. ANDRES:                                                                   5    ABOUT MY COMPANY.

 6    Q.   NOT WITH -- WITH RESPECT TO THE R&D -- I'M JUST ASKING A                    6    Q.     LET'S JUST -- I'LL LET YOU ANSWER YOUR QUESTION -- YOU LET

 7    QUESTION ABOUT THE DOCUMENTS THAT HE JUST PUT IN.                                7    ME ASK MY QUESTION. I'LL LET YOU GIVE THE ANSWER. LET'S HELP

 8         SO I'M ASKING ABOUT THE R&D ON THOSE DOCUMENTS. THAT IS                     8    EVERYBODY OUT HERE, OKAY? YOU AGREE ON THAT?

 9    AMONG THE HIGHEST COSTS FOR NSO; CORRECT?                                        9    A.     YEP.

10    A.   THAT'S CORRECT.                                                            10                  MR. AKROTIRIANAKIS: OBJECTION, YOUR HONOR.

11    Q.   AND WHETHER FOR TODAY OR BACK IN 2018, R&D IS WHAT'S USED                  11                  THE COURT: OVERRULED.

12    TO DEVELOP PEGASUS; RIGHT?                                                      12    BY MR. ANDRES:

13               MR. AKROTIRIANAKIS: OBJECTION, YOUR HONOR. THAT'S                    13    Q.     SO I'M GOING TO COME BACK TO THAT ABOUT THE R&D, BECAUSE

14    NOT A QUESTION ABOUT FINANCIAL DOCUMENTS.                                       14    THE R&D EXPENSES IN 2023 AND 2024 WERE OVER $50 MILLION; ISN'T

15               THE COURT: OVERRULED. I THINK IT'S FAIR FROM THE                     15    THAT RIGHT?

16    DOCUMENTS THAT WERE SHOWN.                                                      16    A.     I CANNOT SAY. BUT I DON'T CONTEST THAT R&D IS A LARGE

17               THE WITNESS: WE INVESTED A LOT IN OUR R&D. WE HIRE                   17    EXPENSE.

18    AND EMPLOY TOP TALENT. AND, YES, THE R&D IS A VERY LARGE                        18    Q.     OKAY. WELL, LET'S LOOK AT THE DOCUMENT THEN.

19    EXPENSE.                                                                        19           OOPS, I DON'T KNOW IF I HAVE THAT.

20    BY MR. ANDRES:                                                                  20           CAN YOU PUT UP 1781.

21    Q.   AGAIN, THAT EXPENSE IS USED TO DEVELOP PEGASUS?                            21           DO YOU HAVE THAT ON YOUR SCREEN, MR. SHOHAT?

22    A.   AMONG OTHER DEVELOPMENT THAT R&D DOES, YES.                                22    A.     I DO.

23    Q.   AND PEGASUS IS THE, IS THE PROGRAM THAT'S PUT ON PEOPLE'S                  23    Q.     I'M JUST GOING TO STAND OVER HERE SO I CAN SEE IT. IS

24    DEVICES TO GET THEIR INFORMATION; IS THAT RIGHT?                                24    THAT OKAY, JUDGE?

25    A.   PEGASUS IS A TOOL USED BY GOVERNMENT AGENCIES TO EXTRACT                   25                  THE COURT: SURE. SURE. YOU HAVE TO SPEAK UP,

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 1    INTELLIGENCE INFORMATION FROM TARGET DEVICES, TARGETS OF THOSE                   1    THOUGH, SO THAT --

 2    GOVERNMENTS.                                                                     2                  MR. ANDRES: OKAY. I'LL TRY.

 3    Q.   TARGETED DEVICES THAT PEOPLE OWN?                                           3                  THE COURT: OKAY.

 4         DID YOU UNDERSTAND MY QUESTION?                                             4                  MR. ANDRES: I HAVEN'T HAD A PROBLEM FOR ME.

 5    A.   I UNDERSTAND. I THINK THAT YOU TRIED TO SUGGEST IT'S                        5    Q.     RESEARCH AND DEVELOPMENT, MR. SHOHAT, DO YOU SEE THAT

 6    REGULAR PEOPLE. I DON'T CONSIDER THEM REGULAR PEOPLE.                            6    RIGHT HERE (INDICATING)?

 7         BUT I WOULD NOT GO INTO THAT.                                               7    A.     I DO.

 8    Q.   I'M GOING TO ASK YOU --                                                     8    Q.     AND THESE NUMBERS ARE IN MILLIONS?

 9               THE COURT: WELL, WE DON'T NEED TO DEFINE REGULAR                      9    A.     CORRECT.

10    PEOPLE. JUST PEOPLE.                                                            10    Q.     THAT IS $52 MILLION SPENT ON R&D IN 2023?

11    BY MR. ANDRES:                                                                  11    A.     SO YOU ASKED ME IF THAT'S THE EXPENSE ON R&D. THE ANSWER

12    Q.   I'M SAYING IT DOESN'T ATTACK A SERVER THAT'S SITTING IN A                  12    IS NO BECAUSE THAT LINE INCLUDES OTHER DEPARTMENTS THAT I'LL

13    WAREHOUSE SOMEPLACE. IT'S A PHONE THAT SOMEBODY IS HOLDING?                     13    EXPLAIN, OTHER DEPARTMENTS THAT ARE NOT PEOPLE OR ACCOUNTANTS

14    A.   TOTALLY AGREE WITH YOU, WE DON'T ATTACK ANY SERVER. THE                    14    LIKE TO PUT IT TOGETHER. TO GIVE AN EXAMPLE --

15    TECHNOLOGY IS TARGETING PHONE DEVICES ONLY.                                     15    Q.     I'M SORRY, MR. SHOHAT. I'M GOING TO ASK YOU TO ANSWER MY

16    Q.   AND THAT GETS PEOPLE'S TEXT MESSAGES?                                      16    QUESTION. MR. AKROTIRIANAKIS CAN ASK YOU ALL THE QUESTIONS HE

17    A.   THAT GETS TEXT MESSAGES FROM THOSE DEVICES.                                17    WANTS.

18    Q.   IT GETS THEIR PHONE CALLS?                                                 18           IT SAYS RESEARCH AND DEVELOPMENT.

19    A.   IT MIGHT GET PHONE CALLS.                                                  19           DO YOU SEE THAT?

20    Q.   YOU CAN TURN ON THE MICROPHONE?                                            20    A.     YES.

21    A.   I CANNOT, BUT MY GOVERNMENT CUSTOMERS CAN TURN ON.                         21    Q.     AND NSO SPENT $52 MILLION IN 2023 FOR RESEARCH AND

22    Q.   THE TECHNOLOGY THAT YOU DEVELOPED ALLOWS YOU TO TURN ON                    22    DEVELOPMENT? YES OR NO?

23    THE MICROPHONE?                                                                 23    A.     NO.

24    A.   THE TECHNOLOGY THAT WE DEVELOP ALLOWED OUR GOVERNMENT                      24    Q.     OKAY. HOW ABOUT IN 2024, THEY SPENT $59 MILLION IN

25    AGENCIES, CUSTOMERS, TO DO WHAT YOU'RE SUGGESTING.                              25    RESEARCH AND DEVELOPMENT?

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 1    A.   NO.                                                                            1    Q.     AND IT'S THE TELEPHONE CALLS OF CERTAIN PEOPLE?

 2    Q.   OKAY. SO THIS DOCUMENT IS INACCURATE BECAUSE IT SAYS                           2    A.     OF CERTAIN PEOPLE.

 3    RESEARCH AND DEVELOPMENT AND IT SAYS $52 AND $59 MILLION?                           3    Q.     IT'S ALL THE INFORMATION ON PEOPLE'S PHONES?

 4    A.   I WOULD BE HAPPY TO EXPLAIN.                                                   4    A.     IT'S INFORMATION FROM THE PHONE DEVICES THAT ARE TARGETS

 5    Q.   I'M ASKING IF THIS DOCUMENT IS INACCURATE.                                     5    OF GOVERNMENTS FOR VERY SPECIFIC REASONS.

 6    A.   THIS DOCUMENT INCLUDES THE I.T. DEPARTMENT, FOR INSTANCE.                      6    Q.     WHATEVER THAT IS, YOU UNDERSTAND THAT THE WORK THAT YOUR

 7         BUT I WILL AGREE THAT R&D IS THE MAJORITY OF THIS NUMBER.                      7    COMPANY DID VIOLATED THE LAW IN THE UNITED STATES? YOU

 8    Q.   THE MAJORITY OF THE 52 MILLION?                                                8    UNDERSTAND THAT; RIGHT?

 9    A.   I AGREE.                                                                       9    A.     I UNDERSTAND THIS COURT FOUND US LIABLE FOR THAT.

10    Q.   AND THAT R&D IS WHAT'S USED TO DEVELOP PEGASUS, WHICH                         10    Q.     SO WHATEVER IT IS THAT YOU SAY ABOUT FOREIGN GOVERNMENTS

11    ALLOWS YOUR CLIENTS TO SPY ON PEOPLE'S PHONES?                                     11    OR WHOEVER YOU THINK YOUR CLIENTS ARE, IN THIS COURTROOM, YOU

12    A.   THIS R&D DEVELOPED PEGASUS, AMONG OTHER THINGS, AND                           12    UNDERSTAND THAT JUDGE HAMILTON FOUND, IN CALIFORNIA, IN THE

13    PEGASUS ALLOWS GOVERNMENT AGENCIES TO GATHER INTELLIGENCE FROM                     13    UNITED STATES, THAT NSO VIOLATED FEDERAL COMPUTER FRAUD AND

14    THE TARGETS.                                                                       14    ABUSE STATUTES? YOU UNDERSTAND THAT; RIGHT?

15    Q.   AND THAT MONEY, THE $50 MILLION FROM 2023 AND $59 MILLION                     15    A.     I UNDERSTAND EXACTLY WHAT THE COURT DECIDED, YES.

16    IS THE MONEY THAT'S USED TO DEVELOP THAT?                                          16    Q.     AND YOU UNDERSTAND -- AND YOU UNDERSTAND THAT

17    A.   I THINK I ANSWERED. I CAN EXPLAIN AGAIN.                                      17    JUDGE HAMILTON HAS FOUND THAT IN THIS COURTROOM, AND IN THE

18    Q.   I'M ASKING YOU, YES OR NO, THAT MORE THAN $100 MILLION IS                     18    UNITED STATES, YOU HAVE VIOLATED THE CALIFORNIA STATE COMPUTER

19    USED FOR TECHNOLOGY DEVELOPMENT, LIKE PEGASUS?                                     19    FRAUD AND ABUSE ACT; CORRECT?

20    A.   SO MY ANSWER WAS NO, AND I EXPLAINED WHY I DON'T VIEW IT                      20    A.     I UNDERSTAND, IN THE CONTEXT OF CALIFORNIA, THAT'S

21    EXACTLY AS DESCRIBED.                                                              21    CORRECT, YES.

22    Q.   YOU SAID IT'S ALSO FOR I.T. AND THAT I.T. IS USED WITH                        22    Q.     AND YOU UNDERSTAND THAT IN THIS COURTROOM, YOU HAVE

23    RESPECT TO PEGASUS.                                                                23    VIOLATED THE TERMS OF SERVICE OF THE CONTRACT THAT NSO ENTERED

24    A.   I.T. IS ALSO WHAT'S MAKING, KEEPING MY EMAIL SERVER, AND                      24    INTO WITH WHATSAPP; CORRECT?

25    ALLOWING ME TO SEND EMAILS AND OTHER STUFF. THAT'S WHY IT'S                        25    A.     I UNDERSTAND THAT'S THE DECISION, YES. YES.

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 1    NOT JUST R&D IN THE SENSE OF DEVELOPING PRODUCT.                                    1    Q.     NOW, YOU TESTIFIED -- YOU'VE BEEN HERE IN COURT; CORRECT?

 2         BUT I AGREE, IT'S THE MAJORITY -- THE MAJORITY OF THIS                         2    A.     YES.

 3   EXPENSE GOES TO RESEARCH AND DEVELOPMENT AS YOU WANT TO DEFINE                       3    Q.     AND YOU'RE HERE AS A REPRESENTATIVE OF Q CYBER; IS THAT

 4   IT.                                                                                  4    CORRECT?

 5    Q.   AND IF NSO DIDN'T SPEND $50 MILLION, $52 MILLION ON R&D,                       5    A.     Q CYBER AND NSO, YES.

 6    IT MIGHT HAVE A LARGER OPERATING INCOME; RIGHT? IF THEY DIDN'T                      6    Q.     OKAY. SO YOU SERVE AS THE CEO OF Q CYBER; IS THAT RIGHT?

 7    SPEND $52 MILLION HERE, THIS NUMBER, WHICH YOU SAY IS LOSING                        7    A.     CORRECT.

 8    MONEY, WOULD BE HIGHER?                                                             8    Q.     AND THE CEO OF THE NSO GROUP?

 9    A.   SO THAT IS NOT, BECAUSE IF WE WOULDN'T HAVE DEVELOPED                          9    A.     THAT'S CORRECT.

10    PEGASUS, THE REVENUE LINE ON THE TOP WOULD SHIFT MUCH MORE, WE                     10    Q.     AND YOU'VE HAD THAT JOB AT NSO SINCE AUGUST 2022?

11    WOULD BE LOSING MUCH MORE MONEY.                                                   11    A.     YES.

12    Q.   IF YOU STOP SPYING ON PEOPLE, YOU MIGHT HAVE A PROFIT?                        12    Q.     BEFORE THAT, YOU SERVED AS THE COO OF NSO; CORRECT?

13    A.   I NEVER -- DON'T ACCUSE ME OF SPYING, I NEVER SPIED ON                        13    A.     CORRECT, BOTH COO -- BOTH NSO AND Q CYBER.

14    ANYONE. AND MY COMPANY NEVER SPIED ON ANYONE.                                      14    Q.     OKAY. SO -- AND COO IS THE CHIEF OPERATING OFFICER?

15    Q.   THAT'S YOUR WORD. YOU UNDERSTAND THAT?                                        15    A.     YES.

16    A.   I SWORE TO SAY THE TRUTH, AND THIS IS MY TESTIMONY. I                         16    Q.     AND YOU'VE HAD THAT JOB SINCE AT LEAST MAY OF 2018?

17    NEVER SPIED ON ANYONE. MY COMPANY NEVER SPIED ON ANYONE.                           17    A.     YES.

18    PLEASE DON'T ACCUSE ME OF THAT.                                                    18    Q.     SO IS IT FAIR TO SAY THAT YOU'VE HAD AN ASSOCIATION WITH

19    Q.   THE PRODUCTS THAT YOU CREATED, THAT YOU SOLD TO YOUR                          19    NSO OR Q CYBER AT LEAST SINCE -- AT LEAST FOR SEVEN YEARS OR

20    CUSTOMERS, SPIED ON INDIVIDUALS?                                                   20    SO?

21    A.   THE PRODUCT THAT I DEVELOPED AND LICENSED TO GOVERNMENTS                      21    A.     YES.

22    ALLOWED THOSE GOVERNMENTS TO COLLECT INTELLIGENCE FROM TARGETS.                    22    Q.     OKAY. INCLUDING THE TIME IN 2018 TO 2020 IN TERMS OF THE

23    Q.   YOU CALL IT INTELLIGENCE, BUT AT THE END OF THE DAY, IT'S                     23    ACTIVITY ALLEGED IN THE COMPLAINT IN THIS CASE?

24    STILL PEOPLE'S TEXT MESSAGES; RIGHT?                                               24    A.     I WAS IN THE COMPANY AT THAT TIME.

25    A.   IT'S THE TEXT MESSAGES OF CERTAIN PEOPLE.                                     25    Q.     YOU WERE AWARE AT THAT TIME THAT NSO WAS DEPLOYING

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 1     PEGASUS; CORRECT?                                                              1    A.     I UNDERSTAND.

 2     A.   YES.                                                                      2    Q.     AND YOU UNDERSTAND THAT IN THIS PROCEEDING, THERE IS NO

 3     Q.   AND YOU WERE AWARE OF THE FACTS IN THE COMPLAINT?                         3    EVIDENCE OR ALLEGATION THAT WHATSAPP VIOLATED ITS OWN TERMS OF

 4     A.   I'M AWARE OF THE FACTS OF THE COMPLAINT.                                  4    SERVICE OR ANY CONTRACT?

 5     Q.   AND YOU WERE RESPONSIBLE --                                               5           DO YOU UNDERSTAND THAT?

 6     A.   YES.                                                                      6    A.     I UNDERSTAND THAT.

 7     Q.   YOU WERE RESPONSIBLE FOR THAT CONDUCT AS A RESULT OF YOUR                 7    Q.     THAT'S FAIR?

 8     POSITION AT NSO OR Q CYBER?                                                    8    A.     THAT'S FAIR.

 9     A.   I'M NOT SURE I WAS RESPONSIBLE FOR THAT CONDUCT BACK AT                   9    Q.     SO LET ME ASK YOU THAT QUESTION AGAIN.

10     THE TIME WHEN I WAS COO.                                                      10           NSO IS A FOR-PROFIT COMPANY; CORRECT?

11          BUT I WAS PART OF THE MANAGEMENT TEAM, SO I WAS AWARE OF                 11    A.     NSO IS A FOR-PROFIT COMPANY, ALMOST LIKE ANY OTHER COMPANY

12    IT.                                                                            12    I KNOW.

13     Q.   YOU WERE AN OFFICER OF THE COMPANY?                                      13    Q.     THIS PROCEEDING, SIR, THIS MIGHT TAKE US LESS TIME. I

14     A.   YES.                                                                     14    DON'T HAVE QUESTIONS ABOUT ANY OTHER COMPANIES. I HAVE

15     Q.   AND YOU WERE INVOLVED IN MANAGEMENT?                                     15    QUESTIONS ABOUT Q CYBER AND NSO BECAUSE THAT'S WHAT THIS JURY

16     A.   YES.                                                                     16    NEEDS TO DECIDE ABOUT.

17     Q.   AND NSO IS A FOR-PROFIT COMPANY; CORRECT?                                17           SO IF YOU COULD CONFINE YOUR ANSWERS TO THE QUESTIONS, I

18     A.   JUST LIKE ANY OTHER COMPANY, NO? MOST COMPANIES -- YES,                  18   THINK WE'D GET THIS DONE QUICKER.

19     WE ARE FOR -- YES, WE ARE A FOR-PROFIT COMPANY.                               19           DO YOU UNDERSTAND THAT?

20     Q.   AND SO I THINK I JUST -- I DON'T HAVE THE TRANSCRIPT, BUT                20                  MR. AKROTIRIANAKIS: OBJECTION, YOUR HONOR. HE'S

21     YOU SAID THAT, JUST LIKE META?                                                21    JUST ANSWERING THE QUESTIONS.

22     A.   META, WHATSAPP, FACEBOOK, YEAH, ANY KIND, YEAH.                          22                  THE COURT: SUSTAINED.

23     Q.   DO YOU UNDERSTAND THAT IN THIS COURTROOM, THERE'S NO                     23                  MR. ANDRES: SORRY, YOUR HONOR. IF I COULD JUST HAVE

24     EQUIVALENCE BETWEEN WHATSAPP AND NSO?                                         24    A MINUTE?

25     A.   WE CAN ARGUE ABOUT IT.                                                   25           (PAUSE IN PROCEEDINGS.)

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 1     Q.   WELL, BUT YOU UNDERSTAND IN THIS COURTROOM, NOBODY HAS                    1    BY MR. ANDRES:

 2     FOUND THAT META OR WHATSAPP VIOLATED ANY LAW?                                  2    Q.     YOU UNDERSTAND -- AS YOU SAID, YOU'VE BEEN HERE IN THE

 3          YOU UNDERSTAND THAT?                                                      3    COURTROOM, SO YOU SAW THE TESTIMONY OF MS. GIL ABOUT HOW MUCH

 4     A.   NOT IN THIS COURTROOM.                                                    4    PEGASUS SELLS ITS PRODUCTS FOR; CORRECT?

 5     Q.   OKAY. SO YOU UNDERSTAND THAT FOR THIS, FOR THIS                           5    A.     I SAW IT.

 6     PROCEEDING, THIS JURY IS DECIDING ABOUT THE VIOLATIONS OF LAW                  6    Q.     OKAY. AND SHE WORKS FOR YOU?

 7     THAT NSO WAS INVOLVED IN?                                                      7    A.     YES.

 8     A.   I'M -- I PERFECTLY UNDERSTAND THAT I'M REPRESENTING THE                   8    Q.     YOU KNOW HER?

 9     DEFENDANTS IN THIS CASE.                                                       9    A.     I KNOW HER.

10     Q.   AND YOU UNDERSTAND THAT IN THIS COURTROOM, FOR THIS                      10    Q.     AND SHE SAID THAT IT COULD COST MILLIONS OF DOLLARS TO BUY

11     PROCEEDING, THAT THERE ARE NO ALLEGATIONS, NO EVIDENCE                        11    PEGASUS FOR A PARTICULAR CUSTOMER OF YOURS; IS THAT RIGHT?

12     WHATSOEVER, THAT WHATSAPP OR META VIOLATED THE LAW? DO YOU                    12    A.     YES.

13     UNDERSTAND THAT?                                                              13    Q.     YOU ALSO TESTIFIED ABOUT PRICING IN YOUR DEPOSITION.

14     A.   I DIDN'T SAY ANYTHING LIKE THAT.                                         14           DO YOU REMEMBER THAT?

15     Q.   SIR, I'M ASKING YOU WHETHER YOU UNDERSTAND, FOR THIS                     15    A.     I REMEMBER.

16     PROCEEDING, THAT THERE ARE NO ALLEGATIONS --                                  16    Q.     OKAY. AND YOU SAID THAT IT COULD COST A CUSTOMER BETWEEN

17     A.   I UNDERSTAND.                                                            17    $3 MILLION AND 10 TIMES THAT.

18     Q.   -- CAN I JUST FINISH?                                                    18           DO YOU REMEMBER ANSWERING THAT QUESTION?

19          THERE ARE NO ALLEGATIONS THAT META OR WHATSAPP VIOLATED                  19                  MR. AKROTIRIANAKIS: OBJECTION, YOUR HONOR. I THINK

20    FEDERAL COMPUTER LAW.                                                          20    WE'VE HAD RULINGS ON THIS GENERAL SUBJECT.

21          DO YOU UNDERSTAND THAT?                                                  21                  MR. ANDRES: THAT'S NOT RIGHT, YOUR HONOR. IT'S

22     A.   OF COURSE.                                                               22    CONSISTENT WITH MS. GIL'S TESTIMONY.

23     Q.   AND YOU UNDERSTAND THAT IN THIS PROCEEDING, THERE IS NO                  23                  THE COURT: YEAH, WE JUST HEARD THIS FROM HER.

24     EVIDENCE OR ALLEGATION THAT WHATSAPP VIOLATED CALIFORNIA LAW?                 24                  MR. AKROTIRIANAKIS: I DON'T THINK WE DID.

25          DO YOU UNDERSTAND THAT?                                                  25           BUT THANK YOU, YOUR HONOR.

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 1                  THE COURT: OKAY.                                                     1    Q.     EVEN THOUGH YOU DEVELOPED THE TECHNOLOGY THAT ALLOWED

 2    BY MR. ANDRES:                                                                     2    GOVERNMENTS TO TAKE THEIR INDIVIDUAL INFORMATION? THAT'S NOT

 3    Q.      SO DO YOU REMEMBER TESTIFYING THAT A CUSTOMER COULD PAY                    3    HARM TO YOU?

 4    3 MILLION, AND ANOTHER CUSTOMER COULD PAY 10 TIMES THAT?                           4    A.     I -- AGAIN, I'M -- I'M ACTING AS A GOVERNMENT CONTRACTOR

 5    A.      I DO.                                                                      5    THAT DEVELOPS CYBER TOOLS FOR GOVERNMENT. I DON'T INTEND TO

 6    Q.      OKAY. SO $3 MILLION FOR ONE CUSTOMER, AND 10 TIMES                         6    HARM ANYONE.

 7    3 MILLION IS 30 MILLION FOR ANOTHER CUSTOMER?                                      7    Q.     YOU JUST PROVIDE THE TECHNOLOGY THAT ALLOWS PEOPLE TO SPY,

 8    A.      CORRECT. I'M NOT FAMILIAR WITH ANY CUSTOMER PAYING                         8    BUT YOUR VIEW IS THAT YOU'RE NOT HURTING ANYBODY?

 9    30 MILLION.                                                                        9    A.     IT'S NOT PEOPLE TO SPY. IT'S GOVERNMENT TO COLLECT

10    Q.      BUT YOU ANSWERED THE QUESTION, THE QUESTION, "CAN YOU GIVE                10    INTELLIGENCE.

11    ME AN EXAMPLE?"                                                                   11    Q.     I THINK YOU ALSO TESTIFIED THAT YOU BECAME AWARE -- I

12            AND YOU SAID "ONE CUSTOMER WOULD PAY 3 MILLION AND ANOTHER                12    THINK YOU TESTIFIED YOU BECAME AWARE -- YOU'RE AWARE OF THE

13   WOULD PAY 10 TIMES THAT."                                                          13    COURT'S RULINGS; CORRECT?

14    A.      THAT WAS MY DEPOSITION, YES.                                              14    A.     OF COURSE.

15    Q.      WE'RE NOT DISPUTING THAT 10 TIMES 3 IS 30?                                15    Q.     AND ON QUESTIONS BY YOUR COUNSEL, YOU WERE ASKED ABOUT

16    A.      NO.                                                                       16    WHETHER YOU EVEN KNEW ABOUT CALIFORNIA LAW.

17    Q.      DO YOU WANT ME TO SHOW YOU YOUR DEPOSITION TESTIMONY?                     17    A.     I WAS ASKED THAT, YES.

18    A.      NO, NO. I SAID I DON'T DISPUTE IT. I JUST GAVE YOU A                      18    Q.     RIGHT. AT SOME POINT, YOU BECAME AWARE OF THIS LAWSUIT BY

19    RANGE, SOMEWHERE IN THE RANGE, YES.                                               19    NSO; RIGHT?

20    Q.      THERE'S BEEN TESTIMONY AT THIS TRIAL ABOUT META'S BUG                     20    A.     BY --

21    BOUNTY PROGRAM. DID YOU HEAR THAT WHILE YOU WERE HERE?                            21    Q.     SORRY. THIS LAWSUIT BY WHATSAPP AND META; CORRECT?

22    A.      I HEARD THAT.                                                             22    A.     RIGHT.

23    Q.      ARE YOU FAMILIAR WITH THAT PROGRAM?                                       23    Q.     I'M SORRY. WE'RE BOTH -- IT'S THE END OF THE DAY, EVEN

24    A.      I'M FAMILIAR WITH BUG BOUNTY PROGRAMS IN GENERAL, YES.                    24    THOUGH IT'S 1:30. I'LL TRY TO GO A LITTLE SLOWER.

25    Q.      ARE YOU FAMILIAR WITH META'S BUG BOUNTY?                                  25           YOU'RE AWARE OF THIS LAWSUIT?

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 1    A.      NOT SPECIFICALLY. I DON'T KNOW WHAT THEY HAD.                              1    A.     I'M AWARE.

 2    Q.      YOU WOULD AGREE WITH ME THAT NSO DID NOT PROVIDE                           2    Q.     AND CERTAINLY BY THE TIME OF THIS LAWSUIT, YOU WERE AWARE

 3    INFORMATION TO WHATSAPP ABOUT ITS SECURITY PURSUANT TO ANY                         3    OF THE ALLEGATIONS OF VIOLATIONS OF LAW; RIGHT?

 4    BUG BOUNTY PROGRAM?                                                                4    A.     AT SOME TIME AFTER THE LAWSUIT WAS SUBMITTED, YES.

 5    A.      I AGREE.                                                                   5    Q.     AND YOU HEARD THE TESTIMONY FROM MR. GAZNELI THAT NSO

 6    Q.      I'M SORRY?                                                                 6    CONTINUED ITS ACTIVITY AS TO WHATSAPP EVEN AFTER THAT LAWSUIT

 7    A.      I AGREE WITH YOU.                                                          7    WAS FILED?

 8    Q.      NSO WASN'T KNOWINGLY POINTING OUT ANY SECURITY FLAWS OR                    8    A.     AFTER THE LAWSUIT WAS FILED, I'M NOT SURE THAT MEANS WE

 9    ISSUES WITH WHATSAPP'S SYSTEMS; ISN'T THAT CORRECT?                                9    BECAME AWARE. THAT'S NOT THE SAME THING.

10    A.      THIS IS CORRECT.                                                          10    Q.     YOU DIDN'T BECOME AWARE OF THIS LAWSUIT WHEN IT WAS FILED?

11    Q.      BECAUSE YOU WERE EXPLOITING THEM? CORRECT?                                11    A.     I BELIEVE THAT NSO AND Q CYBER SHOWED UP TO THE LAWSUIT

12    A.      WHAT WAS THE QUESTION?                                                    12    SOMEWHERE IN 2020.

13    Q.      YOU WERE EXPLOITING THEM?                                                 13    Q.     YOU UNDERSTAND THAT THE TESTIMONY FROM MR. GAZNELI WAS

14    A.      WE DID NOT EXPLOIT. WE DEVELOPED CYBER DEFENSE TEST                       14    THAT THE CONDUCT AT ISSUE IN THIS LAWSUIT CONTINUED AFTER THE

15    SYSTEMS FOR GOVERNMENTAL CUSTOMERS, AND WHATEVER THEY DO WITH                     15    LAWSUIT WAS FILED?

16    IT --                                                                             16    A.     I UNDERSTAND. AND I SAID THAT WE WERE NOT AWARE, EVEN

17    Q.      YOU TESTIFIED EARLIER THAT YOU HAD NO ILL WILL TOWARDS                    17    THOUGH IT WAS FILED. WE BECAME AWARE OF IT AT A LATER STAGE.

18    WHATSAPP. IS THAT CORRECT?                                                        18    SO THERE'S A GAP BETWEEN IT WAS FILED AND WE BECAME AWARE.

19    A.      THIS IS CORRECT.                                                          19    IT'S NOT THE SAME POINT IN TIME.

20    Q.      IS THAT ALSO TRUE ABOUT THE INDIVIDUALS WHOSE PHONES YOUR                 20    Q.     AND YOU HAVE LAWYERS IN THIS COURTROOM THAT HAVE BEEN

21    TECHNOLOGY WAS INSTALLED ON? DO YOU HAVE ILL WILL TOWARDS                         21    FIGHTING THIS LAWSUIT; CORRECT?

22    THEM?                                                                             22    A.     YES.

23    A.      I DON'T EVEN KNOW WHO THEY ARE.                                           23    Q.     AND YOU TESTIFIED THAT YOU HAD NO ILL WILL TOWARDS

24    Q.      RIGHT. AND YOU DIDN'T INTEND TO DO ANY HARM TO THEM?                      24    WHATSAPP OR META, BUT YOU DIDN'T CONCEDE THE ALLEGATIONS IN

25    A.      OF COURSE NOT.                                                            25    THIS LAWSUIT WHENEVER IT IS THAT YOU FOUND OUT ABOUT IT?

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        4

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       17         FOR THE PLAINTIFFS:      DAVIS POLK & WARDWELL
                                           BY: GREG D. ANDRES
                                                                                                 15
       18                                       ANTONIO J. PEREZ
                                           450 LEXINGTON AVENUE
       19                                  NEW YORK, NEW YORK 10017                              16
       20                                  BY: MICAH G. BLOCK
                                           900 MIDDLEFIELD ROAD, SUITE 200                       17
       21                                  REDWOOD CITY, CALIFORNIA 94063
                                                                                                 18
       22         OFFICIAL COURT REPORTERS:        LEE-ANNE SHORTRIDGE, CSR, CRR
                                                   CERTIFICATE NUMBER 9595
       23                                          IRENE RODRIGUEZ, CSR, RMR, CRR                19
                                                   CERTIFICATE NUMBER 8074
       24                                                                                        20
                          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
       25                        TRANSCRIPT PRODUCED WITH COMPUTER                               21
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  2   APPEARANCES (CONTINUED)
                                                                                                  3                        MARKED      ADMITTED
  3
                                                                                                  4   PLAINTIFFS'
  4   FOR THE DEFENDANTS:    KING & SPALDING
                     BY: JOSEPH N. AKROTIRIANAKIS                                                 5   936                      869
  5                     AARON S. CRAIG
                                                                                                  6
                     633 WEST FIFTH STREET, SUITE 1600
  6                  LOS ANGELES, CALIFORNIA 90071
                                                                                                  7

  7                                BY: MATTHEW V. NOLLER                                          8   DEFENDANTS'
                                   50 CALIFORNIA STREET, SUITE 3300
  8                                SAN FRANCISCO, CALIFORNIA 94111                                9   1148                            1174

  9                                                                                              10

                                                                                                 11
 10   ALSO PRESENT:                      CURT EVANS
                                   BRIAN BAKALE                                                  12
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 1    Q.   WELL, THAT WOULD SUGGEST THAT THERE WAS NO GAP BETWEEN THE              1            DO YOU SEE THAT?

 2    TIME THE LAWSUIT WAS FILED AND THE TIME THE COMPANY OR YOU                   2    A.      YES, I SEE THAT.

 3    BECAME AWARE?                                                                3    Q.      DID I READ THAT CORRECTLY?

 4    A.   AGAIN, I DIDN'T SAY WE WERE NOT AWARE. I SAID WE SHOWED                 4    A.      THAT'S WHAT IT SAYS.

 5    TO THE LAWSUIT A FEW MONTHS LATER.                                           5    Q.      NSO STATEMENT ON FACEBOOK LAWSUIT. THAT'S WHAT WE'RE

 6    Q.   OKAY. SO NOW YOUR TESTIMONY TODAY IS THAT, THAT YOU WERE                6    TALKING ABOUT; CORRECT?

 7    AWARE WHEN THE LAWSUIT WAS FILED?                                            7    A.      YES, UM-HUM.

 8    A.   I -- IF YOU'RE ASKING ME WHEN I BECAME AWARE, I DON'T                   8    Q.      MY ABILITY TO PRONOUNCE THESE NAMES IS CHALLENGING AT THE

 9    KNOW. I DON'T REMEMBER. I DON'T THINK THE DATE YOU MENTIONED.                9    LEAST, BUT HERZLIYA?

10         I DO KNOW WHEN THE COMPANY BECAME PART OF THIS PROCESS.                10    A.      YES.

11    Q.   YESTERDAY YOU TESTIFIED, AND I'M QUOTING, "I UNDERSTAND.               11    Q.      THAT'S THE NAME THAT YOU WERE TALKING ABOUT YESTERDAY

12    AND I SAID THAT WE WERE NOT AWARE, EVEN THOUGH IT WAS FILED.                12    WHERE YOUR COMPANY IS AND YOU SAID IT'S LIKE THE SILICON

13    WE BECAME AWARE OF IT AT A LATER STAGE. SO THERE'S A GAP                    13    VALLEY OF --

14    BETWEEN WHEN IT WAS FILED AND WHEN WE BECAME AWARE. IT'S NOT                14    A.      YES.

15    THE SAME POINT."                                                            15    Q.      JUST LET ME FINISH.

16         DO YOU WANT ME TO SHOW YOU YOUR TESTIMONY?                             16    A.      SORRY.

17    A.   NO.                                                                    17    Q.      I'LL GIVE YOU A CHANCE, I PROMISE.

18    Q.   TODAY YOU'RE SAYING SOMETHING DIFFERENT?                               18            HERZLIYA, AM I PRONOUNCING THAT CORRECTLY?

19    A.   NO.                                                                    19    A.      VERY WELL.

20                MR. ANDRES: CAN I APPROACH THE WITNESS, YOUR HONOR?             20    Q.      THAT'S WHERE YOUR HEADQUARTERS ARE?

21                THE COURT: YES.                                                 21    A.      CORRECT.

22                MR. ANDRES: I'M GOING TO HAND THIS EXHIBIT TO                   22    Q.      AND THIS STATEMENT COMES FROM HERZLIYA?

23    MR. AKROTIRIANAKIS. IT'S NSO'S STATEMENT ON OCTOBER 29TH, 2019              23    A.      THAT'S WHAT IT SAYS.

24    (HANDING).                                                                  24    Q.      IT SAYS OCTOBER 29TH, 2019.

25         I NEED AN EXHIBIT NUMBER.                                              25            THAT'S THE DAY THIS LAWSUIT WAS FILED?

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 1         936. PLAINTIFFS' EXHIBIT 936, YOUR HONOR.                               1    A.      YES, THAT'S THE DATE.

 2                THE COURT: ALL RIGHT.                                            2    Q.      NO GAP BETWEEN THE DATE THE LAWSUIT IS FILED AND THE DATE

 3         (PLAINTIFFS' EXHIBIT 936 WAS MARKED FOR IDENTIFICATION.)                3    THAT NSO BECOMES AWARE OF IT?

 4                MR. ANDRES: AND IT'S REDACTED.                                   4    A.      I DIDN'T SAY THAT, BETWEEN THE DATE THAT'S WRITTEN HERE

 5    Q.   I'LL HAND THIS TO YOU (HANDING).                                        5    AND THE DATE IT WAS FILED.

 6         OKAY. DO YOU SEE THAT? IT'S REDACTED, BUT IT HAS THE                    6    Q.      IT'S THE SAME DATE?

 7   DATE OF THE NSO STATEMENT; CORRECT? PLEASE TAKE ALL THE TIME                  7    A.      I'M NOT SURE WHO'S QUOTED HERE. THERE'S START OF

 8   YOU NEED TO LOOK AT IT.                                                       8    QUOTATION AND THEN NO END. NO -- IT DOESN'T SAY WHO'S BEING

 9    A.   I SEE IT. IT'S VERY SHORT. IT'S REDACTED.                               9    QUOTED. LIKE, I'D LOVE TO SEE WHO'S BEING QUOTED HERE BECAUSE

10    Q.   YES, AS MANY DOCUMENTS ARE IN THIS CASE. YOU UNDERSTAND                10    YOU REDACTED THE NAME OF SOMETHING WHICH IS COMPLETELY PUBLIC.

11    THAT THOSE ARE CONSISTENT WITH THE COURT'S RULINGS?                         11            I THINK IT COULD HAVE -- I DON'T KNOW.

12    A.   I UNDERSTAND.                                                          12    Q.      WELL --

13    Q.   LET'S GO THROUGH THIS. SO THE DATE OF THIS, IT SAYS "NEWS              13    A.      I DON'T KNOW WHAT --

14    PROVIDED BY NSO GROUP." CORRECT?                                            14    Q.      WELL, IT'S FROM NSO GROUP. SOMEBODY AT THE COMPANY KNOWS

15    A.   YES.                                                                   15    ABOUT IT?

16    Q.   OKAY. AND THAT'S YOU? YOU'RE NSO GROUP?                                16    A.      I'D LOVE TO GOOGLE THIS PRESS RELEASE AND SEE WHO'S

17    A.   WE'RE NSO GROUP. I DON'T KNOW -- I'M NOT FAMILIAR WITH                 17    QUOTED, BECAUSE I CANNOT SEE IT AND I CANNOT SAY WHO'S QUOTED.

18    THIS DOCUMENT, IF THAT'S YOUR QUESTION.                                     18            I KNOW THE COMPANY BECAME AWARE LATER. MAYBE MY KNOWLEDGE

19    Q.   OKAY. BUT THERE'S NO DISPUTE THAT YOU WORK FOR NSO GROUP.              19    IS INCORRECT OR INCOMPLETE.

20    YOU'RE THE CEO?                                                             20            BUT I'D LOVE TO SEE WHO'S BEING QUOTED, IF IT'S AN

21    A.   I'M THE CEO.                                                           21    EMPLOYEE OF THE COMPANY BECAUSE IT HAS -- IT HAS QUOTATION

22    Q.   OKAY. AND THE DATE IS OCTOBER 29TH, 2019?                              22    START, NO END, AND NO NAME OF WHO IS BEING QUOTED.

23    A.   CORRECT.                                                               23            IF IT WAS THE COO OF THE COMPANY, FOR INSTANCE, WHY WOULD

24    Q.   AND THE TOP PARAGRAPH -- THE TOP HEADING, OR HEADLINE,                 24    YOU REDACT HIS NAME ?

25    SAYS "NSO GROUP STATEMENT ON FACEBOOK LAWSUIT."                             25    Q.      THERE ARE COURT RULES ABOUT THE REDACTIONS.

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 1            YOUR HONOR, I'LL MOVE ON.                                             1    A.      THIS IS FROM --

 2            THE POINT IS THAT THIS IS FROM NSO GROUP. NOBODY DISPUTES             2    Q.      EXCUSE ME.

 3    THAT?                                                                         3            I WAS GOING TO ASK ABOUT THE MOBILE PHONES, BUT YOU'VE

 4     A.     I DIDN'T SAY THAT.                                                    4    SAID THAT ALREADY.

 5     Q.     I'M ASKING IF YOU DISPUTE THAT THIS CAME FROM NSO GROUP?              5            SO JUST TO BE CLEAR, WITH RESPECT TO THE --

 6     A.     I DON'T KNOW THAT. I KNOW THAT THERE IS THIS PAPER. I                 6                MR. AKROTIRIANAKIS: I'M SORRY, YOUR HONOR. I DON'T

 7     DON'T KNOW WHERE IT'S TAKEN FROM, WHICH SAYS THAT THIS IS FROM               7    THINK HE HAD FINISHED HIS ANSWER.

 8     NSO.                                                                         8    BY MR. ANDRES:

 9     Q.     AND IN THE STATEMENT THAT'S NOT REDACTED IT SAYS, CAN YOU             9    Q.      I'M SORRY. DID YOU FINISH YOUR ANSWER?

10     READ ALONG WITH ME, "IN THE STRONGEST POSSIBLE TERMS."                      10    A.      I DIDN'T.

11            DO YOU SEE THAT?                                                     11                THE COURT: WELL, HE WAS ANSWERING SOMETHING THAT

12     A.     I SEE THAT.                                                          12    WASN'T ASKED, SO LET'S START AFRESH WITH A NEW QUESTION.

13     Q.     IN THE STRONGEST POSSIBLE TERMS, WE DISPUTE TODAY'S                  13    BY MR. ANDRES:

14     ALLEGATIONS AND WILL VIGOROUSLY FIGHT THEM."                                14    Q.      MR. SHOHAT, NSO DOES NOT KNOW THE PEOPLE, THE IDENTITY OF

15     A.     IT --                                                                15    THE PEOPLE WHOSE PHONES ARE TARGETED WITH PEGASUS; CORRECT?

16     Q.     IT SAYS THAT, RIGHT?                                                 16    A.      NO. THE REASON I SAY NO IS BECAUSE WE MIGHT LEARN ABOUT

17            SORRY. MR. AKROTIRIANAKIS, I ASSURE YOU, IS GOING TO HAVE            17    IT AFTER THE FACT.

18    QUESTIONS FOR YOU TODAY. I ASSURE YOU OF THAT.                               18            BUT AT THE TIME THAT THE GOVERNMENT AGENCY TARGETS

19            IS THAT WHAT THIS DOCUMENT SAYS?                                     19    SOMEONE, WE DON'T KNOW AND ARE NOT PART OF THAT -- WE DON'T

20     A.     IT SAYS IT COULD BE ANYONE IN THIS COURTROOM BEING QUOTED.           20    KNOW THE NUMBER OR THE PERSON.

21     I DON'T KNOW WHO'S BEING QUOTED HERE.                                       21    Q.      ALL RIGHT.

22            BUT, YES, THIS IS WHAT IT SAYS.                                      22            YOUR HONOR, THAT'S DIRECTLY INCONSISTENT WITH YOUR RULING

23     Q.     OKAY. OCTOBER 29TH, 2019 NSO SAYS, "IN THE STRONGEST                 23    THIS MORNING, SO I WOULD ASK TO STRIKE IT AND I CAN TRY AGAIN.

24     POSSIBLE TERMS, WE DISPUTE TODAY'S ALLEGATIONS AND WILL                     24                THE COURT: YES.

25     VIGOROUSLY FIGHT THEM."                                                     25                MR. ANDRES: I CAN --

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 1            CORRECT?                                                              1                THE COURT: YES, LADIES AND GENTLEMEN OF THE JURY,

 2     A.     THIS IS WHAT THIS PAPER SAYS.                                         2    PLEASE DISREGARD MR. SHOHAT'S LAST RESPONSE.

 3     Q.     AND IT'S THE SAME DAY THAT THIS LAWSUIT WAS FILED?                    3            RE-ASK THE QUESTION.

 4                THE COURT: I DON'T HAVE A COPY OF THAT, SO I'M NOT                4    BY MR. ANDRES:

 5     SURE WHAT YOU ALL ARE --                                                     5    Q.      WITH RESPECT TO THE IDENTITIES OF THE PEOPLE WHOSE PHONES

 6                MR. ANDRES: OH, SORRY YOUR HONOR.                                 6    ARE TARGETED BY PEGASUS, NSO DOES NOT KNOW THE IDENTITY OF

 7            I'M GOING TO MOVE ON, YOUR HONOR, BUT HAPPY TO (HANDING).             7    THOSE PEOPLE?

 8     Q.     OKAY. I CAN GRAB THAT FROM YOU, MR. SHOHAT.                           8    A.      I'M NOT SURE WHAT I DID WRONG TO -- BECAUSE --

 9            AND JUST SO WE'RE CLEAR, THERE'S NO GAP BETWEEN THE DATE              9                THE COURT: IT'S EITHER A YES OR A NO.

10    THAT NSO SAYS THEY ARE GOING TO VIGOROUSLY FIGHT THIS LAWSUIT                10                THE WITNESS: OKAY.

11    AND THE DATE THAT IT WAS FILED?                                              11            REPEAT THE QUESTION. I WILL ANSWER WITH YES OR NO.

12     A.     THERE'S NO GAP ON THE DATE ON THAT PAPER, YES.                       12    BY MR. ANDRES:

13     Q.     MR. SHOHAT, IN YOUR DEPOSITION, YOU TESTIFIED THAT NSO               13    Q.      OKAY. FOR THE THIRD TIME, NSO DOES NOT KNOW THE IDENTITY

14     NEVER KNOWS THE TARGETS OF YOUR CUSTOMERS; CORRECT?                         14    OF THE PEOPLE WHOSE PHONES AND THEIR WHATSAPP APPLICATIONS ARE

15     A.     I DON'T REMEMBER THE EXACT QUOTATION. BUT I WILL SAY THAT            15    TARGETED BY YOUR CLIENTS?

16     WE DON'T KNOW THE -- CAN YOU REPEAT THE QUESTION SO I HAVE THE              16    A.      CAN YOU SAY IT ONE MORE TIME FOR ME, BECAUSE IT'S NOT --

17     EXACT PHRASING?                                                             17    Q.      HOW ABOUT WITH RESPECT TO THE INDIVIDUALS -- THERE'S 1400

18     Q.     NSO DOES NOT KNOW THE PEOPLE WHOSE PHONES IN WHATSAPP ARE            18    INDIVIDUALS IN THIS CASE WHOSE PHONES WERE TARGETED.

19     TARGETED BY YOUR CLIENT, WHOEVER YOUR CLIENTS ARE?                          19            AT THE TIME THEY WERE TARGETED, NSO DID NOT KNOW THE

20     A.     WHEN A CLIENT, A GOVERNMENT AGENCY, TARGETS A PERSON OF              20    IDENTITY OF THOSE PEOPLE?

21     INTEREST, WE ARE NOT PART OF IT. WE DON'T KNOW WHO'S BEING                  21    A.      THANK YOU FOR THE CLARIFICATION.

22     TARGETED. WE ARE NOT INVOLVED.                                              22            THE ANSWER IS NO. NO, WE DIDN'T KNOW -- NO.

23            AND WE DEFINITELY DON'T KNOW WHO IS THE PERSON OR EVEN               23    Q.      YEAH, I'M SORRY. AND I DON'T MEAN -- I REALIZE IF YOU

24    WHAT'S THE MOBILE PHONE NUMBER WHICH IS BEING TARGETED.                      24    NEED HELP WITH THE TRANSLATION OR ANYTHING, WE CAN GET THAT.

25     Q.     OKAY. I WAS GOING TO ASK YOU ABOUT THAT.                             25            BUT YOU'RE SAYING NO, NSO, AT THE TIME OF THE PEGASUS AND

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 1   THE SPYING, DOES NOT KNOW THE IDENTITIES OF THE PEOPLE WHOSE                1                THE COURT: I DON'T THINK SO. THE TARGETS ARE THE

 2   PHONES ARE BEING SPIED UPON?                                                2    TARGETS. THE TARGETS ARE THE TARGET USERS.

 3    A.    THIS IS A CORRECT STATEMENT.                                         3            BUT WHATSAPP SERVERS WERE IMPLICATED, PEGASUS WENT THROUGH

 4    Q.    THANK YOU.                                                           4    THE WHATSAPP SERVERS.

 5    A.    THANK YOU.                                                           5                MR. ANDRES: EXACTLY.

 6    Q.    AND THEY DON'T KNOW THE PHONE NUMBERS?                               6                MR. AKROTIRIANAKIS: YES, YOUR HONOR.

 7    A.    NO.                                                                  7    BY MR. ANDRES:

 8    Q.    YESTERDAY YOU TESTIFIED THAT NSO NEVER INTENDED TO HARM              8    Q.      AND YOU UNDERSTAND THAT AS A RESULT OF THAT, WHATSAPP

 9    WHATSAPP SERVERS; CORRECT?                                                 9    ENGINEERS HAD TO RESPOND?

10    A.    CORRECT.                                                            10    A.      I DO.

11    Q.    AND YOU UNDERSTAND AND YOU'VE SEEN THE TESTIMONY OF THE             11    Q.      HAD TO WORK VERY HARD?

12    WHATSAPP ENGINEERS WHO WORKED NIGHT AND DAY TO PATCH THE                  12    A.      I DO.

13    EXPLOITS FROM NSO; CORRECT? YOU WERE IN THE COURTROOM FOR                 13    Q.      NIGHTS AND WEEKENDS?

14    THAT?                                                                     14    A.      I DO.

15    A.    CORRECT.                                                            15    Q.      LOTS OF PEOPLE.

16    Q.    YOU SAW THE TESTIMONY OF MR. GHEORGHE?                              16            YOU HAVE TO ANSWER YES, NO. YOU CAN'T NOD.

17    A.    CORRECT.                                                            17    A.      WHAT IS -- LOTS OF PEOPLE IS RELATIVE, SO IT'S NOT A YES

18    Q.    AND YOU SAW THE TESTIMONY OF DREW ROBINSON?                         18    OR A NO.

19    A.    I DID.                                                              19            BUT THEY WORKED HARD. THEY DID.

20    Q.    YOU UNDERSTAND THAT THEY SPENT A CONSIDERABLE AMOUNT OF             20    Q.      OKAY. LET'S NOT QUIBBLE ABOUT THAT.

21    TIME RESPONDING TO NSO'S ATTACK ON WHATSAPP? THAT'S A YES OR              21            THE -- AND I -- YOU TESTIFIED IN YOUR OWN DEPOSITION THAT

22    NO.                                                                       22    WHEN YOU WERE ON THE OTHER SIDE DOING CYBER WORK, YOU WERE

23    A.    I DON'T UNDERSTAND THEY SPENT A SPECIFIC AMOUNT OF TIME.            23    INVOLVED IN PATCHES.

24          SO I'LL CORRECT THAT TO BE MORE ACCURATE.                           24    A.      I WAS INVOLVED IN SIMILAR WORK, YEAH.

25          WHATSAPP WAS NOT THE TARGET OF THOSE GOVERNMENT AGENCIES            25    Q.      YEAH.

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 1   OPERATION.                                                                  1    A.      SAME SIZE, YEAH.

 2    Q.    RIGHT. WHATSAPP WAS THE TARGET OF NSO'S HACK. THAT'S                 2    Q.      WHEN YOU WERE ON THE OTHER SIDE, WHEN SOMEBODY WAS

 3    WHAT THE COURT FOUND. YOU'RE FAMILIAR THAT THAT'S WHAT THE                 3    ATTACKING YOUR SYSTEMS, YOU COULD PATCH THEM. THAT'S WHAT

 4    COURT FOUND, THAT NSO VIOLATED THE CALIFORNIA AND FEDERAL                  4    PEOPLE DO, AND YOU EXPECTED WHATSAPP TO DO THAT?

 5    COMPUTER FRAUD ACT BECAUSE OF WHAT THEY INSERTED IN THE                    5    A.      THAT'S WHAT I -- THAT'S WHAT YOU DO WHEN YOU DO

 6    WHATSAPP CODE; RIGHT?                                                      6    CYBERSECURITY.

 7          WE WENT OVER THAT YESTERDAY. YOU UNDERSTAND THAT.                    7    Q.      RIGHT. AND THAT IS A FORM OF HARM BECAUSE WHATSAPP HAD TO

 8                MR. AKROTIRIANAKIS: OBJECTION. THAT MISSTATES THE              8    HAVE ITS ENGINEERS DIVERT THEMSELVES FROM THEIR NORMAL JOB AND

 9    EVIDENCE AND THE COURT'S ORDER, YOUR HONOR.                                9    RESPOND, IN YOUR WORDS, TO THE INTRUSION BY NSO; RIGHT?

10                THE COURT: I THINK SO, TOO. YOU'RE PARSING IT A               10    A.      THEY --

11    LITTLE FINELY.                                                            11    Q.      THAT'S A FORM OF HARM?

12          THE TARGETS ARE THE TARGETS.                                        12    A.      SO I --

13          WHATSAPP SERVERS ARE IN BETWEEN --                                  13    Q.      MY QUESTION IS, YES OR NO, THAT IS A FORM OF HARM?

14                MR. ANDRES: CORRECT.                                          14                MR. AKROTIRIANAKIS: SORRY, YOUR HONOR, THIS IS A

15                THE COURT: -- THE LAUNCH.                                     15    LEGAL ARGUMENT.

16    BY MR. ANDRES:                                                            16                THE COURT: SUSTAINED.

17    Q.    NSO SENT ITS CODE AND SOFTWARE INTO WHATSAPP SERVERS.               17                THE WITNESS: I WANT TO --

18                THE COURT: YES.                                               18                THE COURT: YOU DON'T HAVE TO ANSWER.

19                MR. ANDRES: THAT'S UNDISPUTED, YOUR HONOR.                    19    BY MR. ANDRES:

20    Q.    RIGHT?                                                              20    Q.      YOU DON'T BELIEVE THAT --

21    A.    CORRECT.                                                            21                THE WITNESS: CAN I?

22                MR. AKROTIRIANAKIS: I'M SORRY, YOUR HONOR, THAT'S             22                THE COURT: YOU DON'T NEED TO ANSWER THAT LAST

23    NOT CORRECT. THAT'S A MISSTATEMENT OF THE EVIDENCE AND THE                23    QUESTION.

24    COURT'S RULING.                                                           24    BY MR. ANDRES:

25                MR. ANDRES: APPARENTLY THE COURT DOESN'T THINK SO.            25    Q.      YOU UNDERSTAND THAT WHATSAPP HAD TO DO A LOT OF WORK IN

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 1     RESPONSE TO NSO'S INTRUSION ON THEIR SERVERS? YES OR NO? YOU             1    THAT THE USER, OR THE PERSON WHOSE PHONE PEGASUS IS ATTACKING

 2     UNDERSTAND THEY HAD TO DO A LOT OF WORK?                                 2    DOESN'T HAVE TO DO ANYTHING; CORRECT?

 3     A.   I KNOW -- I -- INCIDENT RESPONSE TEAMS WORK VERY HARD ALL           3    A.      CORRECT.

 4     THE TIME. THEY'RE ON CALL ALL THE TIME. THEY TARGET CYBER                4    Q.      IN YOUR DEPOSITION, YOU TESTIFIED THAT YOUR CLIENTS DON'T

 5     ATTACKS ALL THE TIME. I'VE DONE THOUSANDS OF CYBER ATTACKS ALL           5    CARE IF THE VECTORS ARE ZERO-CLICK OR ONE-CLICK OR ANYTHING; IS

 6     MY LIFE AND WORKED VERY HARD IN DOING IT, YES.                           6    THAT CORRECT?

 7     Q.   THIS ONE WAS MORE SOPHISTICATED THAN THE ONES THAT COME IN          7    A.      NO.

 8     EVERY DAY?                                                               8    Q.      NO, IT'S NOT CORRECT?

 9     A.   IT WAS VERY SOPHISTICATED. I'LL GIVE YOU THAT.                      9    A.      IT'S NOT CORRECT.

10     Q.   NSO IS A MARKET LEADER IN THIS TECHNOLOGY?                         10    Q.      OKAY.

11     A.   NSO IS STATE OF THE ART TECHNOLOGY.                                11    A.      I CAN TELL YOU WHAT I SAID.

12     Q.   IT'S SOPHISTICATED?                                                12    Q.      WELL, LET'S TAKE A LOOK AT WHAT YOU SAID.

13     A.   I DON'T ARGUE THAT.                                                13            YOU WERE ASKED, "WOULD YOU" --

14     Q.   SO, YES, IT'S SOPHISTICATED?                                       14                  MR. AKROTIRIANAKIS: SORRY, YOUR HONOR. COULD I HAVE

15     A.   YES, IT'S SOPHISTICATED.                                           15    PAGE AND LINE?

16     Q.   OKAY. JUST TO BE CLEAR, YOU'RE NOT HERE TO ARGUE. YOU'RE           16                  MR. ANDRES: SURE.

17     HERE TO ANSWER QUESTIONS, SO --                                         17                  THE COURT: YES.

18     A.   I DON'T THINK I ARGUED.                                            18                  MR. ANDRES: PAGE 68:01 TO 68:16.

19                THE COURT: EXCUSE ME, GENTLEMEN. GENTLEMEN. LET'S            19            "WOULD YOU BE SURPRISED IF PEGASUS GAVE A CUSTOMER AN

20     BRING IT DOWN A NOTCH.                                                  20    OPTION TO CHOOSE WHICH ZERO-CLICK VECTOR TO USE?

21     BY MR. ANDRES:                                                          21            "ANSWER: BECAUSE CUSTOMERS DON'T CARE WHICH VECTOR THEY

22     Q.   WE WOULD AGREE THAT NSO WASN'T INVITED INTO WHATSAPP'S             22    USE, AS LONG AS THEY GET THE INTELLIGENCE THEY NEED."

23     SERVERS. FAIR?                                                          23    Q.      CORRECT?

24     A.   YES.                                                               24    A.      CORRECT. THIS IS NOT WHAT YOU JUST ASKED ME ABOUT.

25     Q.   AND YOU DIDN'T ASK PERMISSION?                                     25    Q.      OKAY. BUT YOU AGREE WITH WHAT I JUST READ?

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 1     A.   NO.                                                                 1    A.      I WOULD AGREE.

 2     Q.   WE WERE TALKING ABOUT YOUR EXPERIENCE IN THIS FIELD,                2    Q.      THAT'S THE TESTIMONY YOU GAVE UNDER OATH?

 3     RIGHT, AND YOU -- LET ME GET THIS RIGHT -- YOU HAVE A HISTORY            3    A.      I WOULD LIKE TO MAKE A DIFFERENCE BETWEEN THIS AND WHAT

 4     OF WORKING IN THIS FIELD; CORRECT?                                       4    YOU ASKED ME BECAUSE THAT'S NOT THE SAME. YOU ASKED ME IF THE

 5     A.   YES, I MENTIONED IT YESTERDAY.                                      5    CUSTOMER CARED IF IT WAS ZERO-CLICK OR NOT ZERO-CLICK.

 6     Q.   AND YOU HAVE A BACKGROUND IN WORKING IN ELECTRONIC                  6            THEY DO CARE. HEARING MY TESTIMONY, I SAID DIFFERENT

 7     WARFARE; CORRECT?                                                        7    VECTORS OF THE ZERO-CLICK. THAT TESTIMONY IS NOT THE SAME.

 8     A.   THAT I DID NOT MENTION YESTERDAY, BUT, YES, I DO.                   8    Q.      FAIR ENOUGH. NSO DECIDES WHICH VECTOR TO USE, NOT THE

 9     Q.   AND YOU TESTIFIED TO THAT IN YOUR DEPOSITION; CORRECT?              9    CUSTOMERS?

10     A.   THIS IS CORRECT.                                                   10    A.      NOT NSO, BUT THE SYSTEM ITSELF DECIDES WHICH, WHICH VECTOR

11     Q.   "I WILL SAY THAT THE DOMAIN I WORKED IN WAS ELECTRONIC             11    TO -- IS LAUNCHED.

12     WARFARE."                                                               12    Q.      THAT'S AN NSO DECISION. THAT'S NOT THE CLIENT.

13          THOSE ARE YOUR WORDS?                                              13    A.      THE TECHNOLOGY, DEPENDING ON THE CERTAIN PART OF THIS, WE

14     A.   YES. THIS IS BEFORE I JOINED THE CYBERSECURITY INDUSTRY.           14    USE THE RIGHT VECTOR. FOR INSTANCE, IF IT'S APPLE DEVICE, IOS,

15     Q.   FAIR. AND YOU -- THAT'S FROM YOUR TESTIMONY WHEN YOU TOOK          15    OR ANDROID, OBVIOUSLY THE SYSTEM WILL USE DIFFERENT VECTOR.

16     AN OATH AND YOU SAID YOU WERE GOING TO TELL THE TRUTH?                  16    IT'S NOT NSO. IT'S NOT SOMEONE AT NSO SITTING BEHIND THE

17     A.   YES.                                                               17    SCENES AND DECIDES. NO.

18     Q.   NO DISPUTE ABOUT THAT, YOU'VE BEEN INVOLVED IN ELECTRONIC          18    Q.      BUT NSO CREATES THE SOFTWARE?

19     WARFARE?                                                                19    A.      OF COURSE.

20     A.   THIS IS PART OF MY RESUME.                                         20    Q.      SO IT IS NSO'S SOFTWARE AND THAT SOFTWARE DECIDES?

21     Q.   I THINK WE'VE ALREADY ESTABLISHED THAT NSO IS A MARKET             21    A.      IT'S LOGIC WITHIN THE SOFTWARE THAT WE DEVELOPED.

22     LEADER; IS THAT CORRECT?                                                22    Q.      THANK YOU. NOW, WE WERE TALKING ABOUT THE VECTORS, WE

23     A.   IT IS.                                                             23    WERE TALKING ABOUT PATCHES. WHEN NSO PUTS OUT A VECTOR AND

24     Q.   AND THERE WAS TESTIMONY ABOUT THIS ZERO-CLICK VECTOR.              24    WHATSAPP OR SOMEBODY ELSE PATCHES THAT, NSO THEN TRIES TO BREAK

25     THAT EFFECTIVELY MEANS -- YES OR NO -- THAT EFFECTIVELY MEANS           25    THAT PATCH?

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 1    A.   NO, WE DON'T TRY TO BREAK THE PATCH.                                1    Q.      AND PART OF THE $50-PLUS MILLION THAT'S USED FOR R&D IS

 2         WE MAKE SURE -- WE TRY TO MAKE SURE THAT THE SYSTEM                 2    FOR THIS PROCESS, TO FIND FIXES? SOME PART OF THAT $52 MILLION

 3   CONTINUES TO WORK, NOT -- WE NEVER BREAK A PATCH.                         3    IS TO FIND FIXES?

 4    Q.   AND FOR THE SYSTEM TO WORK, YOU NEED TO FIND ANOTHER WAY            4    A.      WE DON'T FIND FIXES, WE FIND VECTORS, OR WAYS TO ACCESS

 5    INTO WHATSAPP'S SERVERS?                                                 5    THE PHONE. BUT, YES, THE INTENTION IS THAT.

 6    A.   WE NEED TO FIND ANOTHER WAY INTO THE MOBILE DEVICE THAT IS          6    Q.      THAT'S WHAT THE R&D MONEY IS FOR?

 7    BEING TARGETED, NOT NECESSARILY THROUGH WHATSAPP SERVERS.                7    A.      PART OF IT.

 8    Q.   BUT YOU GET TO THE MOBILE DEVICE THROUGH WHATSAPP SERVERS?          8    Q.      AND WHEN THESE FIXES GO IN OR THE SOFTWARE GOES TO THE

 9    THAT'S WHAT THE COURT RULED?                                             9    PHONE, YOU USED THE WORD IN YOUR DEPOSITION THAT THERE'S FULL

10    A.   ONLY IN VERY SMALL CASES OF THE VECTOR THAT WE HAVE, VERY          10    DENIABILITY; CORRECT?

11    SMALL, THREE OF THEM AS MENTIONED BEFORE.                               11    A.      YES. I MIGHT HAVE USED IT.

12    Q.   AND THAT'S THE CONDUCT THAT IS THE SUBJECT OF THIS LAWSUIT         12    Q.      FULL DENIABILITY MEANS THAT THE PERSON WHOSE PHONE IS

13    IS THE VIOLATION OF FEDERAL AND STATE LAW IS NSO'S ATTACK ON            13    BEING SPIED UPON DOES NOT KNOW WHO'S SPYING ON THEM?

14    WHATSAPP'S SERVER.                                                      14    A.      THAT'S CORRECT.

15         I CAN READ THE --                                                  15    Q.      THAT'S HARMFUL, ISN'T IT?

16    A.   NO, I --                                                           16                MR. AKROTIRIANAKIS: OBJECTION, YOUR HONOR. IT'S,

17    Q.   YOU AGREE WITH THAT?                                               17    AGAIN, A LEGAL QUESTION.

18    A.   I AGREE THAT THIS IS WHAT THE COURT DECIDED.                       18                MR. ANDRES: "HARM" IS NOT A LEGAL TERM, YOUR HONOR.

19         I JUST SAID THAT IF A VECTOR BREAKS, WE WILL NOT                   19                THE COURT: IN THIS -- IN THE SENSE THAT YOU'RE USING

20   NECESSARILY FIND ANOTHER VECTOR THROUGH WHATSAPP SERVERS. WE             20    IT, IT'S -- ULTIMATELY IT'LL BE A JURY QUESTION AS TO WHETHER

21   HAD DOZENS OF VECTOR SERVER LISTS. YOU MENTIONED THREE OF THEM           21    OR NOT IT'S HARM.

22   THAT USED WHATSAPP. THERE ARE MANY OTHERS THAT DON'T.                    22            SO I'M GOING TO SUSTAIN THE OBJECTION.

23         SO IF OUR ABILITY TO SEND A MESSAGE THROUGH A WHATSAPP             23                MR. ANDRES: THANK YOU, YOUR HONOR.

24   SERVER IS DISABLED, WE MIGHT FIND A DIFFERENT WAY TO SEND THE            24    Q.      YESTERDAY YOU WERE LOOKING AT THE BALANCE SHEET, AND

25   MESSAGE NOT THROUGH WHATSAPP, BUT SOMETHING DIFFERENT.                   25    MR. AKROTIRIANAKIS WAS POINTING OUT THAT THERE'S APPROXIMATELY

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 1    Q.   AND SO YOU USED THOSE VECTORS FOR OTHER, LIKE, USED THEM            1    $5 MILLION IN CASH ON HAND; IS THAT CORRECT?

 2    FOR APPLE DEVICES, TOO? YOU SAID THERE WERE OTHER VECTORS                2    A.      WE HAD IT IN THE BEGINNING OF THE YEAR, YES.

 3    OUTSIDE OF PEGASUS, OR OUTSIDE OF WHATSAPP?                              3    Q.      AND YOU SAID THAT TO SORT OF STAY AFLOAT, NSO SPENDS $10

 4    A.   PEGASUS CAN TARGET, CAN ALLOW GOVERNMENT AGENCIES TO                4    MILLION A MONTH TO STAY AFLOAT; CORRECT?

 5    TARGET ALSO IOS DEVICES, YES.                                            5    A.      YES.

 6    Q.   THAT'S APPLE DEVICES, WHEN YOU SAY IOS, APPLE?                      6    Q.      SO THAT'S $5 MILLION, EVERY TWO WEEKS YOU SPEND

 7    A.   MY PRONUNCIATION OF APPLE WAS CONFUSING YESTERDAY, SO I'M           7    $5 MILLION?

 8    USING IOS.                                                               8    A.      WE SAY $5 MILLION ON THE BALANCE SHEET, SO WE HAD 8 AT

 9    Q.   FAIR ENOUGH. AND MY UNDERSTANDING OF COMPUTER SOFTWARE IS           9    THAT POINT IN TIME, BUT MY RECOLLECTION, WE NEED 10.

10    NOT AS GOOD AS YOURS.                                                   10    Q.      BUT TO STAY AFLOAT, YOU PAY $10 MILLION A MONTH; IS THAT

11    A.   YES.                                                               11    CORRECT?

12    Q.   AND SO THEY KEEP GOING, THERE'S A FIX, AND YOU GO AGAIN TO         12    A.      WE SPEND ABOUT 10 MILLION, YES.

13    FIND OUT A WAY AROUND THAT FIX LIKE YOU DID IN THIS CASE?               13    Q.      THAT'S APPROXIMATELY $120 MILLION A YEAR?

14    A.   WE FIND AN ALTERNATIVE WAY, NOT NECESSARILY AROUND THE             14    A.      APPROXIMATELY.

15    FIX, BUT AN ALTERNATIVE WAY TO GET -- TO ALLOW THE TECHNOLOGY           15    Q.      AND THAT'S ON TOP OF THE MONEY THAT YOU SPEND ON RESEARCH

16    TO GET TO THE TARGET DEVICE, WHICH IS --                                16    AND DEVELOPMENT -- RESEARCH AND DEVELOPMENT?

17    Q.   THE TECHNOLOGY HERE IS PEGASUS. SO YOU FIND ANOTHER WAY            17    A.      NO. THE RESEARCH AND DEVELOPMENT IS INCLUDED IN THAT.

18    TO GET PEGASUS ON THE PHONE?                                            18    Q.      OKAY. BUT WHEN --

19    A.   YES.                                                               19    A.      THAT'S WHAT I SAID WHEN I MENTIONED THE 10 MILLION.

20    Q.   OKAY. AND THAT HAPPENED ONCE IN THIS CASE, AND YOU HAD TO          20    Q.      WHEN YOUR LAWYER IS SUGGESTING THAT YOU ONLY HAVE

21    FIND A SECOND ALTERNATIVE. FAIR?                                        21    $5 MILLION AND THAT'S NOT A FAIR AMOUNT TO PAY IN PUNITIVE

22    A.   YES.                                                               22    DAMAGES, YOU ACTUALLY PAY, OR YOU'RE EXPENDING $120 MILLION A

23    Q.   AND THEN IT HAPPENED A SECOND TIME AND YOU FOUND A THIRD           23    YEAR?

24    ALTERNATIVE?                                                            24    A.      THIS IS CORRECT.

25    A.   YES, AS WE DISCUSSED.                                              25    Q.      OKAY. YESTERDAY WE WERE TALKING ABOUT, OR I'M SORRY, YOU

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 1    WERE TESTIFYING ABOUT THE FACT THAT YOU'RE AN OFFICER OF NSO                1    A.      THE 2023 WAS PRODUCED IN 2024 AND AUDITED IN 2025.

 2    AND IN THE MANAGEMENT; CORRECT?                                             2            THE 2024 WAS PRODUCED IN 2025, YES.

 3    A.   YES.                                                                   3    Q.      RIGHT. BUT THEY WERE ONLY RECENTLY PRODUCED IN THIS CASE?

 4    Q.   AND YOU'RE RESPONSIBLE IN THAT ROLE, AND DURING THE TIME               4    A.      I PRODUCED -- I DON'T KNOW WHEN THEY WERE PRODUCED.

 5    OF THE EVENTS IN THIS LAWSUIT, YOU WERE RESPONSIBLE FOR THE                 5    Q.      OKAY. THAT'S NOT ON YOU.

 6    PRACTICES AT NSO; IS THAT CORRECT?                                          6            THE -- IT'S FAIR TO SAY THAT YOU TESTIFIED THAT THERE WAS

 7    A.   AS THE CEO OF THE COMPANY?                                             7    AN AUDIT DONE, I THINK YOU MAYBE SAID YESTERDAY, FOR ONE OF

 8    Q.   YEAH.                                                                  8    THOSE YEARS; CORRECT?

 9    A.   YES.                                                                   9    A.      I GOT THE AUDIT REPORT, OR WE GOT, NOT I, THIS WEEK.

10    Q.   WELL, IN MANAGEMENT.                                                  10    Q.      YOU'VE BEEN AWARE OF THIS TRIAL FOR SOME TIME, CORRECT, AT

11    A.   SINCE BEING CEO, I'M RESPONSIBLE FOR EVERYTHING. IF YOU               11    LEAST SINCE JANUARY?

12    ASK ME BEFORE THAT TIME, I NEED TO KNOW EXACTLY WHICH PRACTICES            12    A.      CORRECT, YES.

13    YOU'RE TALKING ABOUT.                                                      13    Q.      AND IS IT FAIR TO SAY THAT THESE DOCUMENTS WERE NOT

14    Q.   OKAY. WELL, FOR THE PRACTICES RELATED TO PEGASUS, FOR                 14    PRODUCED UNTIL AFTER THERE WAS A TRIAL SET IN THIS MATTER?

15    EXAMPLE? YOU WERE AWARE OF THAT DURING THE TIME THAT YOU WERE              15    A.      I DON'T KNOW THE TIME.

16    THE COO?                                                                   16    Q.      YOU'RE POINTING TO THESE DOCUMENTS AS AN INABILITY TO PAY

17    A.   I WAS AWARE OF SOME OF THEM. I WAS NOT RESPONSIBLE FOR                17    A PUNITIVE DAMAGES AWARD; CORRECT?

18    THEM.                                                                      18    A.      IT SHOWS THE FINANCIAL STATUS OF THE COMPANY.

19    Q.   OKAY. BUT THAT PEGASUS IS ONE OF YOUR MOST IMPORTANT                  19    Q.      YOU'RE NOT AN ACCOUNTANT THOUGH; RIGHT?

20    PRODUCTS; CORRECT?                                                         20    A.      I'M NOT. I HAVE AN M.B.A. DEGREE, SO I DID HAVE SEVERAL

21    A.   YEAH, BUT IT WAS NOT -- IT WAS NOT UNDER MY                           21    FINANCE COURSES. BUT, NO, I'M NOT AN ACCOUNTANT.

22    RESPONSIBILITY.                                                            22    Q.      WHEN PEGASUS INFECTS A WHATSAPP USER'S PHONE, IT'S ABLE TO

23    Q.   IN YOUR ROLE AS CEO, YOU'RE RESPONSIBLE FOR JUDGMENTS AND             23    GATHER ALMOST ALL OF THE INFORMATION ON THAT PHONE; CORRECT?

24    CORPORATE DECISION MAKING; CORRECT?                                        24    A.      IT CAN GATHER UP INFORMATION.

25    A.   I THINK IT'S FAIR TO SAY THAT, YES.                                   25    Q.      SO IF SOMEBODY'S CREDIT CARDS ARE ON THOSE PHONES, ARE YOU

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 1    Q.   AND THAT ULTIMATELY YOU'RE INVOLVED IN DEVELOPING                      1    ABLE TO GATHER THAT INFORMATION?

 2    CORPORATE POLICY; CORRECT?                                                  2    A.      I'M NOT FAMILIAR THAT WE ARE GATHERING CREDIT CARD

 3    A.   YES.                                                                   3    INFORMATION.

 4    Q.   YOU UNDERSTAND THAT AS AN EMPLOYEE THAT'S A MANAGING AGENT             4    Q.      WELL, ACCORDING TO YOU, YOU'RE NOT GATHERING ANY OF THE

 5    FOR THE PURPOSES OF PUNITIVE DAMAGES, IF THE EMPLOYEE EXERCISED             5    INFORMATION, IT'S YOUR CLIENTS; RIGHT?

 6    SUBSTANTIAL INDEPENDENT AUTHORITY, JUDGMENT IN CORPORATE                    6    A.      THANK YOU FOR CORRECTING ME ON THAT.

 7    DECISION MAKING, THAT EMPLOYEE'S DECISIONS ARE RELEVANT?                    7            BUT THE TECHNOLOGY, I'M NOT FAMILIAR THAT IT'S GATHERING

 8         DO YOU UNDERSTAND THAT?                                                8    CREDIT CARD INFORMATION.

 9    A.   I DO.                                                                  9    Q.      HERE'S THE QUESTION: IT HAS THE POWER TO TAKE CREDIT CARD

10    Q.   JUST A QUICK QUESTION ABOUT THE DOCUMENTS THAT WE SAW                 10    INFORMATION OFF PEOPLE'S PHONES; CORRECT?

11    YESTERDAY.                                                                 11    A.      WE COULD DEVELOP THE FUNCTIONALITY TO TAKE CREDIT CARD

12         MR. AKROTIRIANAKIS, AS DID I, SHOWED YOU SOME OF THOSE                12    INFORMATION. I'M NOT FAMILIAR THAT WE DEVELOPED SUCH

13    FINANCIAL RECORDS.                                                         13    FUNCTIONALITY.

14         DO YOU REMEMBER THOSE?                                                14    Q.      RIGHT NOW THE TESTIMONY, I THINK YOU OR ONE OF YOUR

15    A.   YES.                                                                  15    COLLEAGUES GAVE IT, IS YOU GET ALL OF THE INFORMATION EXCEPT

16    Q.   THERE WAS A BALANCE SHEET AND A P&L?                                  16    FOR THE OPERATING SYSTEM?

17    A.   YES.                                                                  17    A.      I HEARD RAMON'S TESTIMONY. HE DID SAY THAT. I THINK HE

18    Q.   BOTH FOR NSO AND FOR Q CYBER?                                         18    WAS NOT ACCURATE.

19    A.   CORRECT.                                                              19    Q.      IF SOMEBODY'S CREDIT CARD INFORMATION WAS ON THE PHONE,

20    Q.   OKAY. AND THOSE COVER THE FULL YEAR OF 2025?                          20    YOU WOULD HAVE THE ABILITY TO GET THAT INFORMATION?

21         I'M SORRY. THOSE COVER THE FULL YEARS OF 2023 AND 2024?               21    A.      WE WOULD HAVE THE ABILITY TO ADD THIS FUNCTIONALITY TO THE

22    A.   THIS IS CORRECT.                                                      22    SYSTEM. I DON'T BELIEVE IT EXISTS TODAY.

23    Q.   AND THEY WERE JUST RECENTLY FINALIZED IN 2025?                        23    Q.      YOU HAVE THE ABILITY TO GET SOMEBODY'S DOCUMENTS THAT ARE

24    A.   I MENTIONED THAT THE 2023 WAS RECENTLY AUDITED.                       24    ON SOMEBODY'S PHONE; CORRECT?

25    Q.   OKAY. BUT THOSE DOCUMENTS WERE RECENTLY PRODUCED IN 2025?             25    A.      THEY -- THE AGENCY HAS THE ABILITY TO GET CERTAIN

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 1    TRANSCRIPT, PAGE 333 --                                                1    A.      YES.

 2         MAY I PUBLISH TO THE JURY, YOUR HONOR?                            2    Q.      RIGHT. AND, IN FACT, IF I COULD SHOW THE WITNESS -- THIS

 3               THE COURT: YES.                                             3    IS PLAINTIFFS' EXHIBIT 264.

 4               MR. PEREZ: IT'S JUST THE SIGNATURE PAGE.                    4                MR. MARZORATI: CAN I APPROACH?

 5               THE CLERK: THERE'S JUST A DELAY.                            5                THE COURT: YES.

 6               MR. PEREZ: OH, GREAT.                                       6                MR. AKROTIRIANAKIS: MAY I HAVE A MOMENT TO GET,

 7         IF WE COULD ZOOM IN ON THE CERTIFICATE OF WITNESS THERE,          7    YOUR HONOR? IT'S NOT IN MY BINDER.

 8    THAT BOTTOM PORTION.                                                   8            YOUR HONOR, I THINK THAT WE ALREADY TALKED ABOUT THIS.

 9    Q.   YOU SIGNED THE CERTIFICATION REFLECTING THAT THE                  9                MR. PEREZ: YOUR HONOR, THEY OPENED THE DOOR --

10    TRANSCRIPT WAS ACCURATE; CORRECT?                                     10                THE COURT: YEAH.

11    A.   YES.                                                             11                MR. PEREZ: -- BY ASKING WHETHER THE CURRENT BUDGET

12    Q.   THAT'S YOUR SIGNATURE THAT WE SEE THERE?                         12    WENT TOWARDS THE WORK TO DEVELOP THESE VECTORS.

13    A.   YEAH.                                                            13                MR. AKROTIRIANAKIS: I THINK ACTUALLY MR. ANDRES

14    Q.   AFFIRMING THAT THE TRANSCRIPT WAS CORRECT; RIGHT?                14    ASKED ABOUT THAT ON MR. SHOHAT'S CROSS-EXAMINATION. SO I DON'T

15    A.   YES.                                                             15    THINK I OPENED THE DOOR TO ANYTHING, YOUR HONOR.

16    Q.   SO IN YOUR TESTIMONY JUST NOW, YOU DON'T MEAN TO                 16                THE COURT: I'M NOT SURE WHAT IT IS I'M LOOKING AT

17    CONTRADICT ANYTHING THAT YOU SAID IN YOUR DEPOSITION TESTIMONY;       17    HERE.

18    CORRECT?                                                              18                MR. PEREZ: YOUR HONOR, I WOULD DIRECT THE COURT TO

19    A.   NO.                                                              19    PAGE 4, WHICH REFLECTS THE RESEARCH AND DEVELOPMENT EXPENSES

20    Q.   AND THE JURY CAN RELY ON EVERY WORD OF YOUR DEPOSITION           20    FOR 2019 AND 2018.

21    TESTIMONY; IS THAT RIGHT?                                             21                THE COURT: OKAY. AND IS THAT WHAT YOU WANT TO ASK

22    A.   YEAH.                                                            22    HIM ABOUT?

23    Q.   THANK YOU.                                                       23                MR. PEREZ: YES, YOUR HONOR.

24         NOW, YOU WERE ASKED ABOUT YOUR CURRENT RESPONSIBILITIES AS       24                THE COURT: OKAY. I'M GOING TO ALLOW IT.

25    VICE PRESIDENT OF R&D AND THE EMPLOYEES THAT YOU SUPERVISE.           25    BY MR. PEREZ:

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 1         DO YOU RECALL THOSE QUESTIONS?                                    1    Q.      MR. GAZNELI, YOU RECOGNIZE EXHIBIT 264, PLAINTIFFS'

 2    A.   YES.                                                              2    EXHIBIT 264? THESE ARE THE CONSOLIDATED FINANCIAL STATEMENTS

 3    Q.   THERE ARE OVER 100 SUCH EMPLOYEES, AREN'T THERE?                  3    FOR NSO GROUP TECHNOLOGIES, LIMITED, FOR DECEMBER 31ST, 2019;

 4    A.   YES.                                                              4    IS THAT RIGHT?

 5    Q.   HOW MANY PEOPLE ARE IN THE R&D GROUP AT NSO?                      5    A.      YES.

 6    A.   ABOUT 140.                                                        6    Q.      AND IF WE LOOK AT PAGE 4 OF THAT DOCUMENT, IT REFLECTS THE

 7    Q.   140 PEOPLE?                                                       7    RESEARCH AND DEVELOPMENT EXPENSES FOR 2019 AND 2018? THAT'S

 8    A.   YES.                                                              8    THE TIME PERIOD DURING WHICH THE HUMMINGBIRD VECTORS WERE BEING

 9    Q.   CURRENTLY DEVOTED TO RESEARCH AND DEVELOPMENT AT NSO?             9    DEVELOPED AND WORKED ON; CORRECT?

10    A.   YES.                                                             10    A.      RIGHT.

11    Q.   AND THAT WORK IS SUPPORTED BY THE $50 MILLION BUDGETS THAT       11    Q.      AND IT REFLECTS THAT IN 2019, THE RESEARCH AND DEVELOPMENT

12    ARE REFLECTED IN NSO'S FINANCIAL STATEMENTS; ISN'T THAT RIGHT?        12    EXPENSES OF NSO GROUP WERE $67 MILLION; RIGHT?

13    A.   YES.                                                             13    A.      YES.

14    Q.   NOW, YOU WERE ASKED SOME QUESTIONS BY YOUR COUNSEL AS TO         14    Q.      SO ACTUALLY EVEN --

15    WHETHER THE 50 MILLION, AND ALMOST $60 MILLION BUDGETS FOR R&D        15                MR. AKROTIRIANAKIS: OBJECTION, YOUR HONOR. I'M

16    THAT WE SAW IN THE 2024 FINANCIAL STATEMENTS, WHETHER ANY OF          16    SORRY, YOUR HONOR. I HAVE TO OBJECT TO THE FOUNDATION. THIS

17    THAT BUDGET FOR LAST YEAR WENT TOWARDS DEVELOPING THE VECTORS         17    IS A CONSOLIDATED -- I JUST WOULD ASK IF HE COULD LAY SOME

18    THAT ARE AT ISSUE IN THIS CASE.                                       18    FOUNDATION FOR THE -- THIS WITNESS'S KNOWLEDGE OF THE

19         DO YOU RECALL THOSE QUESTIONS?                                   19    CONSOLIDATED COMPANIES.

20    A.   YES.                                                             20                THE COURT: I AGREE. I AGREE.

21    Q.   ALL RIGHT. AND THE ANSWER WAS NO, THE MONEY WE SPENT IN          21    BY MR. PEREZ:

22    2024 DIDN'T PAY FOR WORK IN 2017 OR '18; RIGHT?                       22    Q.      ARE THESE FIGURES CONSISTENT WITH YOUR GENERAL

23    A.   YEAH.                                                            23    RECOLLECTION, HAVING BEEN IN THE R&D DEPARTMENT --

24    Q.   BUT IN 2018 AND 2019, THERE WAS AN R&D BUDGET, WASN'T            24                MR. AKROTIRIANAKIS: SAME OBJECTION, YOUR HONOR.

25    THERE?                                                                25    BY MR. PEREZ:

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 1    Q.   THAT AT THE TIME PERIOD --                                      1    ANDROID TEAM WAS STUDYING FOR HOW TO GET PEGASUS ON TO TARGET

 2             THE COURT: CONSOLIDATED MEANING Q CYBER AS WELL?            2    DEVICES; RIGHT?

 3             MR. AKROTIRIANAKIS: NO. OTHER COMPANIES,                    3    A.      YES.

 4    YOUR HONOR, THAT THERE'S BEEN NO EVIDENCE ABOUT IN THIS CASE.        4    Q.      AND THAT WORK CONTINUES TODAY, DOESN'T IT?

 5    THESE ARE CONSOLIDATED FINANCIALS OF HISTORICAL GROUPED              5                MR. AKROTIRIANAKIS: OBJECTION, YOUR HONOR.

 6    COMPANIES.                                                           6                THE COURT: SUSTAINED.

 7             THE COURT: OKAY. OKAY. YOU NEED TO --                       7    BY MR. PEREZ:

 8             MR. PEREZ: I'M GOING TO ASK THE QUESTION WITHOUT            8    Q.      I'D LIKE TO CLARIFY, IF WE COULD FOR THE JURY, THE

 9    REFERENCE TO THE DOCUMENT, YOUR HONOR.                               9    TIMELINE OF NSO'S DEVELOPMENT OF THE HUMMINGBIRD VECTORS.

10             THE COURT: OKAY.                                           10            NOW, YOU TESTIFIED IN YOUR DEPOSITION THAT THE RESEARCH

11    BY MR. PEREZ:                                                       11    TEAM CAME UP WITH THE IDEA OF MANIPULATING THE

12    Q.   IS IT CONSISTENT WITH YOUR EXPERIENCE FROM THE R&D GROUP       12    CONNECTING_TONE_DESC FIELD DURING THE RESEARCH PHASE IN LATE

13    AT NSO THAT DURING THE TIME PERIOD THE HUMMINGBIRD VECTORS WERE     13    2017 OR EARLY 2018; IS THAT CORRECT?

14    BEING DEVELOPED, NSO HAD A R&D BUDGET IN THE TENS OF MILLIONS       14    A.      WE WEREN'T MANIPULATING ANYTHING.

15    OF DOLLARS?                                                         15    Q.      LET ME PUT IT THIS WAY. YOU CAME UP WITH THE IDEA OF

16    A.   YES.                                                           16    PUTTING THE CODE THAT WAS TRIGGERING THE INSTALLATION OF

17    Q.   THANK YOU.                                                     17    PEGASUS IN THE CONNECTING_TONE_DESC FIELD, THAT IDEA WAS

18         YOU WERE ASKED SOME QUESTIONS ABOUT THE ANDROID TEAM, DO       18    GENERATED BY THE RESEARCH DEPARTMENT IN LATE 2017 OR EARLY

19   YOU RECALL THAT, AND WHAT APPLICATIONS THE ANDROID TEAM STUDIED      19    2018? THAT'S WHAT YOU TESTIFIED TO; ISN'T THAT RIGHT?

20   IN 2018 AND 2019? DO YOU REMEMBER THAT?                              20    A.      YES.

21    A.   YES.                                                           21    Q.      SO AT THAT POINT IN LATE 2017 OR EARLY 2018, THE RESEARCH

22    Q.   RIGHT. AND JUST TO REORIENT THE JURY, THE ANDROID TEAM IS      22    TEAM WAS ALREADY RESEARCHING HOW TO USE WHATSAPP TO INSTALL

23    A TEAM WITHIN R&D THAT IS FOCUSSED ON DEVELOPING INSTALLATION       23    PEGASUS; ISN'T THAT RIGHT?

24    VECTORS FOR ANDROID DEVICES; IS THAT RIGHT?                         24    A.      THIS WAS IN THE MIDDLE OF STUDYING IT.

25    A.   YES.                                                           25    Q.      SO TOWARDS THE BEGINNING, BUT NOT THE VERY BEGINNING;

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 1    Q.   OKAY. AND WHEN YOU WERE ASKED ABOUT WHAT APPLICATIONS           1    RIGHT?

 2    THAT ANDROID TEAM STUDIED, YOU POINTED TO AT LEAST FOUR              2    A.      YEAH.

 3    DIFFERENT TYPES OF APPLICATIONS; RIGHT?                              3    Q.      SO EARLIER THAN LATE 2017, EARLY 2018 WAS WHEN THE

 4    A.   (NODS HEAD UP AND DOWN.)                                        4    RESEARCH GROUP STARTED INVESTIGATING WHATSAPP AS A POTENTIAL

 5    Q.   YOU MENTIONED INSTANT MESSAGING APPLICATIONS; CORRECT?          5    TOOL TO INSTALL PEGASUS ON TARGET DEVICES; RIGHT?

 6    A.   YES.                                                            6    A.      YES.

 7    Q.   BROWSERS?                                                       7    Q.      OKAY. AND NOW, AFTER THE RESEARCH TEAM CONDUCTED ITS

 8    A.   YES.                                                            8    INVESTIGATION, IT BUILT AN INTERNAL ENVIRONMENT IN WHICH TO

 9    Q.   OPERATING SYSTEMS?                                              9    TEST THE INSTALLATION VECTOR; ISN'T THAT RIGHT?

10    A.   YES.                                                           10    A.      IT'S DEVELOPMENT TEST.

11    Q.   AND OTHER APPLICATIONS; RIGHT?                                 11    Q.      TO DEVELOP AND TEST; RIGHT? FIRST YOU HAVE TO DEVELOP AND

12    A.   YES.                                                           12    THEN THE NEXT STEP IS TO TEST; RIGHT?

13    Q.   SO THOSE ARE ALL DIFFERENT WAYS THAT THE R&D GROUP, AND        13    A.      YES.

14    THE ANDROID TEAM SPECIFICALLY, IS STUDYING FOR HOW -- OR WAS        14    Q.      SO THEY DEVELOP THIS INTERNAL ENVIRONMENT THROUGH WHICH

15    STUDYING IN 2018 AND 2019 FOR HOW TO GET PEGASUS ON TO TARGET       15    NSO CAN SEND WHATSAPP MESSAGES FROM ONE DEVICE TO ANOTHER;

16    PHONES; ISN'T THAT RIGHT?                                           16    CORRECT?

17    A.   YES.                                                           17    A.      YES.

18    Q.   OKAY. SO THAT, FOR BROWSERS, THAT WOULD INCLUDE THINGS         18    Q.      AND YOU USED THAT INTERNAL ENVIRONMENT TO DEVELOP THE

19    LIKE SAFARI AND GOOGLE CHROME? THAT'S WHAT BROWSERS MEANS;          19    INSTALLATION VECTOR; RIGHT?

20    RIGHT?                                                              20    A.      YES.

21    A.   YEAH, SAFARI WAS FOR IOS.                                      21    Q.      AND THAT PERIOD -- THAT WORK, THE DEVELOPMENT WORK WENT ON

22    Q.   OKAY. SO CHROME WOULD BE AN EXAMPLE OF A BROWSER THAT          22    FOR MONTHS; RIGHT?

23    RUNS ON ANDROID DEVICES; RIGHT?                                     23    A.      YES.

24    A.   FOR EXAMPLE.                                                   24    Q.      AND YOU HAD A TEAM OF AT LEAST FOUR ENGINEERS WORKING ON

25    Q.   AND THAT WOULD BE ALL THESE DIFFERENT PATHS THAT THE           25    THAT?

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 1    PHONES. WE CAN DISAGREE AS TO WHETHER THE OWNERS OF THOSE                  1    INSTALL PEGASUS ON USERS' DEVICES; ISN'T THAT RIGHT?

 2    PHONE ARE PEOPLE, BUT IT IS DESIGNED TO GET INFORMATION FROM               2    A.      THIS WAS A DIFFERENT VECTOR, IT USED DIFFERENT SERVERS AND

 3    THEIR PHONES.                                                              3    TYPE OF SERVERS.

 4         IT IS ALSO DESIGNED, MR. GAZNELI, TO DO SO WITHOUT THAT               4    Q.      CAN WE AGREE THAT IT TRIGGERED THE INSTALLATION OF

 5    PERSON'S KNOWLEDGE; ISN'T THAT RIGHT?                                      5    WHATSAPP -- OF PEGASUS, AT LEAST IN PART, THROUGH THE SENDING

 6    A.   THIS IS THE SOFTWARE DEFINITION, TO BE ABLE TO DO -- TO               6    OF WHATSAPP MESSAGES?

 7    GAIN ACCESS FOR THE INTELLIGENCE AGENCIES WITHOUT THE TARGETS              7    A.      YES.

 8    TO BE NOTICED ABOUT IT.                                                    8    Q.      YES. AND THAT WAS AFTER WHATSAPP HAD CLOSED THE

 9    Q.   RIGHT. BUT YOU DON'T CONSIDER SOFTWARE DESIGNED TO GET                9    VULNERABILITIES, IF THAT'S THE WORD YOU'D LIKE TO USE, THAT

10    INFORMATION FROM SOMEONE'S MOBILE DEVICE WITHOUT THEIR                    10    ALLOWED THE EDEN VECTOR ALSO TO USE WHATSAPP MESSAGES TO

11    KNOWLEDGE, THAT'S JUST NOT YOUR DEFINITION OF SPYWARE; IS THAT            11    INSTALL PEGASUS; IS THAT WHAT YOU SAID?

12    RIGHT?                                                                    12    A.      YES.

13    A.   I'M -- I'M NOT GOING TO GET INTO DEFINING IT. THIS IS A              13    Q.      AND ERISED WAS IN USE IN 2020; ISN'T THAT CORRECT?

14    SOFTWARE TOOL THAT WE DEVELOPED FOR THESE PURPOSES AS I                   14    A.      YES.

15    EXPLAINED.                                                                15    Q.      ALL THE WAY UP THROUGH AT LEAST MAY OF 2020; ISN'T THAT

16    Q.   WELL, YOU JUST TESTIFIED YOU DON'T CONSIDER IT SPYWARE.              16    CORRECT?

17    SO I'M ASKING YOU, YOU DON'T CONSIDER SOFTWARE THAT IS DESIGNED           17    A.      YES.

18    TO GET INFORMATION FROM SOMEONE'S PHONE TO BE INSTALLED WITHOUT           18    Q.      AND THE PURPOSE OF ERISED SENDING MESSAGES THROUGH

19    THEIR KNOWLEDGE AND TO TAKE THEIR INFORMATION WITHOUT THEIR               19    WHATSAPP SERVERS WAS TO TRIGGER INSTALLATION OF PEGASUS ON

20    KNOWLEDGE, YOU DON'T CONSIDER THAT SPYWARE? IS THAT YOUR                  20    TARGET DEVICES; RIGHT?

21    TESTIMONY?                                                                21    A.      YES.

22    A.   YES.                                                                 22    Q.      IN ORDER TO OBTAIN ACCESS TO THOSE USERS AS INFORMATION;

23    Q.   OKAY. I'D LIKE TO ASK YOU ABOUT THE ERISED VECTOR AS TO              23    RIGHT?

24    WHICH YOU WERE ASKED SOME QUESTIONS BY YOUR COUNSEL.                      24    A.      YES.

25         DO YOU RECALL THAT?                                                  25    Q.      NOW, YOU TESTIFIED UNDER EXAMINATION BY YOUR LAWYERS ABOUT

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 1    A.   YEAH.                                                                 1    SOME OF THE INFRASTRUCTURE THAT THE CUSTOMERS HAVE.

 2    Q.   YOU'RE FAMILIAR WITH THE ERISED VECTOR; RIGHT?                        2            DO YOU RECALL THOSE QUESTIONS?

 3    A.   YES.                                                                  3    A.      YES.

 4    Q.   IT WAS DEVELOPED DURING YOUR TIME IN THE R&D GROUP AT NSO?            4    Q.      AND THAT INCLUDES COMPUTERS, SERVERS? IS THAT GENERALLY

 5    A.   YES.                                                                  5    WHAT IT INCLUDES, THE INFRASTRUCTURE?

 6    Q.   AND I BELIEVE YOU TESTIFIED THAT -- CAN YOU REMIND ME WHEN            6    A.      YES.

 7    YOU BECAME VICE PRESIDENT OF RESEARCH AND DEVELOPMENT?                     7    Q.      AND THAT INFRASTRUCTURE WOULD BE PURCHASED BY, OR LEASED,

 8    A.   IT WAS BEGINNING OF 20 -- VICE PRESIDENT OF RESEARCH AND              8    BY NSO; ISN'T THAT RIGHT?

 9    DEVELOPMENT?                                                               9    A.      NOT ALL OF IT.

10    Q.   YES.                                                                 10    Q.      SOME OF THEM AT LEAST; RIGHT?

11    A.   END OF 2022.                                                         11    A.      YEAH.

12    Q.   END OF 2022. SO AT THE BEGINNING OF 2020, YOU WERE                   12    Q.      AND THE GROUP AT NSO THAT WAS RESPONSIBLE FOR THE

13    DIRECTOR OF R&D?                                                          13    ACQUIRING OF THIS INFRASTRUCTURE WAS CALLED THE WHITE SERVICES

14    A.   NOT THE BEGINNING. THE MIDDLE.                                       14    GROUP; ISN'T THAT RIGHT?

15    Q.   NOW, ERISED -- AND YOU TESTIFIED ABOUT THIS AT YOUR                  15    A.      YES.

16    DEPOSITION -- WAS DEVELOPED AFTER WHATSAPP REMEDIATED THE 2019            16    Q.      AND THE PURPOSE OF THE WHITE SERVICES GROUP WAS NOT JUST

17    ATTACKS; IS THAT RIGHT?                                                   17    TO ACQUIRE THIS INFRASTRUCTURE, BUT TO DO IT IN A WAY THAT WAS

18    A.   YEAH.                                                                18    ANONYMIZED; ISN'T THAT CORRECT?

19    Q.   RIGHT. SO IN MAY 2019, THIS JURY HAS HEARD A LOT ABOUT               19    A.      THIS IS REQUIREMENT OF THE CUSTOMERS, YES.

20    THIS, WHATSAPP FIXED THE MECHANISM BY WHICH EDEN, THE SECOND OF           20    Q.      I THINK YOU USED THOSE EXACT WORDS IN YOUR DEPOSITION.

21    THE THREE INSTALLATION, HUMMINGBIRD VECTORS, WAS INSTALLING               21    IT'S A REQUIREMENT THAT THE ACQUISITION OF THE INFRASTRUCTURE

22    PEGASUS ON USER'S PHONES; CORRECT?                                        22    BE ANONYMIZED; RIGHT?

23    A.   YES.                                                                 23    A.      YES.

24    Q.   AND AFTER WHATSAPP PREVENTED EDEN FROM WORKING, NSO'S R&D            24    Q.      SO THAT IT COULDN'T BE TRACED BACK TO THE CUSTOMER;

25    GROUP DEVELOPED ANOTHER VECTOR TO CONTINUE USING WHATSAPP TO              25    CORRECT?

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 1   A.   YES.                                                                     1    A.   YES.

 2   Q.   AND COULDN'T BE TRACED BACK TO NSO; RIGHT?                               2    Q.   WITHOUT THE FINGERPRINTING, THERE IS NO INSTALLATION OF

 3   A.   YES.                                                                     3    PEGASUS; RIGHT?

 4   Q.   THAT WAS ONE OF THE WAYS, NOT THE ONLY WAY, BUT ONE OF THE               4    A.   THERE -- WITHOUT THE FINGERPRINTING, THE INFORMATION WOULD

 5   WAYS THAT NSO COVERED ITS TRACKS HERE; ISN'T THAT RIGHT?                      5    NOT BE SUFFICIENT AND THEN THE, THE SUCCESS RATE WILL NOT BE

 6   A.   I'M NOT -- I WON'T COVER TRACKS. IT'S CUSTOMER'S                         6    GOOD.

 7   REQUIREMENT. THIS IS TO BE, AS I SAID, TO BE UNDETECTABLE IN                  7    Q.   RIGHT. IT WOULDN'T WORK WITHOUT THE FINGERPRINTING;

 8   TERMS OF TARGET, TARGET DEVICES.                                              8    RIGHT?

 9   Q.   RIGHT, IT WAS UNDETECTABLE BY DESIGN; RIGHT?                             9    A.   YEAH.

10   A.   YES.                                                                    10    Q.   AND THEN YOU WOULDN'T BE ABLE TO GET THE PEGASUS ON THE

11   Q.   AND NSO, THROUGH ITS WHITE SERVICES GROUP, WAS THE ONE WHO              11    PHONE AND THE CUSTOMER COULDN'T GET THE INFORMATION OFF THE

12   TOOK RESPONSIBILITY FOR ACHIEVING THAT RESULT OF MAKING IT                   12    PHONE, ISN'T THAT RIGHT, WITHOUT THE FINGERPRINTING?

13   UNTRACEABLE AND UNDETECTABLE; ISN'T THAT RIGHT?                              13    A.   YES.

14   A.   NSO, AS I SAID, THE SERVERS AND THE ECOSYSTEM OF THE                    14    Q.   AND YOU TESTIFIED AT YOUR DEPOSITION ABOUT MULTIPLE TYPES

15   INFRASTRUCTURE SITS ON CUSTOMER'S PREMISES. IT'S OWNED BY                    15    OF INFORMATION THAT ARE OBTAINED AS PART OF THAT FINGERPRINTING

16   THEM.                                                                        16    STAGE.

17   Q.   IT'S ACQUIRED BY NSO ANONYMOUSLY; RIGHT?                                17         DO YOU REMEMBER THAT GENERALLY?

18   A.   SOME OF THEM.                                                           18    A.   YES.

19   Q.   YOU WERE ASKED SOME QUESTIONS BY YOUR COUNSEL ABOUT THE                 19    Q.   YOU SAID YOU OBTAIN THE OPERATING SYSTEM OF THE TARGET

20   HANDSHAKE PROCESS.                                                           20    DEVICE; ISN'T THAT RIGHT?

21        DO YOU RECALL THAT?                                                     21    A.   YES.

22   A.   YES.                                                                    22    Q.   AND THE TYPE OF DEVICE? YES?

23   Q.   AND THAT REFERS TO THE INFORMATION THAT GETS EXCHANGED                  23    A.   YES.

24   BETWEEN TWO DEVICES TO ESTABLISH A CONNECTION BETWEEN THEM; IS               24    Q.   AND THE -- WHICH VERSION OF WHATSAPP IT'S RUNNING;

25   THAT GENERALLY CORRECT?                                                      25    CORRECT?

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 1   A.   YES.                                                                     1    A.   YES.

 2   Q.   AND YOU ALSO TESTIFIED ABOUT THE FINGERPRINTING STAGE;                   2    Q.   AND THAT'S TRUE OF THE HUMMINGBIRD VECTORS? THEY WOULD

 3   RIGHT?                                                                        3    OBTAIN INFORMATION ABOUT WHAT VERSION OF WHATSAPP THE TARGET

 4   A.   YES.                                                                     4    DEVICE WAS RUNNING?

 5   Q.   AND THE FINGERPRINTING STAGE OCCURS AS -- DURING THE                     5    A.   YES. SOME OF THE VECTORS REQUIRED DIFFERENT TYPES OF

 6   HANDSHAKE; IS THAT CORRECT?                                                   6    INFORMATION. BUT GENERALLY, YES.

 7   A.   NO -- NOT DURING THE HANDSHAKE, BUT THE HANDSHAKE IS A                   7    Q.   OKAY. YOU WOULD ALSO OBTAIN INFORMATION ABOUT WHETHER THE

 8   SUBPROCEDURE OF THE FINGERPRINT.                                              8    TARGET DEVICE WAS ONLINE; RIGHT?

 9   Q.   RIGHT. AND THE REASON IT'S CALLED FINGERPRINTING IS                      9    A.   YES.

10   BECAUSE YOU'RE ACQUIRING INFORMATION ABOUT THE TARGET DEVICE;                10    Q.   AND WHETHER IT HAD A WHATSAPP ACCOUNT; CORRECT?

11   ISN'T THAT RIGHT?                                                            11    A.   YES.

12   A.   YES, IN ORDER TO DEFINE -- TO DESIGN THE SPECIFIC MESSAGES              12    Q.   AND YOU WOULD ALSO GET, AT LEAST IN THE CASE OF ERISED,

13   TO BE SENT TO THAT SPECIFIC TARGET.                                          13    INFORMATION ABOUT THE VENDOR THAT THE TARGET DEVICE USED;

14   Q.   EXACTLY. BECAUSE WITHOUT THAT INFORMATION, YOU CAN'T                    14    RIGHT?

15   CRAFT THE MESSAGES THAT WOULD TRIGGER INSTALLATION OF PEGASUS;               15    A.   YES.

16   ISN'T THAT RIGHT?                                                            16    Q.   AND ALL THAT INFORMATION THAT WE JUST RECITED CAME THROUGH

17   A.   ON THE TARGETS' DEVICES, YES.                                           17    WHATSAPP SERVERS FROM THE TARGET DEVICE; RIGHT?

18   Q.   RIGHT. SO THE FINGERPRINTING, THROUGH FINGERPRINTING, YOU               18    A.   THIS IS THE -- THIS IS THE WAY THE MESSAGES ARE

19   ARE OBTAINING INFORMATION FROM -- ABOUT THE TARGET DEVICE FOR                19    TRANSMITTED, ONLY THROUGH WHATSAPP SERVERS.

20   PURPOSES OF CRAFTING THE MESSAGE THAT'S GOING TO TRIGGER                     20    Q.   ONLY THROUGH WHATSAPP SERVERS? NO WAY TO GET THIS

21   INSTALLATION OF PEGASUS; ISN'T THAT RIGHT?                                   21    NECESSARY INFORMATION, THERE WAS NO WAY TO GET IT OTHER THAN

22   A.   CRAFTING FOR THE PURPOSE OF DEFINING -- DESIGNING TO THE                22    THROUGH WHATSAPP SERVERS; RIGHT?

23   SPECIFIC TARGET THAT IS BEING INSTALLED.                                     23    A.   YES.

24   Q.   YOU NEED THAT INFORMATION IN ORDER TO COMPLETE THE                      24    Q.   AND NOW SOME OF THE INFORMATION COMES FROM THE TARGET

25   INSTALLATION; ISN'T THAT RIGHT?                                              25    DEVICE THROUGH THE SERVERS, BUT SOME OF THE INFORMATION COMES

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 1    PEGASUS WAS OBTAINING INFORMATION FROM THE TARGET DEVICES                  1    THAT CORRECT?

 2    THROUGH WHATSAPP SERVERS; CORRECT?                                         2    A.      YES.

 3    A.   YES.                                                                  3    Q.      BECAUSE -- AND, INDEED, THAT'S THE ROLE OF THE OPSEC

 4    Q.   YES?                                                                  4    GROUP, OR AT LEAST PART OF THE ROLE OF THE OPSEC GROUP;

 5    A.   YES.                                                                  5    CORRECT?

 6    Q.   AND IT WAS DESIGNED TO GET THAT INFORMATION THROUGH                   6    A.      PART OF THE ROLE, YES.

 7    WHATSAPP SERVERS; RIGHT?                                                   7    Q.      RIGHT, TO MINIMIZE THE RISK OF DETECTION SO THAT THE

 8    A.   THIS INFORMATION WAS NOT FROM THE WHATSAPP SERVERS. IN                8    INSTALLATION VECTORS CAN BE KEPT GOING AS LONG AS POSSIBLE;

 9    FACT, IT WAS -- IT WAS DEFINED ACCORDING TO THE RESPONSE FROM              9    CORRECT?

10    THE TARGET DEVICE.                                                        10    A.      YES.

11    Q.   IT CAME THROUGH WHATSAPP SERVERS; CORRECT?                           11    Q.      SO THAT THEY CAN BE USED AS MANY TIMES AS POSSIBLE; ISN'T

12    A.   YES.                                                                 12    THAT RIGHT?

13    Q.   AND IT WAS DESIGNED TO DO SO; CORRECT?                               13    A.      AS FAR AS THE CUSTOMERS WOULD LIKE AND HAVE THE RIGHT TO

14    A.   YES.                                                                 14    DO IT, YEAH.

15    Q.   I'D LIKE TO ASK YOU SOME QUESTIONS -- YOU WERE ASKED A               15    Q.      OKAY. AND THAT'S -- THE REASON YOU'RE MINIMIZING THE RISK

16    NUMBER OF QUESTIONS ABOUT WHETHER YOU INTENDED TO HARM                    16    OF DETECTION DELIBERATELY IS THAT NSO UNDERSTANDS THAT THERE

17    WHATSAPP.                                                                 17    ARE ACTORS OUT THERE, SUCH AS WHATSAPP, THAT WOULD TAKE STEPS

18         DO YOU RECALL THAT? IT WENT ON FOR SOME TIME. DO YOU                 18    TO BLOCK THE INSTALLATION IF THEY DETECTED IT; ISN'T THAT

19   REMEMBER THAT QUESTIONING?                                                 19    RIGHT?

20    A.   YES.                                                                 20    A.      YES.

21    Q.   NOW, I WANT TO ASK YOU A LITTLE DIFFERENT PERSPECTIVE ON             21    Q.      AND THAT'S WHY -- YOU RECALL THE HEAVEN OPSEC DOCUMENT

22    THAT QUESTION, MR. GAZNELI.                                               22    THAT I SHOWED YOU AT YOUR DEPOSITION?

23         ISN'T IT CORRECT THAT WHEN YOUR R&D GROUP DESIGNS A                  23    A.      YES.

24   STRATEGY TO INSTALL PEGASUS, YOUR GROUP WANTS TO KEEP IT UP AND            24    Q.      WHY DON'T WE PUT IT UP ON THE SCREEN. IT'S PTX-60.

25   RUNNING FOR AS LONG AS POSSIBLE?                                           25            AND MR. EVANS, IF WE CAN GO TO PAGE 2.

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 1    A.   YES.                                                                  1            YOU WERE ASKED ALL THESE QUESTIONS BY YOUR COUNSEL ABOUT

 2    Q.   ALL RIGHT. AND THAT REQUIRES MINIMIZING THE RISK OF                   2    WHETHER YOU INTENDED TO HARM WHATSAPP.

 3    DETECTION; ISN'T THAT CORRECT?                                             3            NOW, THE WAY YOU REFERRED TO WHATSAPP IN THE CONTEXT OF

 4    A.   THIS IS ONLY ONE PART OF IT. I EXPLAINED THE OTHER PART               4    OPSEC, IN THE CONTEXT OF DELIBERATELY HIDING WHAT YOU WERE

 5    RELATES ALSO FOR THE DISCOVERY TOWARDS THE TARGETS THEMSELVES.             5    DOING FROM WHATSAPP, WAS YOU CALLED THEM A THREAT ACTOR; ISN'T

 6    Q.   LET'S JUST MAKE SURE WE'RE CLEAR ON THIS, MR. GAZNELI.                6    THAT RIGHT?

 7         WE AGREE THAT R&D HAS THE GOAL OF KEEPING ITS INSTALLATION            7    A.      YEAH, IT'S NOT A DOCUMENT I WROTE. WE TALKED ABOUT THAT

 8   VECTORS UP AND RUNNING FOR AS LONG AS POSSIBLE; RIGHT?                      8    AT THE DEPOSITION.

 9    A.   YES.                                                                  9    Q.      RIGHT. THIS IS A DOCUMENT FROM THE OPSEC TEAM?

10    Q.   AND PART OF KEEPING THEM UP AND RUNNING AS LONG AS                   10    A.      YES.

11    POSSIBLE IS MINIMIZING THE RISK OF THEIR DETECTION; ISN'T THAT            11    Q.      AND WHATSAPP WAS VIEWED NOT A FRIEND, NOT A COLLEAGUE,

12    CORRECT?                                                                  12    CHARACTERIZED AS A THREAT ACTOR; RIGHT?

13    A.   AS I SAID, THIS IS ONE PART OF IT.                                   13    A.      THIS IS A TERM USED BY OPSEC TOWARDS ANY SERVICE THAT

14         IN ADDITION, IT WAS -- THE GOAL IS TO MINIMIZE THE                   14    WOULD DISTURB THIS.

15   FOOTPRINT ON THE ECOSYSTEM.                                                15    Q.      RIGHT. AND NSO VIEWED WHATSAPP AS A THREAT BECAUSE THEY

16    Q.   RIGHT. RIGHT. I WANT TO STEP LIGHTLY, NOT LEAVE                      16    WERE A THREAT TO NSO'S CONTINUED -- ABILITY TO CONTINUE

17    FOOTPRINTS. THAT'S WHAT YOU'RE SAYING?                                    17    PROVIDING THE ABILITY TO INFECT ADDITIONAL DEVICES; ISN'T THAT

18    A.   YES.                                                                 18    RIGHT?

19    Q.   OKAY. BECAUSE IN ORDER TO KEEP THE VECTORS UP AND RUNNING            19    A.      OKAY.

20    AS LONG AS POSSIBLE, YOU DON'T WANT PEOPLE TO TELL YOU'VE BEEN            20    Q.      I'M SORRY?

21    THERE; CORRECT?                                                           21    A.      YEAH.

22    A.   I CANNOT TELL WHETHER OR NOT I'VE BEEN THERE. BUT IN                 22    Q.      BECAUSE YOU UNDERSTOOD THAT WHATSAPP WOULD BLOCK THE

23    TERMS OF I USE THE SYSTEM ACCORDING TO THE RULES THAT'S SET,              23    EXPLOIT IF THEY DETECTED IT; RIGHT?

24    AND TO LOOK AS NORMAL AS POSSIBLE.                                        24    A.      IF YOU DAMAGE THE SERVICE AND THE SERVERS, WHICH WE DIDN'T

25    Q.   RIGHT. IN ORDER TO MINIMIZE THE RISK OF DETECTION; ISN'T             25    DO PURPOSEFULLY IN ORDER TO ACT AS NORMAL AS POSSIBLE, THEN, OF

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 1    COURSE, THE PROVIDER WOULD BLOCK THE MESSAGES, YES.                        1    ISN'T THAT CORRECT?

 2    Q.   ACT AS NORMAL AS POSSIBLE SO NO ONE WOULD KNOW WHAT YOU               2    A.      AGAIN, THIS IS NOT MY --

 3    WERE DOING; RIGHT?                                                         3    Q.      NOT YOUR AREA?

 4    A.   AS WE SAW BEFORE, THE CODE WAS SENT PLAIN CORRECT TEXT.               4    A.      YEAH.

 5    SO IF SOMEONE WOULD LIKE TO VIEW THAT CODE, THEY HAVE THE                  5    Q.      OKAY. BUT WE AGREE, MR. GAZNELI, THAT HEAVEN WAS USED

 6    ABILITY.                                                                   6    REPEATEDLY OVER THE COURSE OF MONTHS, AT LEAST, TO TRIGGER THE

 7    Q.   YOU'RE NOT CHANGING YOUR TESTIMONY, MR. GAZNELI, THAT NSO             7    INSTALLATION OF PEGASUS ON USERS' DEVICES; WASN'T IT?

 8    DELIBERATELY MINIMIZED THE RISK OF DETECTION; CORRECT?                     8    A.      IT WAS USED FROM OCTOBER 2018 TO DECEMBER 2018.

 9    A.   NO, I'M NOT CHANGING ANYTHING.                                        9    Q.      OKAY. AND AFTER HEAVEN NO LONGER WORKED BECAUSE OF

10    Q.   RIGHT. YOU HAD A TEAM OF PEOPLE WHO WAS DEVOTED TO                   10    CHANGES THAT WHATSAPP HAD MADE, NSO DEVELOPED A NEW VECTOR THAT

11    PREVENTING DETECTION OF THIS; CORRECT?                                    11    ALSO TRIGGERED THE INSTALLATION OF PEGASUS BY TRANSMITTING

12    A.   YES.                                                                 12    MESSAGES THROUGH WHATSAPP SERVERS; ISN'T THAT RIGHT?

13    Q.   OKAY. AND THE REASON -- YOU UNDERSTOOD THAT THE REASON               13    A.      YES.

14    THAT WHATSAPP WOULD BLOCK THIS ACTIVITY IF THEY DETECTED IT WAS           14    Q.      AND THAT VECTOR WAS EDEN; ISN'T THAT RIGHT?

15    THAT NSO KNEW THAT WHATSAPP DID NOT WANT THIS ACTIVITY ON THEIR           15    A.      YES.

16    SERVERS; RIGHT?                                                           16    Q.      AND THEN EDEN WAS ALSO USED REPEATEDLY FOR A PERIOD OF

17    A.   I DON'T KNOW WHETHER WHATSAPP KNEW IT OR NOT.                        17    MONTHS TO INSTALL PEGASUS ON USERS' PHONES; ISN'T THAT RIGHT?

18    Q.   WELL, YOU CERTAINLY UNDERSTOOD IF THEY DETECTED IT, THEY             18    A.      YES.

19    WOULD BLOCK IT; RIGHT?                                                    19    Q.      ALL RIGHT. AND THEN IN MAY 2019, WHATSAPP BLOCKED, MADE

20    A.   THIS IS A STANDARD PROCEDURE IN ANY VECTOR, TO MINIMIZE              20    CHANGES THAT BLOCKED EDEN FROM WORKING; ISN'T THAT CORRECT?

21    THE FOOTPRINT AS I SAID BEFORE, YEAH.                                     21    A.      YES.

22    Q.   AND DESPITE KNOWING THAT WHATSAPP WOULD STOP THIS ACTIVITY           22    Q.      AND, AGAIN, NSO DEVELOPED YET ANOTHER VECTOR, ERISED, THAT

23    IF THEY DETECTED IT, DESPITE KNOWING THAT WHATSAPP DIDN'T WANT            23    WOULD TRIGGER INSTALLATION OF PEGASUS BY TRANSMITTING WHATSAPP

24    THIS ON THEIR SERVERS, NSO DID IT ANYWAY; ISN'T THAT RIGHT?               24    MESSAGES?

25    A.   AS I SAID, I DON'T KNOW WHAT WHATSAPP WANTED OR NOT. HOW             25    A.      THEY'RE NOT SAYING VECTORS. THAT'S VERY DIFFERENT IN

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 1    WOULD I KNOW?                                                              1    ESSENCE.

 2    Q.   AND NSO DID THAT REPEATEDLY; ISN'T THAT CORRECT?                      2    Q.      DIFFERENT VECTORS, MR. GAZNELI, BUT ALSO ACTIVATED THROUGH

 3    A.   AS I SAID BEFORE, WHEN THE RULES CHANGED, THE PRODUCT WAS             3    THE TRANSMISSION OF WHATSAPP MESSAGES, AT LEAST IN SOME

 4    ADJUSTED AND ACT ACCORDING TO THE NEW RULES.                               4    INSTANCES; ISN'T THAT RIGHT?

 5    Q.   WELL, IT WAS REPEATED IN A COUPLE DIFFERENT SENSES; RIGHT?            5    A.      SOME OF THEM. SOME OF THE WHATSAPP SERVERS. DIFFERENT

 6         LET ME BREAK IT DOWN FOR YOU.                                         6    VECTORS UNITED DIFFERENT WHATSAPP SERVERS.

 7         THE HEAVEN INSTALLATION VECTOR, WHICH USED WHATSAPP TO                7    Q.      NOW, YOU WERE ASKED -- WELL, SO YOU WOULD AGREE THAT THIS

 8    TRIGGER THE INSTALLATION OF PEGASUS ON USERS' DEVICES, THAT                8    WASN'T -- THAT THIS WAS A PATTERN OF BEHAVIOR BY NSO; CORRECT?

 9    WASN'T USED JUST ONCE, WAS IT?                                             9    A.      AS I SAID, THE -- THE DIFFERENT -- THE VECTORS WERE

10    A.   HEAVEN.                                                              10    DIFFERENT IN ESSENCE OF USING DIFFERENT WHATSAPP SERVERS, AND

11    Q.   THE HEAVEN INSTALLATION VECTOR WAS NOT USED ONLY ONE TIME,           11    SOME OF THEM WERE NO SERVERS USED, AT LEAST FOR THE -- EXCEPT

12    WAS IT, MR. GAZNELI?                                                      12    FOR THE WHATSAPP SIGNALLING SERVER.

13    A.   BY THE CUSTOMERS?                                                    13            SO IF YOU WANT TO TALK ABOUT THE DIFFERENCE, THE

14    Q.   BY WHOEVER WAS USING IT?                                             14    DIFFERENCES BETWEEN THEM, WE CAN TALK ABOUT IT.

15    A.   BY CUSTOMERS, AS I SAID, AS LONG AS IT WAS ACTIVE, IT WAS            15    Q.      WELL, WHY DON'T WE TALK ABOUT WHAT'S THE SAME BETWEEN

16    USED.                                                                     16    THEM, BECAUSE FOR PURPOSES OF THIS CASE, THEY HAVE ONE VERY

17    Q.   IT WAS USED MANY TIMES; ISN'T THAT RIGHT?                            17    IMPORTANT THING IN COMMON, WHICH IS THAT THEY ALL TRIGGERED THE

18    A.   AS FAR AS THEY HAD THE RIGHT TO USE IT, YEAH.                        18    INSTALLATION OF PEGASUS BY TRANSMITTING MESSAGES THROUGH

19    Q.   I'M SORRY?                                                           19    WHATSAPP SERVERS; ISN'T THAT CORRECT?

20    A.   AS FAR AS THE FOUND RIGHT, THEY NEEDED TO BE USED.                   20    A.      THEY ALL USED WHATSAPP SIGNALLING SERVER IN ORDER TO

21    Q.   SO IT WAS USED AS MANY TIMES AS THE CUSTOMERS WANTED;                21    TRANSMIT.

22    RIGHT?                                                                    22    Q.      RIGHT, IN ORDER TO TRIGGER INSTALLATION OF PEGASUS;

23    A.   NO. THE CUSTOMERS HAD THE LIMITED ABILITY -- THE LIMITED             23    CORRECT?

24    AMOUNT OF USE TO THEM TO DO.                                              24    A.      IT COULDN'T BE DONE ONLY BY USING THE SERVER. BUT AS PART

25    Q.   RIGHT. AND IF THEY WANT MORE USES, NSO CHARGES THEM MORE;            25    OF THEM, YES.

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 1    Q.   RIGHT. AND THE PURPOSE -- I THINK YOU TESTIFIED AT YOUR                1                MR. AKROTIRIANAKIS: YES, YOUR HONOR. I'LL JUST ASK

 2    DEPOSITION, WITHOUT INSTALLATION, THERE IS NO OBTAINING OF                  2    THE QUESTION AND IF THERE'S STILL ON OBJECTION --

 3    INFORMATION; RIGHT?                                                         3                THE COURT: OKAY.

 4    A.   YES.                                                                   4                           REDIRECT EXAMINATION

 5    Q.   RIGHT. SO IT WAS COMMON TO ALL THREE OF THESE VECTORS                  5    BY MR. AKROTIRIANAKIS:

 6    THAT THEY'RE USING THE SERVERS IN ORDER TO MAKE THE EXTRACTION              6    Q.      IN RESPONSE TO MR. PEREZ'S QUESTIONS, YOU -- WELL, IN

 7    OF INFORMATION POSSIBLE; CORRECT?                                           7    MR. PEREZ'S QUESTIONS, YOU WERE ASKED WHICH OF THE VECTORS USED

 8    A.   YES.                                                                   8    WHATSAPP SERVERS AND SIGNALLING SERVERS VERSUS RELAY SERVERS.

 9         (DISCUSSION OFF THE RECORD BETWEEN PLAINTIFFS' COUNSEL.)               9    I WANT TO ASK YOU A FOLLOW-UP QUESTION TO THAT.

10    BY MR. PEREZ:                                                              10            WHICH OF THE THREE HUMMINGBIRD VECTORS USED WHATSAPP

11    Q.   MR. GAZNELI, YOU'RE THE VICE PRESIDENT OF RESEARCH AND                11    SIGNALLING SERVERS IN SOME WAY?

12    DEVELOPMENT?                                                               12    A.      ALL OF THEM.

13    A.   YES.                                                                  13    Q.      AND WHICH OF THE HUMMINGBIRD VECTORS USED WHATSAPP RELAY

14    Q.   YOU CONSIDER YOURSELF A SENIOR OFFICER OF THE COMPANY?                14    SERVERS?

15    A.   YEAH.                                                                 15                MR. PEREZ: OBJECTION, YOUR HONOR. SAME OBJECTION

16    Q.   PART OF THE MANAGEMENT TEAM?                                          16    THAT I MADE BEFORE, AS WELL AS 403.

17    A.   YES.                                                                  17                THE COURT: ALL RIGHT. I THINK I'M GOING TO ALLOW IT

18    Q.   SUBSTANTIAL AUTHORITY AT THE COMPANY?                                 18    AT THIS TIME GIVEN THE AMOUNT OF TESTIMONY WE'VE HEARD ON THE

19    A.   YES.                                                                  19    SIGNALLING -- ON THE TWO DIFFERENT KINDS OF SERVERS.

20    Q.   A ROLE IN CORPORATE DECISION MAKING?                                  20            HE MAY ANSWER.

21    A.   YEAH.                                                                 21                THE WITNESS: ONLY EDEN.

22    Q.   OKAY. AND THIS CONDUCT THAT WE DESCRIBED THAT WE'VE JUST              22    BY MR. AKROTIRIANAKIS:

23    RUN THROUGH FOR THE JURY WHEREBY AN INSTALLATION VECTOR WAS                23    Q.      OKAY. AND TO REORIENTING THE JURY TO YOUR EARLIER

24    BLOCKED AND THEN NSO GOT BACK TO WORK AND DESIGNED A NEW WAY OF            24    TESTIMONY, EDEN WAS THE VECTOR THAT WE SAW WAS CLOSED ON

25    USING WHATSAPP SERVERS TO TRIGGER INSTALLATION OF PEGASUS,                 25    MAY 12TH, 2019; CORRECT?

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 1    THAT'S WORK THAT YOU WERE PERSONALLY INVOLVED IN; RIGHT?                    1    A.      YES.

 2    A.   YES.                                                                   2    Q.      OKAY. AND NO VECTOR BEFORE -- AND THAT WAS NOT THE FIRST

 3    Q.   RIGHT. THAT'S WORK THAT YOU OVERSAW AND APPROVED?                      3    VECTOR? WHICH WAS THE FIRST IN TIME VECTOR?

 4    A.   YES.                                                                   4    A.      HEAVEN.

 5    Q.   AND YOU AUTHORIZED?                                                    5    Q.      AND WHAT WAS THE TIME PERIOD DURING WHICH THE HEAVEN

 6    A.   YES.                                                                   6    VECTOR WAS OPEN?

 7    Q.   ARE YOU AWARE OF THE COURT'S RULING THAT NSO'S WORK IN                 7    A.      OCTOBER 2019 TO DECEMBER 2019. OCTOBER 2018 TO DECEMBER

 8    REDESIGNING PEGASUS TO OVERCOME WHATSAPP'S UPDATES REFLECTED AN             8    2018.

 9    UNLAWFUL INTENT IN VIOLATION OF UNITED STATES LAW?                          9    Q.      OKAY. AND THAT HAD NOTHING TO DO WITH RELAY SERVERS?

10    A.   I'M AWARE OF THE RULING, YEAH.                                        10    A.      NOT WHATSAPP RELAY SERVERS.

11    Q.   YEAH. AND THAT IS -- THAT WORK, REDESIGNING PEGASUS,                  11    Q.      ALL RIGHT. YOU WERE ASKED SOME QUESTIONS ABOUT WHETHER A

12    THAT'S WORK THAT YOU PERSONALLY PARTICIPATED -- PARTICIPATED               12    MOBILE PHONE NUMBER HAD A WHATSAPP ACCOUNT ASSOCIATED TO IT.

13    IN, APPROVED, AND AUTHORIZED; CORRECT?                                     13            DO YOU RECALL THOSE QUESTIONS?

14    A.   YES.                                                                  14    A.      YES.

15             MR. PEREZ: NO MORE QUESTIONS AT THIS TIME,                        15    Q.      ALL RIGHT. DO YOU USE WHATSAPP?

16    YOUR HONOR.                                                                16    A.      YES.

17             THE COURT: ALL RIGHT. ANY REDIRECT?                               17    Q.      ME, TOO.

18             MR. AKROTIRIANAKIS: I JUST HAVE ONE QUESTION,                     18            IF I CALLED YOU RIGHT NOW USING WHATSAPP AND I HAD YOU AS

19    YOUR HONOR. IF I MAY? I THINK THAT IT'S -- IT WAS PLAINLY --               19    A CONTACT IN MY PHONE, WOULD THE INFORMATION THAT I RECEIVED ON

20             THE COURT: WHICH?                                                 20    MY -- IT'S OVER THERE -- IPHONE BE THE SAME INFORMATION THAT

21             MR. AKROTIRIANAKIS: THE ONE THAT WE DISCUSSED AT THE              21    YOU WERE TALKING ABOUT, WHETHER THE NUMBER IS A WHATSAPP

22    BREAK, I THINK IT'S PLAINLY THE SUBJECT OF THAT EXAMINATION AND            22    ACCOUNT?

23    FAIRY DIRECT.                                                              23    A.      YES.

24             THE COURT: I'M SORRY, I DON'T REMEMBER WHAT WE                    24    Q.      ALL RIGHT. AND IF YOU USED YOUR WHATSAPP TO CALL

25    DISCUSSED AT THE BREAK. THAT WAS AN HOUR AGO.                              25    MR. PEREZ ON HIS WHATSAPP, WOULD THAT BE THE SAME INFORMATION

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 1    THAT WOULD RETURN FROM THE SERVER, WHETHER MR. PEREZ'S MOBILE         1    DISCUSSED.

 2    NUMBER HAS A WHATSAPP ACCOUNT?                                        2                THE COURT: OKAY. I JUST WANT TO BE SURE, WITH

 3    A.   YES.                                                             3    REGARD TO 1021, TWO THINGS. I WENT BACK TO LOOK AT THE SECOND

 4    Q.   DOES THAT HAVE ANYTHING TO DO WITH PEGASUS?                      4    PRETRIAL ORDER, AND IT SAYS I DISALLOWED THE ADMISSION OF 1026

 5    A.   NO.                                                              5    AND ANY EXHIBITS ARRIVING OUT OF THE SAME EMAIL THREAD.

 6    Q.   ALL RIGHT. IS THAT INFORMATION THAT WHATSAPP KEEPS SECRET        6            IS THIS PART OF THAT EMAIL THREAD?

 7    IN ANY WAY?                                                           7                MR. CRAIG: IT -- THE CONTENT OF EXHIBIT 1026 HAS

 8    A.   NO.                                                              8    BEEN REDACTED IN ITS ENTIRETY FROM EXHIBIT 1021.

 9               MR. AKROTIRIANAKIS: NOTHING FURTHER, YOUR HONOR.           9                MR. ANDRES: I'M SORRY, YOUR HONOR. THE ANSWER TO

10               THE COURT: ALL RIGHT.                                     10    YOUR QUESTION IS YES.

11               MR. PEREZ: I THINK JUST ONE QUICK ISSUE.                  11                THE COURT: OKAY. THAT'S -- THAT'S ALL I'M GETTING

12                          RECROSS-EXAMINATION                            12    AT, BECAUSE I'M TRYING TO BE CONSISTENT THROUGHOUT, AND IT'S

13    BY MR. PEREZ:                                                        13    REALLY DIFFICULT WITH ALL OF THESE DOCUMENTS.

14    Q.   MR. GAZNELI, NSO'S LAWYER WAS JUST ASKING YOU WHETHER THE       14            AND YESTERDAY I INDICATED THAT I ALREADY APPROVED THE

15    INFORMATION THAT NSO OBTAINED AS PART OF THIS FINGERPRINTING         15    REDACTIONS OF THIS, BUT THEN WHEN I WENT BACK TO LOOK AT THE

16    PROCESS, WHETHER THAT WAS SIMILAR, AT LEAST WITH RESPECT TO          16    SECOND PRETRIAL ORDER, I CLEARLY ALREADY MADE A DETERMINATION

17    WHETHER THE TARGET HAD A WHATSAPP ACCOUNT, WHETHER THAT WAS          17    WITH REGARD TO ANY PARTS OF THAT EMAIL THREAD.

18    SIMILAR TO WHAT YOU OR I WOULD OBTAIN IF WE WERE CALLING ONE         18            IS THIS PART OF THE EMAIL THREAD? IF IT IS, THEN IT CAN'T

19    ANOTHER BY WHATSAPP.                                                 19    COME IN.

20         DO YOU RECALL THAT?                                             20                MR. CRAIG: YOUR HONOR, I COULDN'T SAY IT'S PART OF

21    A.   YES.                                                            21    THE SAME EMAIL THREAD.

22    Q.   IF I USED MY MOBILE PHONE TO CALL YOUR MOBILE PHONE;            22            I WOULD SAY THAT YOUR HONOR HADN'T LOOKED AT EXHIBIT 1021

23    RIGHT?                                                               23    BEFORE YOU MADE YOUR RULING BECAUSE IT WASN'T ANYWHERE IN THE

24    A.   YES.                                                            24    RECORD, AND ONCE YOUR HONOR LOOKED AT IT, WE -- I MEAN, WE'VE

25    Q.   THAT WAS THE QUESTION YOU WERE JUST ASKED?                      25    HAD AMPLE DISCUSSION ABOUT THIS OUTSIDE THE JURY'S PRESENCE.

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 1    A.   YES.                                                             1                THE COURT: WHO WAS ON THE ORIGINAL THREAD THAT I

 2    Q.   BUT WHEN NSO IS SENDING THESE MESSAGES, IT WASN'T USING A        2    LOOKED AT? 1026? WERE THESE SAME PEOPLE ON THAT?

 3    MOBILE PHONE; RIGHT?                                                  3                MR. CRAIG: NO. THERE WERE MANY MORE PEOPLE ON

 4    A.   IT WAS USING A CLIENT THAT WAS INSTALLED.                        4    EXHIBIT 1026 THAN --

 5    Q.   RIGHT. IT WAS USING THE WIS, CORRECT, TO GENERATE THE            5                THE COURT: THIS, TO ME, SEEMS TO BE A PRETTY EASY

 6    MESSAGES?                                                             6    ISSUE. I SAID THIS EXHIBIT CAN'T COME IN IF IT'S PART OF THE

 7    A.   THE MESSAGES WERE GENERATED BY WIS, BUT IT WAS SENT              7    SAME EMAIL THREAD. IT EITHER IS OR IT ISN'T.

 8    THROUGH A CLIENT THAT WAS INSTALLED ON THE DEVICE.                    8            DOES ANYONE KNOW?

 9    Q.   RIGHT. AND THAT CAPABILITY TO GENERATE THESE MESSAGES            9                MR. AKROTIRIANAKIS: IT ISN'T, YOUR HONOR. THIS IS

10    THROUGH THE WIS, THAT WAS PART OF THE CAPABILITY THAT NSO            10    ABOVE THAT EMAIL THREAD. THERE ARE ADDITIONAL MESSAGES ABOUT

11    DEVELOPED THROUGH THIS MULTI-MONTH, YEAR LONG R&D PROCESS;           11    DIFFERENT TOPICS THAN WHAT IS IN THE LOWER PART, OR THE EARLIER

12    ISN'T THAT RIGHT?                                                    12    MESSAGES IN TIME. THAT WAS WHAT WE EXPLAINED TO YOUR HONOR.

13    A.   YES.                                                            13                THE COURT: OKAY. DID THIS PRECEDE --

14               MR. PEREZ: THANK YOU. NOTHING FURTHER, YOUR HONOR.        14                MR. AKROTIRIANAKIS: NO, NO, IT CAME AFTER. IT CAME

15               THE COURT: OKAY. THANK YOU.                               15    AFTER. IT'S ADDITIONAL INFORMATION THAT CAME LATER IN TIME IN

16         I ASSUME THAT'S IT?                                             16    SUBSEQUENT EMAILS, INCLUDING OTHER PEOPLE, OR DIFFERENT PEOPLE,

17               MR. AKROTIRIANAKIS: YES. THANK YOU, YOUR HONOR.           17    THAN THE EARLIER MESSAGES.

18               THE COURT: ALL RIGHT. THANK YOU, MR. GAZNELI. YOU         18                THE COURT: OKAY.

19    MAY STEP DOWN.                                                       19                MR. ANDRES: YOUR HONOR, THAT SOUNDS LIKE IT'S PART

20         MR. AKROTIRIANAKIS, CALL YOUR NEXT WITNESS, PLEASE.             20    OF THE SAME THREAD.

21               MR. AKROTIRIANAKIS: YES, YOUR HONOR. WE'RE GOING TO       21            I'M NOT AN EMAIL THREAD EXPERT, BUT WHEN ALL THE EMAILS

22    PLAY A VIDEO, SO --                                                  22    COME TOGETHER, THAT'S WHAT A THREAD IS.

23               MR. CRAIG: YOUR HONOR, WE'RE GOING TO PLAY THE VIDEO      23            THIS IS PART OF THE SAME THREAD, WHICH YOUR HONOR RULED IT

24    TESTIMONY OF WITNESS SUSAN GLICK, AND WE'D LIKE TO MOVE INTO         24    SHOULDN'T COME IN.

25    EVIDENCE IN ADVANCE OF THE TESTIMONY EXHIBIT 1021, MUCH              25            I THINK MR. AKROTIRIANAKIS BASICALLY JUST TESTIFIED TO

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                                                                                                6
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       17         FOR THE PLAINTIFFS:      DAVIS POLK & WARDWELL                               14
                                           BY: GREG D. ANDRES
       18                                       ANTONIO J. PEREZ                               15
                                           450 LEXINGTON AVENUE
       19                                  NEW YORK, NEW YORK 10017
                                                                                               16
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                                                                                                5
                    BY: JOSEPH N. AKROTIRIANAKIS                                                    264 (REDACTED)                   1210
  5                    AARON S. CRAIG                                                           6
                    633 WEST FIFTH STREET, SUITE 1600
  6                 LOS ANGELES, CALIFORNIA 90071                                               7

                                                                                                8   DEFENDANTS'
  7                           BY: MATTHEW V. NOLLER
                              50 CALIFORNIA STREET, SUITE 3300                                  9
  8                           SAN FRANCISCO, CALIFORNIA 94111
                                                                                               10
  9
                                                                                               11

 10   ALSO PRESENT:                 CURT EVANS                                                 12
                              BRIAN BAKALE
 11                                                                                            13
 12
                                                                                               14
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 1    A.   THE SCREEN IS ENOUGH.                                                      1    A.   YES, THAT'S WHAT I'VE DEALT WITH THROUGH ALL OF MY

 2    Q.   MS. TREXLER, WHAT IS EXHIBIT A-1779?                                       2    SCHOOLING AND MY ENTIRE CAREER.

 3    A.   THIS IS THE NSO TECHNOLOGIES BALANCE SHEET FOR THE YEARS                   3    Q.   OKAY. I THINK WE'VE DONE NOW THE NUMBERS FOR NSO GROUP AS

 4    ENDED DECEMBER 2023 AND 2024.                                                   4    OF THE END OF 2023.

 5    Q.   WHAT IS A BALANCE SHEET?                                                   5         BUT WAS THERE ANYTHING ELSE FOR THAT YEAR THAT YOU WANTED

 6    A.   ESSENTIALLY A BALANCE SHEET SHOWS THE COMPANY'S ASSETS,                    6    TO HIGHLIGHT FOR THE JURY?

 7    LIABILITIES, AND EQUITY, AND THERE'S A BASIC FORMULA IN                         7    A.   I THINK THAT'S IT WITH RESPECT TO THE NUMBERS.

 8    ACCOUNTING FOR THE BALANCE SHEET BECAUSE IT HAS TO BALANCE.                     8         THERE'S SOME OTHER THINGS THAT I THINK WE NEED TO CLEAR UP

 9         AND SO WHAT THAT MEANS IS TOTAL ASSETS NEED TO EQUAL TOTAL                 9    WITH RESPECT TO THE TRADE ACCOUNTS RECEIVABLE.

10   LIABILITIES, PLUS TOTAL EQUITY.                                                 10         THERE WAS SOME TESTIMONY THAT THE TRADE ACCOUNTS

11         SO IF WE LOOK AT THIS BALANCE SHEET, YOU CAN SEE THE TOTAL                11    RECEIVABLE OF $189.7 MILLION WAS UNCOLLECTIBLE, AND I THINK

12   ASSETS LINE ITEM OF $244.3 MILLION.                                             12    THAT IT WAS PAPER MONEY.

13         IF I TAKE THE TOTAL CURRENT LIABILITIES OF $84.3 MILLION,                 13         THAT IS INCONSISTENT WITH WHAT AN AUDITED FINANCIAL

14   ADD THAT TO TOTAL NON-CURRENT LIABILITIES OF $26.2 MILLION, I                   14    STATEMENT WOULD SHOW, AND MR. SHOHAT TESTIFIED THAT THE NUMBERS

15   THINK THAT'S APPROXIMATELY $110.4 MILLION.                                      15    ON THIS BALANCE SHEET FOR 2023 ARE IDENTICAL TO THE NUMBERS ON

16         AND THAT, PLUS THE EQUITY OF $133.9 MILLION, EQUALS                       16    THE AUDITOR'S AUDITED FINANCIAL STATEMENTS THAT THEY RECEIVED A

17   $244.3 MILLION OF TOTAL LIABILITIES, PLUS EQUITY.                               17    FEW DAYS AGO.

18         SO YOU CAN SEE THE TOTAL ASSETS EQUAL THE TOTAL                           18         AND THE PURPOSE OF AN AUDIT IS TO TEST THE BALANCES IN THE

19   LIABILITIES, PLUS EQUITY.                                                       19    COMPANY'S FINANCIAL STATEMENTS TO MAKE SURE THAT THEY ARE NOT

20    Q.   WOULD IT HELP YOU TO HAVE A CALCULATOR, MS. TREXLER?                      20    MATERIALLY MISSTATED.

21    A.   IF I COULD? THEN I CAN CONFIRM MY MENTAL MATH HERE.                       21         WHAT DOES THAT MEAN FROM A BALANCE SHEET PERSPECTIVE?

22             MR. BLOCK: MAY I APPROACH, YOUR HONOR.                                22         IT MEANS THAT WHAT'S REPORTED AS AN ASSET HAS TO BE

23             THE COURT: YES.                                                       23    COLLECTIBLE. IT HAS TO BE REAL.

24             THE WITNESS: THANK YOU.                                               24         AND SO THE AUDITOR SIGNING OFF ON A $189.7 MILLION TRADE

25             MR. BLOCK: (HANDING.)                                                 25    ACCOUNTS RECEIVABLE MEANS THAT THEY TESTED THAT BALANCE, THEY

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 1             THE WITNESS: SO I'M GOING TO TAKE THE TOTAL CURRENT                    1    CONFIRMED THAT THE BALANCE IS REAL, AND THAT IT'S COLLECTIBLE.

 2    LIABILITIES OF 84.3 MILLION, ADD THE 26.2 MILLION, AND IT GIVES                 2         IF IT WEREN'T, THE AUDITORS WOULD HAVE REQUIRED THE

 3    ME ABOUT $111 MILLION.                                                          3    COMPANY TO WRITE OFF ON COLLECTABLE RECEIVABLES, AND THEY

 4         WHEN I ADD THAT TO 133.9, THAT GIVES ME THE 244.3 MILLION                  4    WOULDN'T BE ALLOWED TO REPORT THEM. IT WOULD BE A MATERIAL

 5   IN TOTAL LIABILITIES AND EQUITY.                                                 5    MISSTATEMENT IF $189.7 MILLION WASN'T COLLECTIBLE.

 6         NOW, I DO WANT TO POINT OUT, IF YOU LOOK AT THE LAST LINE                  6         THE OTHER THING TO NOTE IS TRADE ACCOUNTS RECEIVABLE ARE A

 7   OF THIS BALANCE SHEET WHERE IT HAS THE $244.3 MILLION, THAT                      7    CURRENT ASSET, AND WHAT A CURRENT ASSET IS IS AN ASSET THAT IS

 8   JUST SAYS TOTAL LIABILITIES.                                                     8    EXPECTED TO BE COLLECTED WITHIN A 12 MONTH PERIOD DURING THE

 9         I BELIEVE THAT'S A TYPO FOR THE EQUITY PIECE THAT CUT OFF,                 9    NORMAL BUSINESS OPERATING CYCLE.

10   BECAUSE THAT REPRESENTS TOTAL LIABILITIES, PLUS EQUITY, WHICH I                 10         SO NOT ONLY IS $189.7 MILLION COLLECTIBLE, IT'S EXPECTED

11   JUST SHOWED YOU THROUGH THE MATH.                                               11    TO CONVERT TO CASH WITHIN 12 MONTHS.

12         SO THERE'S -- I JUST THINK THERE'S A TYPO ON THIS                         12    Q.   IS THERE ANYTHING ELSE IN THESE FINANCIAL STATEMENTS THAT

13   DOCUMENT.                                                                       13    BEARS ON YOUR UNDERSTANDING OF THAT TRADE ACCOUNTS RECEIVABLE

14    BY MR. BLOCK:                                                                  14    LINE ITEM?

15    Q.   DO YOU SEE AT THE TOP OF THIS DOCUMENT, THERE'S A SMALL                   15    A.   YES. MR. SHOHAT ALSO TESTIFIED THAT THE COMPANY SPENDS

16    INDICATION THAT SAYS GAAP.                                                     16    ABOUT $10 MILLION A MONTH, OR $120 MILLION A YEAR, ON ITS

17    A.   YES, IN THE SOURCE FILE CODE IT SAYS GAAP. THAT STANDS                    17    EXPENSES.

18    FOR GENERALLY ACCEPTED ACCOUNTING PRINCIPLES, WHICH ARE                        18         AND THE TRADE ACCOUNTS RECEIVABLE IS THE LARGEST ASSET

19    ESSENTIALLY THE RULES THAT ARE FOLLOWED IN ACCOUNTING WHICH                    19    THAT IS ON THE NSO BALANCE SHEET, AND IF THAT WAS NOT

20    MAKE FINANCIAL STATEMENTS COMPARABLE FROM PERIOD TO PERIOD AND                 20    CONVERTING TO CASH, NSO WOULD BE UNABLE TO PAY THAT $10 MILLION

21    BETWEEN COMPANY TO COMPANY. YOU KNOW THAT THEY'RE FOLLOWING                    21    A MONTH, $120 MILLION A YEAR UNLESS THEY WERE TAKING ON

22    THE SAME RULES.                                                                22    ADDITIONAL DEBT, WHICH I CAN SEE FROM THIS BALANCE SHEET THAT

23    Q.   DOES YOUR EXPERTISE AS A CERTIFIED PUBLIC ACCOUNTANT                      23    THEY WEREN'T.

24    INCLUDE EXPERIENCE WITH THE GENERALLY ACCEPTED ACCOUNTING                      24         THEIR DEBT'S RELATIVELY LOW. AND IF WE LOOK AT THE LOANS

25    PRINCIPLES?                                                                    25    PAYABLE AMOUNT IN CURRENT LIABILITIES, IT'S $19.5 MILLION.

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 1          SO I'M GOING TO DO SOME MATH HERE. SO IT'S THE 19.5, I             1    A.   YES. IT SHOWS TOTAL NET WORTH OF $133.9 MILLION, WHICH IS

 2    ADD THAT TO THE LONG-TERM LOAN NET OF $13.1 MILLION -- OH, AND           2    REPRESENTED BY THE TOTAL EQUITY LINE.

 3    I'M SORRY, I ALSO FORGOT, IF WE GO BACK UP TO CURRENT                    3         SO IT'S TOTAL ASSETS MINUS TOTAL CURRENT LIABILITIES MINUS

 4    LIABILITIES, THERE'S THE CURRENT MATURITIES OF LONG-TERM LOAN,           4    TOTAL NON-CURRENT LIABILITIES, THAT GIVES YOU THE TOTAL EQUITY

 5    THAT'S 18.4.                                                             5    AMOUNT, WHICH IS THE SAME THING AS NET WORTH.

 6          THAT SHOWS ABOUT $51 MILLION IN DEBT.                              6    Q.   WILL YOU PLEASE TAKE THE JURY THROUGH NSO'S BALANCE SHEET

 7          NOW, THE REASON I KNOW THEY'RE NOT TAKING ON MORE IS IF WE         7    FIGURES AS OF THE END OF 2024?

 8    MOVE OVER TO 2024 AND YOU LOOK AT THE LOANS PAYABLE AMOUNT,              8    A.   YES. TOTAL ASSETS ARE $221.2 MILLION, TOTAL LIABILITIES

 9    THEY PAID OFF THE $19.5 MILLION IN DEBT. THAT TAKES CASH TO              9    ARE CALCULATED AS THE TOTAL CURRENT LIABILITIES OF

10    PAY IT OFF.                                                             10    78.5 MILLION, PLUS THE TOTAL NON-CURRENT LIABILITIES OF

11          YOU CAN SEE THAT THEIR CURRENT MATURITIES ARE                     11    21.1 MILLION, WHICH IS ABOUT $100 MILLION IN LIABILITIES.

12    $21.1 MILLION, AND THEN IF I LOOK AT THE LONG-TERM LOAN, THAT'S         12         TOTAL EQUITY IS 121.7 MILLION, AND WHEN I ADD 100 MILLION

13    $8 MILLION.                                                             13    AND THE $121 MILLION OF TOTAL EQUITY, I GET TOTAL LIABILITIES

14          SO THEIR DEBT FROM 2023 WENT FROM 51 MILLION TO                   14    AND EQUITY OF 120 -- SORRY -- $221.2 MILLION.

15    29 MILLION. SO THEY PAID OFF $22 MILLION OF DEBT. THEY'RE NOT           15    Q.   DOES THIS SHOW NSO'S NET WORTH AS OF THE END OF 2024?

16    TAKING ON MORE DEBT, THEY'RE PAYING IT DOWN, AND THAT MEANS             16    A.   YES. THAT'S THE $121.7 MILLION THAT'S REPRESENTED BY THE

17    THAT THESE RECEIVABLES ARE BEING COLLECTED. THEY'RE CONVERTING          17    TOTAL EQUITY LINE ITEM.

18    TO CASH.                                                                18    Q.   OKAY. LET'S LOOK AT Q CYBER.

19     Q.   MS. TREXLER, WHAT IS A -- I THINK YOU DISCUSSED CURRENT           19         CAN WE SEE A-1780 ON SCREEN, PLEASE.

20     ASSETS.                                                                20         MS. TREXLER, WHAT IS THIS DOCUMENT?

21          WHAT'S A NON-CURRENT ASSET?                                       21    A.   THIS IS THE Q CYBER ISRAEL BALANCE SHEET FOR THE YEAR

22     A.   SO A CURRENT ASSET IS ONE THAT'S EXPECTED TO CONVERT TO           22    ENDED -- THE YEARS ENDED DECEMBER 2023 AND 2024.

23     CASH WITHIN A 12 MONTH PERIOD.                                         23    Q.   WHAT'S THE LAST LINE ITEM LABELED ON THIS DOCUMENT?

24          A NON-CURRENT ASSET IS AN ASSET THAT'S EXPECTED TO CONVERT        24    A.   THIS IS ALSO LABELED TOTAL LIABILITIES, AND THAT SHOULD

25    TO CASH IN A PERIOD THAT TAKES LONGER THAN 12 MONTHS, BUT IT'S          25    READ TOTAL LIABILITIES AND EQUITY.

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 1    STILL EXPECTED TO TURN INTO CASH. JUST LIKE WITH THE TRADE               1    Q.   OKAY. WOULD YOU PLEASE WALK THE JURY THROUGH Q CYBER'S

 2    ACCOUNTS RECEIVABLE, IF THE AUDITORS DIDN'T BELIEVE THAT THE             2    2023 NUMBERS?

 3    CURRENT ASSETS WERE -- OR THE NON-CURRENT ASSETS WEREN'T                 3    A.   Q CYBER HAD TOTAL ASSETS OF $216.2 MILLION; THEY HAVE

 4    CONVERTIBLE TO CASH, THEY WOULD NOT ALLOW NSO TO REPORT THAT             4    CURRENT LIABILITIES OF $17 MILLION; TOTAL NON-CURRENT

 5    BALANCE ON THE FINANCIAL STATEMENTS, OR IT WOULD BE MATERIAL --          5    LIABILITIES OF $2.1 MILLION. SO THAT'S TOTAL LIABILITIES OF

 6    MATERIALLY MISSTATING THE BALANCE SHEET.                                 6    ABOUT $19.1 MILLION.

 7     Q.   DID YOU HEAR MR. SHOHAT'S TESTIMONY ABOUT THE DEFINITION           7         AND THEY HAVE TOTAL EQUITY OF $197.1 MILLION.

 8     OF NON-CURRENT ASSETS?                                                  8         SO WHEN I TAKE THE $19 MILLION IN LIABILITIES, PLUS THE

 9     A.   YES. MR. SHOHAT SAID THAT NON-CURRENT ASSETS WERE NOT              9    EQUITY, THAT GIVES ME TOTAL LIABILITIES AND EQUITY OF

10     EXPECTED TO BE CONVERTED TO CASH, AND THAT'S JUST FACTUALLY            10    $216.2 MILLION.

11     INCORRECT.                                                             11    Q.   AND DOES THIS SHOW Q CYBER'S NET WORTH AS OF THE END OF

12          HE ALSO TESTIFIED THAT TOTAL ASSETS EQUAL TOTAL                   12    2023?

13    LIABILITIES, WHICH IS NOT THE FORMULA FOR THE BALANCE SHEET.            13    A.   IT DOES. THAT'S THE TOTAL EQUITY LINE ITEM OF

14          SO I THINK THERE WAS SOME, YOU KNOW, MISUNDERSTANDING OF          14    $197.1 MILLION.

15    SOME OF THE ACCOUNTING DEFINITIONS IN THE WAY THAT THE BALANCE          15         SO, AGAIN, THE NET WORTH IS THE OWNER'S INTEREST IN THE

16    SHEET WORKS.                                                            16    EXTRA ASSETS AFTER YOU SUBTRACT ALL LIABILITIES.

17     Q.   ARE YOU FAMILIAR WITH THE CONCEPT OF NET WORTH?                   17    Q.   WOULD YOU PLEASE WALK THE JURY THROUGH THE KEY FIGURES FOR

18     A.   YES, I AM.                                                        18    Q CYBER FOR 2024.

19     Q.   WHAT IS THAT?                                                     19    A.   TOTAL ASSETS ARE $203.6 MILLION; TOTAL CURRENT LIABILITIES

20     A.   NET WORTH IS THE -- THE FORMULA FOR IT IS TOTAL ASSETS            20    ARE 17.1 MILLION; TOTAL NON-CURRENT LIABILITIES ARE

21     MINUS TOTAL LIABILITIES, AND WHAT IT REPRESENTS IS ESSENTIALLY         21    2.1 MILLION.

22     THE OWNER'S INTEREST IN THE REMAINING ASSETS AFTER LIABILITIES         22         SO ADDING THOSE TOGETHER, THAT'S ABOUT 19 .2 MILLION IN

23     ARE DEDUCTED FROM THOSE ASSETS.                                        23    TOTAL LIABILITIES.

24     Q.   DOES THIS DOCUMENT, WHICH I THINK IS 1779, SHOW YOU NSO'S         24         TOTAL EQUITY IS $184.5 MILLION.

25     NET WORTH FOR -- AS OF THE END OF 2023?                                25         AND WHEN I ADD THE TOTAL LIABILITIES AND THE TOTAL EQUITY,

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 1   THAT EQUALS $203.6 MILLION.                                                  1    Q.   AND DOES YOUR PREVIOUS EXPLANATION OF THIS KIND OF FORM

 2    Q.   WHAT WAS THE NET WORTH OF Q CYBER AS OF THE END OF 2024,               2    APPLY TO THIS DOCUMENT AS WELL?

 3    JUST A FEW MONTHS AGO?                                                      3    A.   YES, IT DOES.

 4    A.   $184.5 MILLION AT THE END OF 2024.                                     4    Q.   OKAY.

 5    Q.   LOOKING BACK OVER THESE BALANCE SHEETS FOR NSO AND                     5         JUST ONE MOMENT, PLEASE.

 6    Q CYBER, DO THEY SHOW DEFENDANTS' LEVEL OF DEBT?                            6         (DISCUSSION OFF THE RECORD BETWEEN PLAINTIFFS' COUNSEL.)

 7    A.   THEY DO, AND THE DEBT IS RELATIVELY LOW. I WALKED YOU                  7                MR. BLOCK: NO MORE QUESTIONS AT THIS TIME.

 8    THROUGH THE DEBT FROM NSO'S BALANCE SHEET, AND AS YOU CAN SEE,              8         THANK YOU, MS. TREXLER.

 9    NSO WAS PAYING IT DOWN BETWEEN 2023 AND 2024.                               9                THE COURT: THANK YOU.

10    Q.   OKAY. CAN WE SEE A-1781 ON SCREEN, PLEASE, THIRD DOCUMENT             10         CROSS?

11    OF FOUR.                                                                   11                            CROSS-EXAMINATION

12         MS. TREXLER, WHAT IS EXHIBIT A-1781?                                  12    BY MR. CRAIG:

13    A.   THIS IS NSO TECHNOLOGIES PROFIT AND LOSS, OTHERWISE KNOWN             13    Q.   I DON'T THINK I NEED ANY OF THE EXHIBITS, OTHER THAN THE

14    AS AN INCOME STATEMENT, FOR THE PERIOD ENDING DECEMBER 2023,               14    ONES MS. TREXLER HAS IN FRONT OF HER, BUT IF I DO, I'D ASK THE

15    AND ALSO THE PERIOD ENDING DECEMBER 2024.                                  15    COURT'S PERMISSION TO GO GET MY BINDER.

16    Q.   AND WILL YOU WALK THE JURY THROUGH SOME OF THE KEY FIGURES            16                THE COURT: SURE.

17    FOR THE YEAR-ENDED 2023, PLEASE?                                           17    BY MR. CRAIG:

18    A.   NSO HAD REVENUES OF $91.3 MILLION; THEY REPORTED GROSS                18    Q.   MS. TREXLER, YOU'RE STILL A MANAGING DIRECTOR AT STOUT;

19    PROFIT OF $79.1 MILLION, WHICH IS AN 87 PERCENT GROSS PROFIT               19    CORRECT?

20    MARGIN. SO ESSENTIALLY WHAT THAT MEANS IS FOR EVERY DOLLAR IN              20    A.   YES.

21    REVENUE, THEY -- AFTER DEDUCTING COSTS, THEY HAVE 87 CENTS IN              21    Q.   AND YOU'RE STILL PART OF THE SHAREHOLDER BASE?

22    PROFIT.                                                                    22    A.   YES.

23         THEY REPORTED AN OPERATING LOSS OF $3.9 MILLION, AND A NET            23    Q.   AND YOUR FIRM IS STILL CHARGING FACEBOOK $795 AN HOUR FOR

24   LOSS OF APPROXIMATELY $9 MILLION.                                           24    YOUR TIME?

25    Q.   WHAT'S THE DIFFERENCE BETWEEN OPERATING INCOME OR LOSS AND            25    A.   YES.

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 1    NET INCOME OR LOSS?                                                         1    Q.   AND YOU STILL HAVE A STAFF OF FIVE OR SIX PEOPLE WORKING

 2    A.   OPERATING INCOME BASICALLY INCLUDES ALL OF THE COSTS OF                2    WITH YOU ON THIS PROJECT AND BILLING BY THE HOUR?

 3    OPERATING THE BUSINESS, THE COST OF SALES, SELLING AND                      3    A.   NO. I ONLY HAVE TWO PEOPLE WHO HAVE BEEN ASSISTING ME

 4    MARKETING, RESEARCH AND DEVELOPMENT.                                        4    WHILE WE'RE AT TRIAL.

 5         AND THEN THE NET INCOME ALSO THEN DEDUCTS OUT THINGS LIKE              5    Q.   MR. AKROTIRIANAKIS ASKED YOU LAST WEEK HOW MUCH MONEY

 6   TAXES, INTEREST EXPENSE, THINGS LIKE THAT.                                   6    STOUT HAD BILLED YOUR CLIENTS ON THIS CASE AND YOU WEREN'T ABLE

 7    Q.   WHAT WAS NSO'S BIGGEST EXPENSE CATEGORY FOR 2023?                      7    TO ANSWER.

 8    A.   RESEARCH AND DEVELOPMENT, AND THAT WAS $52.3 MILLION.                  8                MR. BLOCK: OBJECTION, YOUR HONOR.

 9    Q.   OKAY. CAN YOU TAKE US THROUGH THE KEY FIGURES FOR NSO FOR              9    BY MR. CRAIG:

10    THEIR 2024 INCOME STATEMENT?                                               10    Q.   DO YOU HAVE ANY IDEA NOW?

11    A.   YES. NSO HAD REVENUES OF $95.9 MILLION; GROSS PROFIT OF               11                THE COURT: BEYOND THE SCOPE?

12    $84.7 MILLION; AND ITS GROSS PROFIT PERCENTAGE IS 88 PERCENT.              12                MR. BLOCK: CERTAINLY BEYOND THE SCOPE, AND ALSO YOUR

13         SO, YOU KNOW, YOU CAN SEE THE REVENUES HAVE GONE UP BY                13    PRIOR INSTRUCTION.

14   ABOUT, YOU KNOW, 4 AND A HALF, $4.6 MILLION, AND THEIR GROSS                14                MR. CRAIG: IT GOES TO BIAS, YOUR HONOR.

15   PROFIT HAS ALSO GONE UP BY $5.6 MILLION FROM 2023 TO 2024.                  15                THE COURT: YES. SUSTAINED. SUSTAINED.

16         OPERATING INCOME -- I'M SORRY, IT WAS AN OPERATING LOSS OF            16                MR. CRAIG: OKAY.

17   $8.3 MILLION, AND IT WAS A NET LOSS OF $12.7 MILLION.                       17    Q.   YOU WENT TO BUCKNELL FOR YOUR UNDERGRADUATE EDUCATION.

18    Q.   WHAT WAS NSO'S LARGEST EXPENSE CATEGORY IN 2024?                      18    DID YOU TAKE ANY CLASSES THAT DEALT WITH ISRAELI ACCOUNTING OR

19    A.   AGAIN, IT WAS RESEARCH AND DEVELOPMENT, WHICH WAS                     19    AUDITING?

20    APPROXIMATELY $60 MILLION.                                                 20    A.   NO.

21    Q.   OKAY. LAST ONE.                                                       21    Q.   SAME QUESTION ABOUT WHEN YOU DID YOUR M.B.A. AT THE

22         CAN WE SEE A-1782 ON THE SCREEN, PLEASE.                              22    UNIVERSITY OF PENNSYLVANIA. DID YOU TAKE ANY CLASSES THAT

23         MS. TREXLER, WHAT IS EXHIBIT A-1782?                                  23    DEALT WITH ISRAELI ACCOUNTING OR AUDITING?

24    A.   THIS IS Q CYBER'S ISRAEL INCOME STATEMENT FOR THE YEARS               24    A.   NO.

25    ENDED DECEMBER 2023 AND 2024.                                              25    Q.   HAVE YOU EVER BEEN HIRED BY ANY ISRAELI COMPANIES TO GIVE

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 1    COULDN'T BE TOGETHER. BUT, OF COURSE, MANY OF US HAVE LOVED          1         AND ON THE RSU DATE, SHE ONLY INCLUDED THOSE THAT WERE

 2    ONES AROUND THE WORLD, AND YOU WANT TO BE ABLE TO COMMUNICATE        2    VESTED, AND SHE ALWAYS INCLUDED THE LOWER NUMBER.

 3    WITH THEM PRIVATELY, SAFE IN THE KNOWLEDGE THAT NO ONE ELSE          3         AS I SAID, MR. PINSONNEAULT DID NOT DISPUTE MUCH OF THIS,

 4    WILL BE ABLE TO HEAR.                                                4    NSO'S DAMAGES EXPERT. HE DIDN'T CHALLENGE ANY OF THE NEED FOR

 5         THAT'S WHY THIS VICTIM OUTREACH IS HAPPENING.                   5    WHATSAPP TO INVESTIGATE, DIDN'T HAVE AN ISSUE WITH VICTIM

 6         OKAY. THE LAST WITNESS WAS MS. TREXLER, AND SHE'S A CPA,        6    OUTREACH.

 7    AND SHE TOLD YOU WHAT HER JOB WAS. SHE WAS ASKED TO QUANTIFY         7         HE REALLY DIDN'T HAVE A PROBLEM.

 8    THE PLAINTIFFS' RESPONSE COSTS TO NSO.                               8         REALLY, AT THE END OF THE DAY, NSO AND MR. PINSONNEAULT

 9         SHE TOLD YOU WHAT SHE DID TO DO THAT IN TERMS OF HER            9    ARE COMPLAINING THAT SALARIED EMPLOYEES WERE COMPENSATED, OR

10    HOMEWORK. SHE LOOKED AT COURT DOCUMENTS, SHE LOOKED AT              10    THAT WE'RE ASKING FOR THAT.

11    DOCUMENTS THAT WERE PROVIDED BY THE PARTIES, SHE LOOKED AT          11         BUT JUST REMEMBER THIS: THOSE SALARIED EMPLOYEES WERE NOT

12    PUBLICLY AVAILABLE INFORMATION, SHE READ DEPOSITIONS AND SHE        12    DOING THE WORK THAT THEY WERE PAID TO DO. THEY WERE DOING

13    SAW TRIAL TESTIMONY AND SHE DID INTERVIEWS.                         13    ADDITIONAL WORK BECAUSE OF THE UNIQUE AND SOPHISTICATED NATURE

14         AND BY THE WAY, HERE ARE THE EIGHT PEOPLE THAT SHE             14    OF THE WHATSAPP ATTACK.

15    INTERVIEWED. YOU SAW THAT IN HER PRESENTATION: CORTNEY PADUA,       15         YOU SAW THAT ALL THESE PEOPLE WERE DOING WORK BEYOND WHAT

16    MICHAEL SCOTT, DREW ROBINSON, AASHIN GAUTAM, OTTO EBELING,          16    THEY DO IN THEIR NORMAL DAY JOB. MR. GHEORGHE SAID I HAD TO

17    JESUS BARCONS PALAU, GHEORGHE, AND YUANYUAN WANG.                   17    DROP EVERYTHING I WAS DOING, HE HAD TO CANCEL TEAM MEETINGS,

18         IF MY COLLEAGUES OVER HERE ARE LAUGHING AT ME, IT'S            18    CANCEL INTERVIEWS.

19    BECAUSE I'M NOT SO GOOD AT PRONOUNCING NAMES AND THEY LIKE TO       19         WE HAD SIMILAR TESTIMONY FROM MR. ROBINSON. HE SAID IT

20    MAKE FUN. SO I'M DOING MY BEST, BUT I SUSPECT THAT THERE MAY        20    JUST MEANT HIS OTHER WORK HAD TO GIVE WAY BECAUSE HE HAD TO

21    BE SOME SMILES BACK HERE.                                           21    CONCENTRATE ON THIS.

22         NOW, AGAIN, IN ADDITION TO THESE INDIVIDUALS AND THE           22         PEOPLE WEREN'T WORKING ON WHAT THEY WERE BEING PAID TO

23    TESTIMONY THAT THEY WERE INTERVIEWED, YOU CAN LOOK AT ALL THE       23    WORK ON. THEY WERE WORKING ON SOMETHING NEW.

24    DOCUMENTS AND SEE THAT THEY'RE IN THE DOCUMENTS THAT                24         SO THAT'S THE STORY WITH COMPENSATORY DAMAGES. IT'S VERY

25    CORROBORATES THE TESTIMONY OF THEIR INVOLVEMENT.                    25    STRAIGHT FORWARD. THE SOFTWARE AND THE SPYWARE FOR NSO WAS

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 1         NOW, HERE IS THE FORMULA THAT MS. TREXLER USED, AND IT'S        1    COMPLICATED, WHATSAPP HAD TO SPEND TIME AND MONEY WITH ITS

 2    VERY SIMPLE AND IT MAKES SENSE.                                      2    EMPLOYEES TO RESPOND AND TO NOTIFY VICTIMS, AND FOR ALL OF

 3         SHE ASCERTAINED THE NUMBER OF HOURS AT ISSUE, SHE               3    THAT, THEY'RE ASKING FOR $444,719 IN COMPENSATORY DAMAGES.

 4    QUANTIFIED THE COST TO WHATSAPP, AND THAT'S JUST NOT THE COST        4         WHEN YOU GET TO THE VERDICT FORM, WE'RE ASKING TO YOU FILL

 5    OF THEIR PEOPLE'S SALARY, BUT IT'S THE COST TO META OR WHATSAPP      5    IN THAT NUMBER, $444,719.

 6    FOR THESE PEOPLE'S TIME. SO THERE'S HEALTH CARE COSTS, THERE'S       6         NOW, LET ME TURN TO PUNITIVE DAMAGES, AND I'M GOING TO

 7    TAXES, THERE'S THE ISSUE WITH THE RSU'S, THE RESTRICTED STOCK.       7    START AGAIN BY GOING THROUGH THE LAW, AND THEN I'M GOING TO GO

 8         THAT'S WHAT SHE DID. AND SHE MULTIPLIED THAT NUMBER BY          8    THROUGH THE RELEVANT FACTS AND I'M GOING TO TALK ABOUT

 9    THE RELEVANT HOURLY LABOR RATE TO COME UP WITH WHAT THE COSTS        9    DIFFERENT CONSIDERATIONS IN TERMS OF WHAT YOU SHOULD THINK

10    WOULD BE TO WHATSAPP FOR THE RESPONSE HERE.                         10    ABOUT WITH RESPECT TO THE NUMBER.

11         AND THAT JUST MAKES SENSE, AND IT WAS VERY                     11         BUT LET ME BE VERY CLEAR ABOUT SOMETHING. WHATSAPP IS NOT

12    STRAIGHTFORWARD, AND YOU HEARD HER TESTIMONY.                       12    ASKING FOR A SPECIFIC NUMBER FOR PUNITIVE DAMAGES. WE'RE NOT.

13         YOU'VE HEARD THAT THERE'S BEEN A LOT OF BACK AND FORTH         13    WE COULD, BUT WE'RE NOT. WE'RE GOING TO LEAVE THAT IN THE

14    ABOUT THIS RSU ISSUE, THE RESTRICTED STOCK UNITS.                   14    JUDGMENT OF THIS JURY, HAVING SAT IN THAT COURTROOM AND

15         IT'S NOT COMPLICATED, EITHER. THAT'S HOW THESE PEOPLE GET      15    LISTENED TO THE EVIDENCE. WE'RE GOING TO ASK YOU TO RETURN A

16    PAID. AND MR. GHEORGHE AND MR. ROBINSON TESTIFIED ABOUT THAT.       16    NUMBER THAT IS SIGNIFICANT, THAT ALLOWS FOR PUNISHMENT OF NSO,

17    PEOPLE IN SOCIAL MEDIA GET -- SOCIAL MEDIA COMPANIES GET PAID       17    THAT STOPS THEM FROM HACKING AND SPYING.

18    THAT WAY.                                                           18         MAYBE WHEN YOU THINK ABOUT THAT, IF YOU THINK ABOUT

19         SO SHE WAS OBLIGATED TO CONSIDER THAT.                         19    NUMBERS LIKE THEIR R&D NUMBERS, $52 AND $59 MILLION THAT ARE

20         BUT IN ALL CASES, SHE CONSIDERED THE MOST CONSERVATIVE         20    DIRECTLY RELATED TO THEIR ABILITY TO MAKE SPYWARE AND SPY ON

21    ISSUES, AND HERE IS HER TESTIMONY.                                  21    PEOPLE, THOSE ARE NUMBERS THAT YOU CAN THINK ABOUT.

22         SHE TOOK THE LOW END OF RANGES. SHE DIDN'T INCLUDE ANY         22         BUT WE'RE NOT GOING TO ASK FOR A PARTICULAR NUMBER BECAUSE

23    HOURS BEYOND EIGHT HOURS AND WORKDAYS FIVE DAYS A WEEK, EVEN        23    WE WANT THE JURY TO DO THAT. AND WE WANT YOU TO USE YOUR

24    THOUGH YOU HEARD FROM WITNESSES THAT THEY TESTIFIED ABOUT. SHE      24    JUDGMENT.

25    DIDN'T INCLUDE WEEKEND HOURS.                                       25         SO LET ME GO THROUGH THE FACTS.

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 1        AND THOSE OF YOU WHO ARE KEEPING TIME, I THINK I'M AT 39           1    KNOWING DISREGARD WHEN A PERSON IS AWARE OF THE PROBABLE

 2   MINUTES. THAT PHONE CALL HAPPENED TO BE FROM MY DAUGHTER, SO            2    DANGEROUS CONSEQUENCES OF A PERSON'S CONDUCT AND DELIBERATELY

 3   SORRY ABOUT THAT.                                                       3    FAILS TO AVOID THAT CONDUCT.

 4        I HAVE ABOUT 20 MINUTES LEFT, AND I'M GOING TO SPEND MY            4            JUDGE HAMILTON WILL ALSO TELL YOU THAT OPPRESSION MEANS

 5   TIME ON THE PUNITIVE DAMAGES.                                           5    THAT DEFENDANTS' CONDUCT WAS DESPICABLE, SUBJECTED THE

 6        THE CONDUCT HERE IS EXACTLY THE CONDUCT THAT                       6    PLAINTIFFS TO CRUEL AND UNJUST HARDSHIP IN KNOWING DISREGARD OF

 7   JUDGE HAMILTON IS GOING TO INSTRUCT YOU ABOUT. IT'S THE                 7    WHATSAPP'S RIGHTS.

 8   HACKING, IT'S THE SPYING, AND IT'S THE TARGETING, BECAUSE IT'S          8            AND SHE'LL DEFINE DESPICABLE CONDUCT AS SO VILE, BASE, OR

 9   THE CALIFORNIA LAW, THE TARGETING OF THE CALIFORNIA SERVERS,            9    CONTEMPTIBLE THAT IT WOULD BE LOOKED DOWN UPON OR DESPISED BY

10   AND JUDGE HAMILTON WILL TELL YOU THAT SHE'S MADE A                     10    REASONABLE PEOPLE THE WAY THAT REASONABLE PEOPLE WOULD VIEW

11   DETERMINATION THAT THE PEGASUS INSTALLATION MESSAGES CAME              11    SPYING ON SOMEBODY'S PHONE IN THE WAY THAT NSO SPIES.

12   THROUGH CALIFORNIA 43 TIMES IN JUST TEN DAYS IN MAY 2019.              12            JUDGE HAMILTON WILL INSTRUCT YOU THAT FRAUD MEANS THAT THE

13        THAT'S THE CONDUCT THAT'S AT ISSUE.                               13    DEFENDANTS INTENTIONALLY MISREPRESENTED OR CONCEALED A MATERIAL

14        NOW, THE STANDARD OF PROOF FOR PUNITIVE DAMAGES IS CLEAR          14    FACT.

15   AND CONVINCING EVIDENCE, AND THAT'S HIGHER THAN THE                    15            YOU KNOW THAT THERE WAS FRAUD IN THIS CASE. YOU KNOW THAT

16   PREPONDERANCE STANDARD THAT'S USED FOR COMPENSATORY DAMAGES.           16    THERE WAS DECEIT AND CHEATING.

17   SO BE AWARE OF THAT.                                                   17            AGAIN, JUST WITH THIS ISSUE ABOUT MANAGING AGENTS, YOU

18        THAT'S NOT AN ISSUE FOR US. WE THINK WE'VE MET THAT               18    HEARD THE TESTIMONY OF MR. SHOHAT. YOU HEARD THE TESTIMONY OF

19   STANDARD AND THEN SOME, THAT THE EVIDENCE HERE IS OVERWHELMING         19    MR. GAZNELI. THEY ARE SENIOR EXECUTIVES.

20   AND FAR BEYOND CLEAR AND CONVINCING EVIDENCE.                          20            YOU ALSO HEARD THE TESTIMONY OF MS. GIL. SHE WAS BY

21        BUT YOU'LL HEAR THAT WHAT THAT MEANS IS THAT YOU HAVE A           21    VIDEO. SHE TESTIFIED ABOUT THE FACT THAT THEY SELL, I THINK

22   FIRM BELIEF OF CONVICTION THAT IS HIGHLY PROBABLE THAT OUR             22    SHE SAID HAD A BUSINESS, A BUSINESS DEPARTMENT AND THEY SELL

23   FACTUAL CONTENTIONS ARE TRUE.                                          23    PEGASUS, ON AVERAGE, FOR $7 MILLION, AND SOMETIMES THEY HAVE TO

24        AND, AGAIN, YOU'LL HEAR THAT FROM JUDGE HAMILTON. SHE'S           24    CHARGE MORE THAN $7 MILLION IF THE PARTY BUYING IT WANTS TO BE

25   THE JUDGE OF THE LAW, AND SHE WILL INSTRUCT YOU ON ALL THOSE           25    ABLE TO SURVEIL PEOPLE OUTSIDE OF THEIR COUNTRY.

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 1   THINGS.                                                                 1            SO YOU HEARD FROM HER.

 2        WHAT WE ASK IS THAT YOU, AND WE KNOW YOU WILL, PAY                 2            YOU ALSO HEARD FROM MR. ESHKAR, WHO'S A SENIOR EXECUTIVE.

 3   ATTENTION TO THOSE AND READ THOSE. THEY'RE IMPORTANT.                   3            SO LET ME TURN TO THE QUESTIONS OF WHETHER NSO ACTED WITH

 4        NOW, TO QUALIFY FOR PUNITIVE DAMAGES, WHATSAPP MUST PROVE          4    MALICE, OPPRESSION, OR FRAUD. AND THEY DID.

 5   THAT NSO'S CONDUCT WAS DONE WITH MALICE OR OPPRESSION OR FRAUD.         5            FIRST, YOU KNOW WHAT NSO DID IN THIS CASE. THEY ATTACKED

 6   YOU DON'T HAVE TO FIND ALL THREE. YOU HAVE TO FIND ONE OF THE           6    WHATSAPP'S SERVERS. I'M REPEATING MYSELF, BUT IT'S IMPORTANT

 7   THREE. WE THINK WE HAVE PROVED ALL THREE.                               7    THAT WE GO THROUGH THESE ONE BY ONE.

 8        WHATSAPP MUST PROVE THAT NSO'S EXECUTIVES, ITS OFFICERS,           8            YOU KNOW THAT THEY DID THAT ATTACK ON WHATSAPP'S SERVERS

 9   DIRECTORS, MANAGERS ACTED ON BEHALF OF NSO.                             9    HERE IN CALIFORNIA 43 TIMES. ALL YOU NEED TO DO TO VERIFY THAT

10        THAT'S NOT A COMPLICATED ISSUE. YOU HEARD FROM THOSE              10    FACT IS READ THE JURY INSTRUCTIONS.

11   PEOPLE HERE, THAT THEY EITHER ACTED ON BEHALF OF NSO, THAT THEY        11            YOU KNOW THAT THE PURPOSE OF THE VECTORS NSO ATTACKED HERE

12   COMMITTED THESE ACTS, THAT THEY AUTHORIZED THEM, OR THAT THEY          12    WAS TO PUT THE SPYWARE ON THE PHONE. ATTACKING FOR THE PURPOSE

13   KNEW OF THEM AND ADOPTED THEM AND APPROVED THEM AFTER THE FACT.        13    OF SPYING.

14        SO THAT ISSUE WITH RESPECT TO MANAGING AGENTS OR                  14            AND YOU KNOW THAT THEY TARGETED AND SENT THIS MALICIOUS

15   EXECUTIVES, YOU KNOW THAT BECAUSE MR. SHOHAT PROUDLY TOLD YOU          15    SPYWARE ONTO THE PHONES OF 1400 PEOPLE.

16   THAT HE'S THE CEO BOTH OF Q CYBER AND NSO, AND HE WAS INVOLVED         16            NOW, LET ME STOP FOR ONE SECOND.

17   IN THESE EVENTS, AND APPROVED OF THEM, AS HE DOES TODAY.               17            THAT'S 1400 PEOPLE IN A TWO-WEEK TIME PERIOD. OKAY? SO

18        YOU ALSO HEARD FROM MR. GAZNELI. I'LL COME BACK TO THAT           18    I'M NOT GOING TO DO THE MATH FOR YOU. THAT'S NOT MY SPECIALTY.

19   IN A MINUTE.                                                           19    BUT THAT 1400 PEOPLE THAT ARE THE VICTIMS OF THIS SPYWARE

20        LET'S TALK ABOUT MALICE.                                          20    ATTACK HAPPENED IN A TWO-WEEK PERIOD.

21        MALICE. MALICE, JUDGE HAMILTON WILL INSTRUCT YOU, MEANS           21            NOW, THOSE VICTIMS, BY THE WAY, YOU'VE HEARD TESTIMONY,

22   THAT DEFENDANTS ACTED WITH INTENT TO CAUSE INJURY OR THAT              22    NSO DOES NOT KNOW WHO THOSE VICTIMS ARE, AND MR. SHOHAT

23   DEFENDANTS' CONDUCT WAS DESPICABLE. IT WAS KNOWING AND WAS             23    TESTIFIED TO THAT. I ASKED HIM THAT SPECIFICALLY ON

24   DONE WITH A WILLFUL AND KNOWING DISREGARD OF WHATSAPP'S RIGHTS.        24    CROSS-EXAMINATION. I ASKED HIM, YOU'RE SAYING NO, NSO, AT THE

25        SHE'LL FURTHER INSTRUCT YOU THAT A PERSON ACTS WITH               25    TIME OF PEGASUS, DID NOT KNOW THE IDENTITIES OF PEOPLE WHOSE

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 1    PHONES ARE BEING SPIED UPON?                                             1    KNOW, FOR EXAMPLE, THAT MR. GAZNELI TESTIFIED THAT IN 2019, THE

 2         THIS IS A CORRECT STATEMENT.                                        2    RESEARCH AND DEVELOPMENT EXPENSES OF NSO WERE $67 MILLION.

 3         AND JUDGE HAMILTON IS GOING TO TELL YOU THAT -- INSTRUCT            3    THAT IS WHERE THEY DEVELOPED THIS HACKING AND SPYING

 4    YOU THAT THE IDENTITIES OF VICTIMS ARE NOT RELEVANT.                     4    TECHNOLOGY.

 5         AND SO REGARDLESS OF WHATEVER GOVERNMENTS NSO SELLS TO,             5         NOW, YOU KNOW THAT THEY DID THIS SECRETLY. YOU KNOW THAT

 6    WHATEVER THAT MEANS, NSO IS NOT A GOVERNMENT, THEY'RE A                  6    THEY CONCEALED THEIR FRAUD.

 7    FOR-PROFIT COMPANY, AND THEY DON'T KNOW WHO THEY'RE SPYING ON.           7         AND WHEN THEY WERE COMMUNICATING WITH THE WHATSAPP

 8         MR. SHOHAT TESTIFIED TO THAT. YOU SHOULD RELY ON THAT,              8    SERVERS, THEY WERE DOING IT DECEPTIVELY SO THAT WHATSAPP

 9    AND YOU CERTAINLY CAN RELY ON THE INSTRUCTION OF                         9    WOULDN'T FIND OUT ABOUT IT.

10    JUDGE HAMILTON.                                                         10         AND, AGAIN, IT'S COMMON SENSE THAT YOU DON'T TELL THE

11         NOW, YOU KNOW THAT THEY USED THIS ZERO-CLICK TECHNOLOGY            11    PERSON THAT YOU'RE SPYING ON THAT YOU'RE SPYING.

12    THAT WE TALKED ABOUT. YOU HAVE HEARD THAT THESE ATTACKS, THE            12         AND LET ME JUST SAY ONE WORD ABOUT THAT.

13    MALWARE INSTALLATION, HEAVEN, EDEN, ERISED, THAT IS THE HEART           13         WHEN YOU GO INTO THAT JURY ROOM, LADIES AND GENTLEMEN, WE

14    OF NSO'S OPERATION, AND YOU SEE THAT THERE'S -- YOU CAN LOOK AT         14    WANT YOU, WE BEG YOU TO USE YOUR COMMON SENSE. YOU DON'T LEAVE

15    THESE DOCUMENTS, PLAINTIFFS' EXHIBIT 59, YOU'RE HAPPY TO LOOK           15    IT OUTSIDE THE DOOR. THAT IS CRITICALLY IMPORTANT, AND WE

16    AT THIS -- THIS IS A DOCUMENT WHERE YOU CAN SEE ALL OF THE, ALL         16    BELIEVE THAT AS YOU USE YOUR COMMON SENSE, YOU'RE GOING TO

17    OF THE CAPABILITIES OF PEGASUS.                                         17    UNDERSTAND THAT MANY OF THESE ARGUMENTS THAT NSO ARE MAKING

18         YOU KNOW ABOUT THE PEGASUS INSTALLATION AND WHAT IT DOES           18    MAKE NO SENSE.

19    AND HOW IT SPIES. I'M NOT GOING TO DO THAT.                             19         SO RELY ON YOUR COMMON SENSE.

20         REMEMBER THIS. THIS ONE CAME IN THROUGH A VIDEO, BUT               20         I'VE ALREADY TALKED ABOUT TRICKERY AND DECEPTION.

21    RAMON ESHKAR, HE'S THE VICE PRESIDENT OF CLIENT EXECUTIVES, HE          21         THOSE ARE THE ELEMENTS, AND THEY'RE IMPORTANT. THEY GO TO

22    WAS ASKED, WHAT CAN PEGASUS DOWNLOAD FROM THE PHONE?                    22    THE ISSUE ABOUT WHETHER NSO'S CONDUCT WAS REPREHENSIBLE. YOU

23         HE SAID -- WAS THE CASE WITH RESPECT TO THE OPERATION OF           23    KNOW THAT NSO TRICKED WHATSAPP TO GET INTO THEIR SERVERS. YOU

24    PEGASUS IN 2018 AND '19, EVERY KIND OF USER DATA ON THE PHONE           24    KNOW THAT THEY TRICKED WHATSAPP BY DELIBERATELY CONCEALING

25    AS IT EXISTS. THIS IS MY UNDERSTANDING.                                 25    THEIR CONDUCT. THEY'VE ADMITTED TO THAT. IT'S ALL UNDISPUTED.

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 1         EVERYTHING ON THE PHONE.                                            1         YOU HAVE HEARD THROUGHOUT THIS TRIAL THAT NSO DIDN'T TRY

 2         NOW, YOU KNOW THAT THEY DO THIS FOR MONEY, AND WE'LL TALK           2    TO HARM WHATSAPP. DIDN'T TRY TO PHYSICALLY HARM THEM.

 3    ABOUT THAT IN A MINUTE.                                                  3         BASICALLY WHAT THEY WANT TO SAY IS THIS ISN'T LIKE A CAR

 4         BUT THERE'S ANOTHER DOCUMENT, PLAINTIFFS' EXHIBIT 264,              4    ACCIDENT WHERE YOU LEFT WITH A DENT IN YOUR CAR. OF COURSE

 5    WHERE YOU CAN LOOK AND SEE THE AMOUNT OF MONEY IN 2018 AND               5    THEY DIDN'T. OF COURSE THEY DIDN'T. BECAUSE IF THEY SOMEHOW

 6    2019, DURING THIS TIME PERIOD WHEN THE SPYING OCCURRED, THAT             6    BROKE WHATSAPP'S SERVER, THEY WOULDN'T USE IT TO GET TO THE

 7    NSO SPENT MORE THAN $110 MILLION. I BELIEVE THAT'S ON PAGE 5             7    PHONES TO DO THE SPYWARE.

 8    OF 264. TAKE IT, LOOK AT IT.                                             8         BUT THAT DOESN'T MEAN THAT WHATSAPP WASN'T HARMED. THEY

 9         YOU'VE HEARD FROM MS. GIL, I SAID, ABOUT HOW MUCH MONEY             9    ABSOLUTELY WERE HARMED BECAUSE NSO INTRODUCED THIS MALWARE INTO

10    THEY CHARGE.                                                            10    THEIR SYSTEM, AND YOU KNOW THAT THEY -- WE TALKED ABOUT WHAT

11         MR. SHOHAT, WHEN HE WAS ASKED ABOUT HOW MUCH THEY CHARGE           11    THEY HAD TO DO TO RESPOND.

12    FOR PEGASUS, HE SAID BETWEEN 3 MILLION AND ANOTHER CUSTOMER             12         SO WHEN WE TALK ABOUT HARM, THINK ABOUT WHAT WHATSAPP HAD

13    COULD PAY TEN TIMES THAT.                                               13    TO DO IN RESPONSE.

14         SO THAT MATH I CAN DO. MR. SHOHAT TESTIFIED BETWEEN $3             14         NOW, AGAIN, YOU KNOW THAT NSO'S CONDUCT WAS IN THE KNOWING

15    AND $30 MILLION THEY CHARGE FOR THE PEGASUS SOFTWARE.                   15    DISREGARD OF WHATSAPP'S RIGHTS. NSO KNEW THAT WHATSAPP WOULD

16         NOW, HOW DO YOU KNOW THAT WHAT NSO DID BEARS ON MALICE,            16    STOP THIS, STOP THESE ATTACKS IF THEY KNEW ABOUT IT, SO THEY

17    OPPRESSION, FRAUD? BECAUSE THEY DID THIS DELIBERATELY. THEY             17    DIDN'T TELL THEM.

18    DID IT SECRETLY. THEY DID IT KNOWINGLY IN DISREGARD OF                  18         THAT'S A REALLY IMPORTANT POINT, BECAUSE THAT'S A QUESTION

19    WHATSAPP'S RIGHTS.                                                      19    THAT YOU'RE GOING TO HAVE TO ANSWER WITH RESPECT TO THE JURY

20         YOU KNOW THAT'S TRUE. THEY DID IT DELIBERATELY. THIS               20    INSTRUCTIONS.

21    WASN'T AN ACCIDENT. IT WASN'T SOME KID HACKING IN THEIR                 21         YOU'RE GOING TO HAVE TO ANSWER WHETHER NSO ACTED IN THE

22    BASEMENT.                                                               22    KNOWING DISREGARD OF PLAINTIFFS 'RIGHTS. AND OF COURSE THEY

23         THIS IS THE MOST SIGNIFICANT, MOST SOPHISTICATED, AS               23    DID. OF COURSE THEY DID.

24    MR. SHOHAT SAID, THE MARKET LEADER IN THIS TECHNOLOGY.                  24         NOW, AGAIN, THE STANDARD HERE IS CLEAR AND CONVINCING

25         YOU KNOW ABOUT ALL THE MONEY THAT NSO SPENDS IN R&D. YOU           25    EVIDENCE.

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 1   THOSE IN THE NUMBER OF $444,719.                                         1    THE BETTER.

 2        PUNITIVE DAMAGES. WE ASK THAT YOU AWARD PUNITIVE DAMAGES            2         THE FACE OF THE COMPANY HERE FOR THIS TRIAL, MR. WOOG, THE

 3   THAT YOU, THE JURY, BELIEVE ARE SUFFICIENT TO PUNISH NSO                 3    GLOBAL HEAD OF COMMUNICATIONS. NOT A CYBERSECURITY PERSON OR A

 4   BECAUSE THEY VIOLATED THE LAW AS JUDGE HAMILTON HAS TOLD YOU             4    FINANCE PERSON. CERTAINLY NOT THE CEO. BUT THE HEAD OF

 5   AND WILL INSTRUCT YOU.                                                   5    COMMUNICATIONS.

 6        ISSUE AN AWARD OF PUNITIVE DAMAGES BECAUSE THE RULE OF LAW          6         BUT LET'S TAKE THE CASE AT FACE VALUE FOR THE MOMENT.

 7   IN THIS COUNTRY MATTERS, PARTICULARLY AT THIS TIME. IT MEANS             7    LET'S PRETEND THAT FACEBOOK GENUINELY BELIEVES THAT IT LOST

 8   SOMETHING WHEN YOU VIOLATE THE LAW.                                      8    $444,719, AND THAT IT WANTS TO PUNISH NSO FOR SENDING MESSAGES

 9        WE'RE ASKING YOU TO AWARD AN AMOUNT OF PUNITIVE DAMAGES             9    THROUGH ITS SERVERS.

10   THAT WILL DETER NSO'S CONDUCT IN THE FUTURE. WE'RE ASKING YOU           10         THE CASE IS WEAK AND IT DEPENDS ENTIRELY ON YOUR EMOTION,

11   TO SEND A MESSAGE LOUD AND CLEAR, AND IN PUBLIC, NOT IN THE             11    NOT REASON. THAT'S WHY YOU HEARD THE KIND OF CLOSING ARGUMENT

12   SHADOWS OF SPYING AND SECRECY WHERE NSO OPERATES.                       12    THAT YOU JUST HEARD.

13        A PUNITIVE DAMAGE AMOUNT THAT SAYS SPYING IS ILLEGAL AND           13         LOOKING AT THE EVIDENCE THAT'S BEEN PRESENTED TO YOU,

14   IT'S NOT APPROPRIATE, NOT HERE IN THE UNITED STATES. CERTAINLY          14    THERE ARE NO ECONOMIC LOSSES. THERE HAS BEEN NO DAMAGE TO

15   NOT HERE IN CALIFORNIA, CONSISTENT WITH JUDGE HAMILTON'S                15    WHATSAPP'S SERVERS, AND THERE'S BEEN NO EVIDENCE THAT WOULD

16   FINDINGS.                                                               16    SUPPORT YOU PUTTING A NUMBER OTHER THAN A ZERO IN THE VERDICT

17        LADIES AND GENTLEMEN, NSO DIDN'T STOP WHEN THERE WAS A             17    FORM, AND I'M GOING TO EXPLAIN WHY.

18   TECHNOLOGICAL FIX FROM WHATSAPP. THEY DIDN'T STOP AFTER THIS            18         WHATSAPP IS SIMPLY COUNTING ON A JURY HATING, AS MUCH AS

19   LAWSUIT WAS FILED.                                                      19    THEY SAY THEY DO, THE FACT THAT NSO MAKES AND GOVERNMENT

20        WE ARE ASKING THIS JURY TO ASSESS A PUNITIVE DAMAGE AWARD          20    AGENCIES USE A TOOL LIKE PEGASUS.

21   IN THIS AMERICAN, CALIFORNIA COURTHOUSE THAT SENDS A MESSAGE            21         TO DO THAT, TO GO ALONG WITH THAT, YOU WOULD HAVE TO

22   AND WILL HAVE NSO STOP ATTACKING ITS SPYWARE.                           22    ABANDON THE PROMISE THAT YOU MADE TO WELL AND TRULY TRY THIS

23        THANK YOU VERY MUCH FOR YOUR TIME AND ATTENTION.                   23    CASE ACCORDING TO THE LAW THAT WOULD BE GIVEN TO YOU, AND HAS

24        THANK YOU, YOUR HONOR.                                             24    BEEN GIVEN TO YOU AND WILL BE GIVEN TO YOU AGAIN, BY THE COURT.

25               THE COURT: THANK YOU.                                       25         AS THE COURT WILL INSTRUCT YOU, YOU CANNOT DECIDE THIS

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 1        ALL RIGHT. MR. AKROTIRIANAKIS?                                      1    CASE BASED ON EMOTION OR FEAR.

 2               MR. AKROTIRIANAKIS: THANK YOU, YOUR HONOR.                   2         YOU MUST DECIDE THIS CASE ONLY BASED ON THE EVIDENCE. AND

 3        (PAUSE IN PROCEEDINGS.)                                             3    EVIDENCE DOES NOT SUPPORT FACEBOOK, BOTH WITH RESPECT TO HOW

 4               MR. AKROTIRIANAKIS: MAY I PROCEED?                           4    PEGASUS WORKS AND WHAT FACEBOOK DID IN RESPONSE.

 5               THE COURT: UM-HUM, SURE.                                     5         NOW, AS YOU'VE HEARD AGAIN AND AGAIN, THIS COURT FOUND, IN

 6        (MR. AKROTIRIANAKIS GAVE HIS CLOSING ARGUMENT ON BEHALF             6    DECEMBER OF 2024, FIVE MONTHS AGO, THAT NSO HAD VIOLATED THE

 7    OF DEFENDANTS.)                                                         7    LAW AND BREACHED THE TERMS OF SERVICE BECAUSE YEARS AGO, THREE

 8               MR. AKROTIRIANAKIS: MEMBERS OF THE JURY, I WANT YOU          8    VERSIONS, THREE VERSIONS OF NSO'S INTELLIGENCE PRODUCT,

 9    TO THINK BACK TO LAST TUESDAY WHEN YOU FIRST HEARD THE NUMBER           9    PEGASUS, USED WHATSAPP SERVERS.

10    $444,719.                                                              10         PEGASUS DID NOT COMPROMISE, DAMAGE, REWRITE THE CODE OF,

11        DID YOU THINK TO YOURSELF, DID I HEAR THAT CORRECTLY?              11    MODIFY, SLOW DOWN, IMPAIR, OR INTERFERE WITH WHATSAPP SERVERS

12   THAT'S GOT TO BE A MISTAKE, RIGHT? AM I GOING TO SPEND MORE             12    IN ANY WAY.

13   THAN A WEEK OF MY LIFE WITH ALL OF THESE LAWYERS IF FACEBOOK'S          13         BUT THE COURT FOUND THAT THOSE VERSIONS OF PEGASUS DID

14   CLAIMED LOSSES ARE SO SMALL?                                            14    VIOLATE A FEDERAL STATUTE, A CALIFORNIA STATUTE, AND THE TERMS

15        IT'S BECAUSE THIS LAWSUIT IS NOT ABOUT SEEKING                     15    OF SERVICE AND, OF COURSE, WE ACCEPT THAT. MR. SHOHAT TOLD YOU

16   COMPENSATION FOR LOSSES OR DAMAGE OR INJURY THAT FACEBOOK MAY           16    THAT. MR. GAZNELI TOLD YOU THAT.

17   HAVE HAD.                                                               17         AS A RESULT, FACEBOOK HAS THE RIGHT TO SEEK DAMAGES, EVEN

18        THIS LAWSUIT IS ABOUT PUBLICITY. YOU JUST HEARD THAT, SAY          18    THOUGH, AS FACEBOOK'S ENGINEERS CONCLUDED, THE SERVERS WERE NOT

19   IT PUBLICLY.                                                            19    COMPROMISED.

20        FACEBOOK WANTED TO MAKE HEADLINES ABOUT HOW DEEPLY AND             20         THE LACK OF ANY DAMAGE TO WHATSAPP'S SERVERS IS IMPORTANT.

21   STRONGLY AND HOW GENUINELY THEY BELIEVED IN PROTECTING USER             21    FACEBOOK CAN SEEK COMPENSATORY DAMAGES BUT FOR CERTAIN

22   PRIVACY, AND THEY VIEWED SUING NSO AS AN EASY WAY TO GET THOSE          22    FINANCIAL LOSSES.

23   GOOD HEADLINES.                                                         23         MR. ANDRES SAYS THAT THE JURY INSTRUCTIONS ARE CRITICALLY

24        AND IF THEY COULD DAMAGE NSO AS MUCH AS POSSIBLE IN THE            24    IMPORTANT, AND I AGREE, AND I WANT YOU TO READ THEM AND I WANT

25   PROCESS AS WHATSAPP'S CEO, WILL CATHCART, WANTED TO DO, SO MUCH         25    YOU TO READ THEM CLOSELY.

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 1            I'M GOING TO POINT OUT -- GO BACK A SLIDE, PLEASE -- I'M           1    OPPRESSION, OR FRAUD; BECAUSE THEY DIDN'T INJURE FACEBOOK OR

 2    GOING TO POINT OUT SOME OF THE ONES THAT I THINK ARE REALLY                2    INTEND TO DO SO; AND VIRTUALLY NONE OF NSO'S CONDUCT WAS IN

 3    IMPORTANT FOR YOU TO FOCUS ON AS YOU CONSIDER, CONSIDER THE                3    CALIFORNIA.

 4    EVIDENCE.                                                                  4         I'LL TAKE YOU THROUGH THE JURY INSTRUCTIONS.

 5            ALL RIGHT. PUNITIVE -- GO BACK, PLEASE.                            5         NOW, MUCH OF LAST WEEK WAS SPENT ON FACEBOOK'S EFFORTS --

 6            FOR CERTAIN LOSSES, THIS IS THE COMPENSATORY DAMAGES,              6    NOT JUST LAST WEEK, TODAY, TOO -- FACEBOOK'S EFFORTS TO

 7    COMPUTER FRAUD AND ABUSE ACT INSTRUCTION. IT'S THE SAME FOR                7    DEMONIZE NSO.

 8    THE CALIFORNIA STATUTE.                                                    8         BUT THE EVIDENCE IS THAT NSO IS A GOVERNMENT CONTRACTOR IN

 9            NEXT SLIDE, PLEASE.                                                9    THE HIGH-TECH SECTOR. NSO DESIGNS INTELLIGENCE TECHNOLOGIES

10            FOR PUNITIVE DAMAGES, THOSE MUST BE BASED ON, AND THE             10    THAT IT LICENSES EXCLUSIVELY TO GOVERNMENTS.

11    AMOUNT NEEDS TO BE RELATED TO, SOME HARM OR INTENDED HARM TO              11         NSO IS A RELATIVELY SMALL COMPANY, WE HEARD 350 EMPLOYEES

12    PLAINTIFFS, AND ONLY TO PLAINTIFFS.                                       12    IN ONE OFFICE IN ISRAEL'S SILICON VALLEY, IF YOU WILL. A MUCH

13            SPECULATED HARM TO THIRD PARTIES, LIKE THE TARGETS OF             13    SMALLER SILICON VALLEY, OF COURSE, THAN WHAT WE HAVE. IT'S A

14    NSO'S GOVERNMENT CUSTOMERS, IS IRRELEVANT. THAT IS THIS                   14    PLACE CALLED HERZLIYA.

15    INSTRUCTION. THE JUDGE WILL TELL YOU THAT.                                15         NSO EXISTS IN THE SAME CIRCLES AS OTHER HIGH-TECH

16            THE ONLY HARM THAT MATTERS IS HARM TO FACEBOOK.                   16    COMPANIES. MR. SHOHAT NAMED A FEW OF THE MORE WELL-KNOWN ONES.

17            HERE, FACEBOOK IS NOT ENTITLED TO ANY COMPENSATORY DAMAGES        17         NSO AND THESE COMPANIES, INCLUDING FACEBOOK, HIRE EACH

18    BECAUSE IT HASN'T SUFFERED ANY FINANCIAL LOSS. ALL 22                     18    OTHERS' EMPLOYEES; THEY LICENSE AND USE THE SAME SOFTWARE

19    EMPLOYEES WERE SALARIED. AND FACEBOOK DIDN'T PAY THEM ONE                 19    DEVELOPMENT TOOLS, LIKE JEB AND IDA; NSO EMPLOYS OPSEC,

20    PENNY MORE THAN IT WOULD HAVE IN THAT BUT-FOR WORLD -- WE                 20    FACEBOOK EMPLOYS OPSEC, WE JUST SAW THAT; NSO USES ANONYMIZING

21    TALKED ABOUT THIS CONCEPT WITH MS. TREXLER -- THAT BUT-FOR                21    SERVICES, AND MR. ROBINSON TESTIFIED THAT HE ALSO USED

22    WORLD WHERE THERE IS NO NSO AND THERE IS NO PEGASUS.                      22    ANONYMIZING SERVICES WHEN HE WAS TRYING TO FETCH THE PEGASUS

23    FACEBOOK'S FINANCES ARE EXACTLY THE SAME IN THAT WORLD.                   23    AGENT.

24            AND AS THE COURT ALSO INSTRUCTED YOU, ANY PURPORTED               24         MR. ROBINSON TESTIFIED ABOUT JEB AND IDA. HIS TESTIMONY

25    REPUTATIONAL HARM CANNOT BE CONSIDERED. NOT THAT THERE WAS ANY            25    ON THAT POINT IS ON THE SCREEN.

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 1    EVIDENCE OF THAT, EITHER.                                                  1         THEY DON'T JUST SELL THEM TO ANYBODY.

 2            BUT EVEN IF YOU DISAGREE WITH ME ABOUT THE ABSENCE OF ANY          2         NOW, FACEBOOK SAYS THAT NSO IS EVIL BECAUSE IT LICENSES

 3    FINANCIAL LOSSES, I HOPE THAT YOU AGREE WITH ME THAT                       3    ITS TECHNOLOGY FOR PROFIT.

 4    MS. TREXLER'S NUMBER IS HUGELY OVERSTATED, FOR THE REASONS THAT            4         MR. WOOG TESTIFIED FACEBOOK IS, OF COURSE, ALSO A

 5    MR. PINSONNEAULT EXPLAINED, JUST ONE EXAMPLE BEING THAT OVER               5    FOR-PROFIT COMPANY. MR. WOOG AGREES, AS DO I THINK WE ALL,

 6    40 PERCENT OF THE TOTAL IN RSU'S PAID IN 2019, PAID IN 2019                6    THAT A COMPANY DOESN'T HAVE BAD MOTIVES JUST BECAUSE IT SEEKS

 7    WERE FOR WORK DONE YEARS EARLIER. SHE TESTIFIED ABOUT THIS.                7    TO MAKE A PROFIT.

 8    MR. GHEORGHE TESTIFIED ABOUT IT.                                           8         THAT IS NO LESS TRUE FOR NSO.

 9            THESE ARE TWO EXAMPLES -- IN THESE TWO EXAMPLES, IT'S MUCH         9         AGAIN AND AGAIN -- I DIDN'T TRY TO COUNT THIS MORNING --

10    MORE THAN 50 PERCENT THAT THE RSU'S INFLATE THE NUMBER.                   10    FACEBOOK HAS CALLED PEGASUS SPYWARE. SPYWARE. SPYWARE.

11            ANOTHER REASON WHY THE DAMAGES FACEBOOK IS CLAIMING ARE           11    HACKING. SPYWARE.

12    INFLATED IS BECAUSE -- THIS IS EXHIBIT 10, PAGE 3 -- FACEBOOK             12         BUT YOU'VE NEVER HEARD ANYONE GIVE A DEFINITION OF

13    LEARNED ABOUT PEGASUS ON MAY 2 AND A FIX WAS READY ON MAY 6TH,            13    SPYWARE, AND THAT'S BECAUSE FACEBOOK WANTS TO PUT A FALSE IMAGE

14    AS WE SEE, AND THEY DIDN'T PUSH THE FIX BECAUSE THEY HAD THEIR            14    IN YOUR HEAD. THEY WANT YOU TO PICTURE A VILLAIN IN A BLACK

15    OWN OPSEC CONCERNS. OPSEC. THEIR OPSEC.                                   15    HOODIE TRYING TO STEAL BANK ACCOUNT NUMBERS AND CREDIT CARD

16            AND AS FOR THE 230,000 NOTIFICATION PROJECT, FACEBOOK HAS         16    INFORMATION.

17    THE LIST OF PHONE NUMBERS ON MAY 8 AS WE SEE IN THIS TIMELINE             17         BUT THAT IMAGE BEARS NO RELATION TO THE REALITY OF WHAT

18    DOCUMENT. BUT THEY DIDN'T NOTIFY THE TARGETS UNTIL OCTOBER 29             18    NSO DOES. MR. GAZNELI, IN FACT, TESTIFIED THAT PEGASUS DOESN'T

19    SO THAT FACEBOOK COULD USE IT FOR A BIG PR SPLASH, ALONG WITH             19    EVEN HAVE THAT CAPABILITY.

20    THE FILING OF THIS LAWSUIT, PUTTING AN OP ED IN "THE WASHINGTON           20         AS YOU HEARD FROM MR. SHOHAT DURING FACEBOOK'S

21    POST." YOU HEARD ABOUT THAT. I'LL SHOW YOU SOME MORE ABOUT                21    CROSS-EXAMINATION, THE TECHNOLOGY IS NOT DESIGNED FOR MASS

22    THAT.                                                                     22    SURVEILLANCE.

23            FACEBOOK IS NOT ENTITLED TO PUNITIVE DAMAGES FOR THREE            23         COUNSEL MADE REFERENCE TO THE TESTIMONY OF SARIT GIL, WHO

24    REASONS:                                                                  24    YOU'LL RECALL IS THE ONE LADY WHO TESTIFIED ON THE -- BY WAY OF

25            FIRST, BECAUSE DEFENDANTS DIDN'T ACT WITH MALICE,                 25    VIDEO DEPOSITION. MS. GIL TESTIFIED THAT IT WASN'T EXACTLY HOW

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 1   IT WAS REPRESENTED. SHE TESTIFIED THAT SOME CUSTOMERS IN                 1    STRAIGHTFORWARD QUESTIONS.

 2   EUROPE HAVE PAID $7 MILLION FOR LICENSES TO USE PEGASUS AGAINST          2         MS. TREXLER, FOR EXAMPLE, ASKED YOU TO BELIEVE THAT

 3   15 TARGETS.                                                              3    ALTHOUGH SHE IS AN OWNER OF HER FIRM AND AN ACCOUNTANT, SHE HAS

 4        NOW, THOSE WERE EXEMPLAR SORT OF PRICES.                            4    NO IDEA, NO IDEA HOW MUCH MONEY SHE AND HER TEAM HAVE BILLED

 5        BUT THE -- THOSE ARE NOT MASS SURVEILLANCE PRICES.                  5    FOR THEIR WORK IN THIS CASE. SHE COULDN'T -- WOULDN'T -- GIVE

 6        BEFORE WE MOVE ON, LET ME COMMENT FOR JUST A SECOND ON              6    ANY KIND OF ESTIMATE EVEN.

 7   DISPUTES ABOUT WHAT YOU REMEMBER ABOUT THE TESTIMONY OR WHAT             7         ALL RIGHT. LET'S TALK ABOUT PEGASUS AND HOW IT INTERACTED

 8   THE TESTIMONY THAT COUNSEL PUT UP AND WHETHER THAT WAS                   8    WITH WHATSAPP'S SERVERS.

 9   COMPLETE, OR TESTIMONY THAT I PUT UP. OKAY?                              9         NOW, A WORD THAT YOU HEARD FACEBOOK USE OVER AND OVER WAS

10        YOUR MEMORY OF THE TESTIMONY GIVEN ON THE STAND DURING THE         10    "ATTACK," THAT NSO ATTACKED WHATSAPP'S SERVERS.

11   TRIAL, THAT'S WHAT CONTROLS. OKAY? SO WHAT YOU REMEMBER,                11         BUT THE EVIDENCE YOU HEARD SHOWED THAT THAT SIMPLY ISN'T

12   THAT'S WHAT YOU GO WITH. WHAT I SAY, WHAT HE SAYS, THE COURT'S          12    TRUE. THE EVIDENCE SHOWED THAT NSO SPECIFICALLY DESIGNED

13   GOING TO INSTRUCT YOU THAT THE WORDS OF THE LAWYERS ARE NOT             13    PEGASUS NOT TO CAUSE HARM TO WHATSAPP'S SERVERS, AND FACEBOOK'S

14   TESTIMONY -- ARE NOT EVIDENCE.                                          14    OWN WITNESSES AGREED THAT THE SERVERS WERE NOT HARMED.

15        OKAY. NOW, BACK TO MS. GIL.                                        15         ALTHOUGH THE TECHNOLOGY IS COMPLICATED IN MANY WAYS, ITS

16        EXCUSE ME.                                                         16    INTERACTION WITH WHATSAPP'S SERVERS WAS AS I SHOWED IN MY

17        THE NEXT SLIDE, PLEASE.                                            17    OPENING STATEMENT. PEGASUS GAVE NSO'S CUSTOMERS THE ABILITY TO

18        PEGASUS HAS LIMITATIONS ON ITS SCOPE, INCLUDING, AS                18    SEND SPECIFICALLY CONFIGURED WHATSAPP MESSAGES TO A TARGET

19   MR. SHOHAT TESTIFIED, IT CANNOT BE USED IN THE UNITED STATES.           19    PHONE.

20   IT CANNOT BE USED ON A UNITED STATES PHONE NUMBER WITH A                20         WHATSAPP'S SERVERS PROCESSED THOSE MESSAGES THE SAME WAY

21   PLUS 1. IT CAN'T BE USED ON ANY PHONE IN THE GEOGRAPHY OF THE           21    THAT THEY PROCESS HUNDREDS OF BILLIONS OF WHATSAPP MESSAGES

22   UNITED STATES, REGARDLESS OF THE PHONE NUMBER.                          22    EVERY DAY. THIS IS HOW IT WENT: PEGASUS SENT INSTALLATION

23        SO IT CAN'T BE USED ON MR. ANDRES'S PHONE, IT CAN'T BE             23    MESSAGES WITH COMPUTER CODE, UNENCRYPTED, IN PLAIN TEXT -- THAT

24   USED ON MY PHONE.                                                       24    WAS THE TESTIMONY FROM ALL OF THE WITNESSES -- TO TARGET

25        AND, WHEN HE SAID SPYING IS ILLEGAL, OR SPYING IN THE              25    DEVICES. THOSE MESSAGES PASSED THROUGH WHATSAPP SERVERS. WE

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 1   UNITED STATES IS ILLEGAL, I THINK, PEGASUS CANNOT BE USED IN             1    SAID THAT. THAT IS NOT DISPUTED.

 2   THE UNITED STATES. THAT TESTIMONY IS UNCONTRADICTED. SO THIS             2         BUT EVERYTHING ELSE, EVERYTHING ELSE HAPPENS OUTSIDE,

 3   IS NOT ALEXA OR SIRI IN YOUR LIVING ROOM LISTENING TO LOVED              3    TOTALLY OUTSIDE THE WHATSAPP ENVIRONMENT. THESE MESSAGES PASS

 4   ONES AND WHAT EVERYONE IS SAYING IN MASS SURVEILLANCE AS WAS             4    THROUGH WHATSAPP'S SERVERS FOR MILLISECONDS AND WITHOUT

 5   IMPLIED LAST WEEK AND AGAIN TODAY.                                       5    INCIDENT.

 6        NOW, PART OF YOUR ROLE IS TO ACCESS THE CREDIBILITY OF              6         THIS IS THE TESTIMONY OF CLAUDIU GHEORGHE. PEGASUS DIDN'T

 7   WITNESSES. THERE'S AN INSTRUCTION ON THIS. AND YOU ARE, AS               7    TAKE ANYTHING FROM WHATSAPP'S SERVERS, IT DIDN'T LEAVE ANYTHING

 8   MR. ANDRES SAID -- ANOTHER THING WE AGREE ON -- MAKE UP YOUR             8    BEHIND, IT DIDN'T EXECUTE ANY CODE ON THE SERVERS. IT DID NOT

 9   OWN MIND ABOUT WHO YOU FIND CREDIBLE. THERE'S A NUMBER OF                9    DELETE, CHANGE, OR CORRUPT ANY DATA. IT DID NOT SLOW DOWN OR

10   FACTORS THE COURT IS GOING TO GIVE YOU, AND SHE'S GOING TO              10    IMPAIR WHATSAPP'S SERVERS.

11   INSTRUCT YOU ABOUT SOME OF THE THINGS THAT YOU CAN CONSIDER             11         AND THAT'S NOT MY SAY-SO. THAT COMES FROM PLAINTIFFS' OWN

12   WHEN DECIDING CREDIBILITY, INCLUDING ONE OF THEM, MY FAVORITE           12    WITNESSES. YOU HEARD MR. GHEORGHE, FACEBOOK'S PRIMARY

13   ONE'S, NUMBER 3, THE WITNESS'S MANNER WHILE TESTIFYING.                 13    TECHNICAL WITNESS, AGREE TO ALL OF WHAT I JUST SAID, ALTHOUGH I

14        I MENTION THIS TO YOU BECAUSE PLAINTIFFS HAVE ASKED YOU            14    HAD TO READ IT FROM HIS DEPOSITION, THE TESTIMONY THAT YOU SAW

15   NOT TO BELIEVE NSO'S WITNESSES, JUST DON'T BELIEVE THEM.                15    IN OPENING STATEMENT, BECAUSE HE REFUSED TO AFFIRM THAT

16   THAT'S WHAT THEY'VE ASKED YOU TO DO.                                    16    TESTIMONY WHEN HE CAME BEFORE YOU AND TOOK THE WITNESS'S OATH.

17        BUT YOU WILL DECIDE WHETHER MR. SHOHAT AND MR. GAZNELI,            17         YOU ALSO HEARD MR. GHEORGHE TESTIFY, IN HIS OWN WORDS,

18   WHO CAME FROM HALF THE WORLD AWAY TO GIVE THEIR TESTIMONY TO            18    THAT WHATSAPP'S SERVERS BASICALLY JUST PASSED, TO USE HIS

19   YOU, WERE BEING TRUTHFUL OR TRYING TO BE TRUTHFUL.                      19    PHRASE, THE PEGASUS CODE TO THE TARGET DEVICE.

20        YOU WILL CONSIDER HOW THEY PRESENTED THEMSELVES AND HOW            20         EVEN FACEBOOK'S FORMAL INVESTIGATION IN 2019 CONCLUDED

21   THEY ANSWERED QUESTIONS PUT TO THEM.                                    21    THAT WHATSAPP'S SERVERS WERE NOT COMPROMISED BY PEGASUS.

22        AND I LEAVE IT TO YOU TO COMPARE THEIR DEMEANORS TO THOSE          22    PLAINTIFFS NEVER INTRODUCED ANY EVIDENCE INCONSISTENT WITH THAT

23   OF OTHER WITNESSES, LIKE MR. WOOG, LIKE MR. GHEORGHE, AND EVEN          23    CONCLUSION FROM THEIR OWN ENGINEERS.

24   MR. ROBINSON, MS. TREXLER WHO, AT TIMES, REFUSED TO GIVE                24         NOW FACEBOOK SAYS, NOW, FOR THIS TRIAL, THAT PEGASUS

25   STRAIGHTFORWARD QUESTIONS -- STRAIGHTFORWARD ANSWERS TO                 25    TRICKED THE WHATSAPP SERVERS.

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 1         THAT, I SUBMIT TO YOU, IS NONSENSE. SERVERS CANNOT BE             1    COMPENSATORY DAMAGES CUTS ACROSS ALL OF THE CLAIMS.

 2    TRICKED. THEY DO NOT THINK. THEY DO NOT HAVE DISCRETION                2            THE PURPOSE IS TO PUT PLAINTIFFS IN AS GOOD A POSITION AS

 3    WHETHER TO FORWARD A MESSAGE OR NOT TO FORWARD A MESSAGE. AS           3    THEY WOULD HAVE BEEN IF THE DEFENDANTS HAD NOT VIOLATED THE

 4    MR. ROBINSON TESTIFIED, SERVERS ACT ACCORDING TO PREPROGRAMMED         4    CFAA, THE CDAFA, OR WHATSAPP'S TERMS OF SERVICE.

 5    RULES. THEY CAN ONLY DO WHAT THOSE RULES ALLOW, AND THEY               5            WHAT THAT MEANS IS THAT YOU SHOULD COMPARE WHAT HAPPENED

 6    CANNOT DO WHAT THOSE RULES DO NOT ALLOW. SERVERS CANNOT BE             6    IN THIS WORLD WITH WHAT WOULD HAVE HAPPENED IN A HYPOTHETICAL

 7    TRICKED INTO VIOLATING THEIR PROGRAMMED RULES. IF THE RULES            7    WORLD WHERE PEGASUS NEVER EXISTED, NEVER INTERACTED WITH

 8    PROHIBIT MESSAGES, THE MESSAGES DON'T GET DELIVERED. IF THE            8    WHATSAPP'S SERVERS.

 9    RULES ALLOW MESSAGES, THE MESSAGES GET PASSED ALONG TO THE             9            IF FACEBOOK WOULD STILL HAVE INCURRED THE SAME EXPENSES IN

10    TARGET DEVICE AS MR. GHEORGHE TESTIFIED.                              10    THAT HYPOTHETICAL WORLD, THEY CAN'T RECOVER THEM HERE BASED ON

11         WHICH IS WHY, AS MR. GHEORGHE TESTIFIED, FACEBOOK'S FIX IN       11    THESE INSTRUCTIONS.

12    THIS CASE WAS TO REVISE THE SERVER RULES TO STOP THE SERVERS          12            AND HERE THE EVIDENCE SHOWS THAT FACEBOOK WOULD HAVE

13    FROM PASSING PEGASUS MESSAGES THROUGH. IT'S THAT SIMPLE. NO           13    INCURRED ALL THE EXPENSES THAT IT IDENTIFIED, ALL, NO MATTER

14    TRICKING INVOLVED.                                                    14    WHAT NSO DID.

15         NOW, YOUR ROLE, AS THE COURT HAS INSTRUCTED YOU, IS TO           15            YOU WILL SEE THAT IF YOU FOCUS ON THREE KEY FACTS:

16    DETERMINE WHETHER FACEBOOK IS ACTUALLY ENTITLED TO RECOVER ANY        16            FIRST, FACEBOOK EMPLOYEES ARE ALL PAID A FIXED SALARY

17    OF ITS CLAIMED FINANCIAL LOSSES, AND YOU PROMISED YOU WOULD           17    EVERY YEAR. THAT SALARY DIDN'T CHANGE IN 2019 BASED ON THE

18    MAKE THAT DECISION DISPASSIONATELY AND BASED ON, AND ONLY ON,         18    SPECIFIC WORK THEY WERE WORKING ON.

19    THE EVIDENCE PRESENTED TO YOU.                                        19            THEIR SALARIES DID NOT INCREASE BECAUSE OF THE WORK THEY

20         WHEN YOU WEIGH THE EVIDENCE BASED ON THE COURT'S                 20    DID IN CONNECTION WITH PEGASUS. AND MS. TREXLER AGREED WITH

21    INSTRUCTIONS, YOU WILL SEE THAT FACEBOOK DOES NOT HAVE                21    THIS.

22    FINANCIAL LOSSES, AND CERTAINLY NOT THE $445,000 THAT IT'S            22            HERE'S THE TESTIMONY.

23    ASKING FOR.                                                           23            SO EVEN IF THOSE EMPLOYEES HADN'T DISCOVERED AND FIXED THE

24         AS YOU EVALUATE FACEBOOK'S CLAIMS, THERE ARE A FEW               24    VULNERABILITY USED BY PEGASUS, FACEBOOK STILL WOULD HAVE PAID

25    IMPORTANT LIMITATIONS TO BE MINDFUL OF.                               25    THEM THE EXACT SAME AMOUNT IN QUESTION IN 2019.

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 1         FIRST, FACEBOOK IS ONLY SEEKING COMPENSATION FOR ITS              1            FACEBOOK'S EMPLOYEES, SOME OF THEM, ALSO SOMETIMES GOT

 2    INVESTIGATION AND REMEDIATION COSTS.                                   2    SMALL BONUSES. BUT FACEBOOK DIDN'T INTRODUCE ANY EVIDENCE THAT

 3         THE COURT INSTRUCTED YOU THAT FACEBOOK CANNOT RECOVER ANY         3    THOSE BONUSES WERE RELATED TO PEGASUS.

 4    DAMAGES FOR SUPPOSED HARM TO ITS REPUTATION.                           4            TO THE CONTRARY, MR. ROBINSON ADMITTED THAT HIS BONUS WAS

 5         FACEBOOK ALSO CANNOT RECOVER FOR SPECULATED HARMS TO              5    NOT SPECIFIC TO HIS WORK IN CONNECTION WITH PEGASUS. AND

 6    TARGETS.                                                               6    FACEBOOK NEVER ARGUED, LET ALONE PROVED, THAT IT PAID MORE

 7         SO ALL YOU MAY CONSIDER IS FACEBOOK'S OWN, OWN CLAIMED            7    TOTAL BONUSES IN 2019 BECAUSE OF PEGASUS THAN IT OTHERWISE

 8    FINANCIAL LOSSES.                                                      8    WOULD HAVE.

 9         NEXT, FACEBOOK CAN ONLY RECOVER FINANCIAL LOSSES THAT NSO         9            YOU REMEMBER THE QUESTION I ASKED MS. TREXLER ABOUT

10    CAUSED. IF FACEBOOK WANTS TO RECOVER FOR ITS EXPENSES, IT HAS         10    WHETHER THE BONUS SIZE OF THE BONUS POOL WAS ANY LARGER, SHE

11    TO PROVE THAT IT WOULD NOT HAVE INCURRED THOSE EXPENSES               11    SAID SHE DIDN'T KNOW, AND THERE WAS NO EVIDENCE.

12    OTHERWISE. THAT'S THEIR BURDEN OF PROOF.                              12            SO EVEN IF PEGASUS HAD NEVER EXISTED, FACEBOOK'S EMPLOYEES

13         NOW, WHEN MR. ANDRES WAS UP HERE, HE SAID THEY WERE              13    WOULD HAVE ALL BEEN PAID EXACTLY THE SAME AMOUNTS. FACEBOOK

14    HARMED, AND THEN HE SAID OF COURSE THEY WERE.                         14    DIDN'T PAY EVEN A PENNY MORE DUE TO PEGASUS THAN IT WOULD HAVE

15         WELL, "OF COURSE THEY WERE" IS NOT THE BASIS OF A DECISION       15    PAID IF PEGASUS HAD NEVER EXISTED.

16    IN A COURT. IT HAS NO PLACE IN A COURT.                               16            NOW, IN THIS TRIAL, FACEBOOK HAS ARGUED THAT EVEN THOUGH

17         IT'S THE BURDEN OF PROOF, THE EVIDENCE, AND THE                  17    IT PAYS ITS EMPLOYEES A FIXED SALARY AND THAT THOSE EMPLOYEES

18    INSTRUCTIONS AS THE COURT GIVES THEM TO YOU. I URGE YOU,              18    DID NO MORE WORK -- WERE NOT PAID MORE DURING THE INVESTIGATION

19    PLEASE, TO FOLLOW THEM.                                               19    THAN THEY NORMALLY DO IN THEIR JOBS, THAT IS THE CLAIM IN THIS

20         NOW, NOTWITHSTANDING FACEBOOK'S ATTEMPTS TO PLAY ON YOUR         20    TRIAL.

21    EMOTIONS, FOLLOWING THE COURT'S INSTRUCTIONS WILL BE A FAIRLY         21            BUT FACEBOOK DID NOT PAY THEM MORE FOR THEIR WORK ON

22    STERILE TASK.                                                         22    PEGASUS THAN IT WOULD HAVE PAID THEM FOR ANY OTHER WORK THAT

23         YOU HAVE BEEN INSTRUCTED ON THE PURPOSE -- I'M SORRY --          23    THEY WOULD DO.

24    YOU WILL BE INSTRUCTED ON THE PURPOSE OF COMPENSATORY DAMAGES.        24            MR. GHEORGHE AND MR. ROBINSON BOTH TOLD YOU, AS WE SEE ON

25    THIS IS THE INSTRUCTION, AND THIS INSTRUCTION ABOUT                   25    THE SCREEN, FACEBOOK DOESN'T PAY OVERTIME.

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